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                                                                                         March 01, 2025 through March 31, 2025
        JPMorgan Chase Bank, N.A.
                                                                                        Account Number:                       3719
        P O Box 182051
        Columbus, OH 43218 - 2051
                                                                                         Customer Service Information

                                                                                     If you have any questions about your
                                                                                     statement, please contact your
                                                                                     Customer Service Professional.
       00083169 WBS 802 211 09125 NNNNNNNNNNN   1 000000000 80 0000


       ALLIANCE GAME DISTRIBUTORS
       CONTROLLED DISBURSEMENT ACCOUNT
       10150 YORK RD
       HUNT VALLEY MD 21030-3340




Commercial Checking

Summary
                                                                      Number                   Market Value/Amount                      Shares


Opening Ledger Balance                                                                                     $0.00


Deposits and Credits                                                     20                        $780,957.97


Withdrawals and Debits                                                    0                                $0.00


List Posted Items                                                        10                         $35,740.07


Checks Paid                                                              71                        $745,217.90


Ending Ledger Balance                                                                                      $0.00


Deposits and Credits

Ledger              Description                                                                                                      Amount

Date


03/03              Abr Special - A Increase                                                                                         $6,790.40

03/04              Abr Special - A Increase                                                                                           370.24

03/05              Abr Special - A Increase                                                                                         12,070.46

03/06              Abr Special - A Increase                                                                                          6,336.29

03/07              Abr Special - A Increase                                                                                           879.78

03/10              Abr Special - A Increase                                                                                          8,822.10

03/11              Abr Special - A Increase                                                                                         13,854.72

03/13              Abr Special - A Increase                                                                                         29,509.20

03/14              Abr Special - A Increase                                                                                         14,710.76

03/17              Abr Special - A Increase                                                                                        248,122.47

03/18              Abr Special - A Increase                                                                                         89,591.62

03/19              Abr Special - A Increase                                                                                         37,069.06

03/20              Abr Special - A Increase                                                                                          2,335.85

03/21              Abr Special - A Increase                                                                                          5,206.00

03/24              Abr Special - A Increase                                                                                          7,019.40

03/25              Abr Special - A Increase                                                                                         35,740.07


* Annual Percentage Yield Earned - the percentage rate earned if balances remain on deposit for a full year with compounding, no

change in the interest rate and all interest rate and all interest is left in the account.



Please examine this statement of account at once. By continuing to use the account, you agree that: (1) the account is subject to

the Bank's deposit account agreement, and (2) the Bank has no responsibility for any error in or improper charge to the account

(including any unauthorized or altered check) unless you notify us in writing of this error or charge within sixty days of the mailing or

availability of the first statement on which the error or charge appears.
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                                                                                        March 01, 2025 through March 31, 2025
                                                                                    Account Number:                       3719




Deposits and Credits               (continued)


Ledger              Description                                                                                                 Amount

Date


03/26              Abr Special - A Increase                                                                              171,128.53

03/27              Abr Special - A Increase                                                                                56,787.00

03/28              Abr Special - A Increase                                                                                18,685.66

03/31              Abr Special - A Increase                                                                                15,928.36

Total                                                                                                                  $780,957.97



Withdrawals and Debits

Ledger              Description                                                                                                 Amount

Date

03/25              List Posted Items Quantity              10                                                            $35,740.07

Total*                                                                                                                            $0.00
*This total excludes the List Posted Items amount set forth in the summary above.



Checks Paid

         Check     Date Paid         Amount      Check     Date Paid          Amount           Check     Date Paid              Amount

         117218    03/06           $1,081.46     117292    03/24             $131.90          117323*     03/28          $12,213.17
         117233*   03/14           $8,296.96     117293    03/11            $1,133.91         117324      03/27            $3,544.28
         117238*   03/26           $1,191.60     117297*   03/13           $29,509.20         117331*     03/27          $48,633.20
         117244*   03/10           $2,459.67     117298    03/11            $3,981.70         117332      03/26            $8,775.88
         117245    03/03            $850.40      117299    03/11            $2,154.98         117333      03/31                 $595.72
         117255*   03/03           $5,640.00     117301*   03/19            $5,605.24         117336*     03/26            $1,516.50
         117258*   03/03            $300.00      117302    03/05             $513.60          117338*     03/31            $2,607.05
         117262*   03/05          $10,010.42     117304*   03/27             $597.72          117340*     03/28                 $951.61
         117267*   03/10           $6,362.43     117305    03/19           $14,981.83         117345*     03/24            $3,538.00
         117270*   03/05            $202.37      117306    03/24            $1,815.04         117349*     03/26         $131,701.27
         117272*   03/20           $2,335.85     117307    03/21            $5,206.00         117351*     03/24                 $527.78
         117273    03/05            $154.75      117308    03/14            $2,378.31         117357*     03/24                  $46.68
         117275*   03/07            $879.78      117309    03/19             $973.90          117361*     03/27                 $353.79
         117277*   03/04             $10.17      117310    03/19            $8,724.00         117363*     03/28            $3,504.00
         117279*   03/04            $360.07      117311    03/17           $11,599.20         117364      03/26            $6,899.81
         117280    03/18          $14,288.00     117312    03/17              $73.91          117366*     03/28            $2,016.88
         117282*   03/06           $4,319.38     117313    03/18           $74,446.55         117368*     03/27            $3,658.01
         117285*   03/06            $935.45      117314    03/17          $229,642.40         117369      03/24                 $960.00
         117286    03/19           $2,584.09     117315    03/17              $70.00          117373*     03/26          $19,300.00
         117287    03/17           $6,120.00     117316    03/14            $4,035.49         117377*     03/31            $2,980.22
         117288    03/11            $150.00      117317    03/17              $50.67          117380*     03/26            $1,743.47
         117289    03/05           $1,189.32     117318    03/17             $566.29          117384*     03/31            $3,745.37
         117290    03/11           $2,954.78     117319    03/18             $857.07          117386*     03/31            $6,000.00
         117291    03/11           $3,479.35     117320    03/19            $4,200.00


Total          71 check(s)                                                                                            $745,217.90
* indicates gap in sequence


Daily Balance


                                                   Ledger                                                                       Ledger

Date                                               Balance         Date                                                         Balance

03/03                                                $0.00         03/18                                                          $0.00
03/04                                                $0.00         03/19                                                          $0.00
03/05                                                $0.00         03/20                                                          $0.00
03/06                                                $0.00         03/21                                                          $0.00
03/07                                                $0.00         03/24                                                          $0.00
03/10                                                $0.00         03/25                                                          $0.00
03/11                                                $0.00         03/26                                                          $0.00
03/13                                                $0.00         03/27                                                          $0.00
03/14                                                $0.00         03/28                                                          $0.00
03/17                                                $0.00         03/31                                                          $0.00




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                                                                   March 01, 2025 through March 31, 2025
                                                                 Account Number:                     3719




Your service charges, fees and earnings credit have been calculated through account analysis.




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                                                                                   March 01, 2025 through March 31, 2025
                                                                                 Account Number:                         3719




       Alliance Game Distributors
       Controlled Disbursement Account




Stop Payment Renewal Notice


Account Number                 3719                                                                  Bank Number:         802




The following Stop Payments will automatically renew for a 1-year period. You can revoke a current stop payment via your
online channel (Chase.com or JPM ACCESS) or by calling the number on your statement or contacting your Customer
Service Representative.



Revoke           Sequence           Date             Renewal                  Low Range or                         High Range

Stop             Number             Entered          Date                    Check Number                            or Amount

                 0000004            06/04/2020       06/04/2025                     102084                               $420.00
                 0000005            06/30/2020       06/30/2025                     103244                         $11,985.69
                 0000006            06/30/2020       06/30/2025                     103214                           $3,006.30
                 0000021            06/01/2021       06/01/2025                     107655                         $24,228.00
                 0000039            06/22/2023       06/22/2025                     111764                           $4,779.60
                 0000060            06/10/2024       06/10/2025                     115525                           $1,328.05
                 0000061            06/28/2024       06/28/2025                     114953                               $855.90




Alliance Game Distributors                                                             JPMorgan Chase Bank, N.A.
Controlled Disbursement Account                                                        P O Box 182051
10150 York Rd                                                                          Columbus    OH 43218-2051
Hunt Valley MD 21030-3340




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                                                                                          March 01, 2025 through March 31, 2025
       JPMorgan Chase Bank, N.A.
                                                                                         Account Number:                     0569
       P O Box 182051
       Columbus, OH 43218 - 2051
                                                                                          Customer Service Information

                                                                                      If you have any questions about your
                                                                                      statement, please contact your
                                                                                      Customer Service Professional.
       00099155 WBS 802 211 09125 NNNNNNNNNNN   1 000000000 62 0000


       ALLIANCE GAME DISTRIBUTORS
       10150 YORK RD
       HUNT VALLEY MD 21030




Commercial Checking

Summary
                                                                      Number                   Market Value/Amount                      Shares


Opening Ledger Balance                                                                                  $361.00


Deposits and Credits                                                   224                     $12,675,615.11


Withdrawals and Debits                                                   93                    $12,617,538.37


Checks Paid                                                               0                                $0.00


Ending Ledger Balance                                                                               $58,437.74


Deposits and Credits

Ledger             Description                                                                                                       Amount
Date

03/03              Book Transfer Credit B/O: Coolstuffinc.Com, LLC Maitland FL 32751-3395 US                                        $5,000.00
                   Ref: 2442967 Trn: 4031635062Es
                   YOUR REF: BMG OF 25/03/03

03/03              Fedwire Credit Via: The Bank of New York Mellon/                0018 B/O: Asgrim                                  4,079.85
                   Holdings Ltd Canada Ref: Chase Nyc/Ctr/Bnf=Alliance Game Distributors
                   Hunt Valley MD 21030- US/Ac-                 6410 Rfb=O/B Bk of Nyc O
                   Bi=2452871 Bbi=/Chgs/USD0,00/Ocmt/U SD4079,85/ Imad:
                   0303B1Q8151C010241 Trn: 1275351062Ff
                   YOUR REF: O/B BK OF NYC

03/03              Lockbox No: 22009 For 26 Items At 16:00 5 Trn: 2504940062Lb                                                      34,872.84

03/03              Orig CO Name:Forte                 Orig ID:5330903620 Desc Date:250228 CO                                   222,143.19
                   Entry Descr:186003      Sec:CCD      Trace#:242071752543126 Eed:250303
                   Ind ID:ACH-0228-D7924                Ind Name:Alliance Game Distribu Trn:
                   0592543126Tc

03/03              Orig CO Name:Paymentech                 Orig ID:1020401225 Desc Date:250303                                 113,837.20
                   CO Entry Descr:Deposit       Sec:CCD     Trace#:021000021994856 Eed:250303
                   Ind ID:6406597                  Ind Name:Alliance Game Distribu Trn:
                   0621994856Tc

03/03              Abr Special - A Increase                                                                                         80,966.02


* Annual Percentage Yield Earned - the percentage rate earned if balances remain on deposit for a full year with compounding, no

change in the interest rate and all interest rate and all interest is left in the account.



Please examine this statement of account at once. By continuing to use the account, you agree that: (1) the account is subject to

the Bank's deposit account agreement, and (2) the Bank has no responsibility for any error in or improper charge to the account

(including any unauthorized or altered check) unless you notify us in writing of this error or charge within sixty days of the mailing or

availability of the first statement on which the error or charge appears.
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                                                                             March 01, 2025 through March 31, 2025
                                                                            Account Number:                    0569




Deposits and Credits     (continued)

Ledger     Description                                                                                                Amount
Date

03/03      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250228                          18,740.28
           CO Entry Descr:Settlementsec:CCD        Trace#:091000012543128 Eed:250303
           Ind ID:1199200601               Ind Name:Alliance Gam1199200601
           Payment Date 25060 Trn: 0592543128Tc

03/03      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250301                          18,500.02
           CO Entry Descr:Settlementsec:CCD        Trace#:091000011994858 Eed:250303
           Ind ID:1199200601               Ind Name:Alliance Gam1199200601
           Payment Date 25062 Trn: 0621994858Tc

03/03      Orig CO Name:Card Kingdom              Orig ID:1870697704 Desc Date:     CO                            2,828.33
           Entry Descr:EDI Pymntssec:CCD         Trace#:091000012543132 Eed:250303
           Ind ID:2444395                Ind Name:Alliance Games West
           EDI Trn: 0592543132Tc

03/03      Orig CO Name:Archonia             Orig ID:1204895317 Desc Date:        CO                              2,475.09
           Entry Descr:Bill.Com Sec:CCD      Trace#:021000022543123 Eed:250303         Ind
           ID:015Ckoyoihcwudb             Ind Name:Alliance Game Distribu
           Archonia Bill.Com 015Ckoyoi Hcwudb Inv 2453571 Trn: 0592543123Tc

03/03      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:022825                              1,566.30
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071752543130
           Eed:250303    Ind ID:E74446 - 000002            Ind Name:Alliance Game
           Distribu Trn: 0592543130Tc

03/03      Orig CO Name:Carolina Comics           Orig ID:444887153   Desc Date:Mar 03                            1,463.18
           CO Entry Descr:Alliance Osec:PPD        Trace#:103107395130793 Eed:250303
           Ind ID:                  Ind Name:Alliance Games Trn: 0625130793Tc

03/03      Orig CO Name:Carolina Comics           Orig ID:444887153   Desc Date:Mar 03                            1,455.00
           CO Entry Descr:Alliance Osec:PPD        Trace#:103107395130789 Eed:250303
           Ind ID:                  Ind Name:Alliance Games Trn: 0625130789Tc

03/03      Orig CO Name:Carolina Comics           Orig ID:444887153   Desc Date:Mar 03                            1,001.80
           CO Entry Descr:Alliance Osec:PPD        Trace#:103107395130795 Eed:250303
           Ind ID:                  Ind Name:Alliance Games Trn: 0625130795Tc

03/03      Orig CO Name:Carolina Comics           Orig ID:444887153   Desc Date:Mar 03                                420.50
           CO Entry Descr:Alliance Osec:PPD        Trace#:103107395130796 Eed:250303
           Ind ID:                  Ind Name:Alliance Games Trn: 0625130796Tc

03/03      Orig CO Name:Carolina Comics           Orig ID:444887153   Desc Date:Mar 03                                206.24
           CO Entry Descr:Alliance Osec:PPD        Trace#:103107395130791 Eed:250303
           Ind ID:                  Ind Name:Alliance Games Trn: 0625130791Tc

03/04      Fedwire Credit Via: Evolve Bank & Trust/084106768 B/O: Wulf Trading CO                                 2,037.94
           LLC Hudsonville MI 49426 Ref: Chase Nyc/Ctr/Bnf=Alliance Game
           Distributors Hunt Valley MD 21030- US/Ac-000000006410 Rfb=O/B Evolve B
           & T Obi=From Wulf Trading CO LLC Via Mercur Y.Com Imad:
           0304Mmqfmpd1000445 Trn: 0447571063Ff
           YOUR REF: O/B EVOLVE B & T

03/04      Lockbox No: 22009 For 21 Items At 16:00 5 Trn: 2501422063Lb                                          36,932.94

03/04      Orig CO Name:Forte               Orig ID:5330903620 Desc Date:250303 CO                            253,396.83
           Entry Descr:186003   Sec:CCD      Trace#:242071758628518 Eed:250304
           Ind ID:ACH-0303-Ba918             Ind Name:Alliance Game Distribu Trn:
           0638628518Tc

03/04      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250304                          251,794.93
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000028628520 Eed:250304
           Ind ID:6406597                Ind Name:Alliance Game Distribu Trn:
           0638628520Tc

03/04      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:030325                              6,730.52
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071759490513
           Eed:250304    Ind ID:E74446 - 000004            Ind Name:Alliance Game
           Distribu Trn: 0629490513Tc




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                                                                                   March 01, 2025 through March 31, 2025
                                                                                Account Number:                      0569




Deposits and Credits         (continued)

Ledger     Description                                                                                                      Amount
Date

03/04      Orig CO Name:Incipix Corporat             Orig ID:7882523347 Desc Date:250304                                4,361.62
           CO Entry Descr:2445201          Sec:CCD      Trace#:121140390258954 Eed:250304
           Ind ID:E60596186                   Ind Name:Alliance Game Distribu
           2445201Inv 2445201 Trn: 0630258954Tc

03/04      Orig CO Name:Min Market 6895               Orig ID:1900334049 Desc Date:         CO                              887.00
           Entry Descr:Payments Sec:CCD              Trace#:081000039490515 Eed:250304
           Ind ID:Alliance                  Ind Name:Alliance Game Distribu Trn:
           0629490515Tc

03/04      Orig CO Name:Archonia                 Orig ID:1204895317 Desc Date:         CO                                   111.67
           Entry Descr:Bill.Com Sec:CCD          Trace#:021000029490517 Eed:250304          Ind
           ID:015Itukbwvczogi               Ind Name:Alliance Game Distribu
           Archonia Bill.Com 015Itukbw Vczogi Inv 2453896 Trn: 0629490517Tc

03/05      Fedwire Credit Via: Choice Financial Group/091311229 B/O: Lokok LLC                                        16,265.52
           Orlando FL 32819 Ref: Chase Nyc/Ctr/Bnf=Alliance Game Distributors Hunt
           Valley MD 21030- US/Ac                    6410 Rfb=O/B Choicefin O Bi=Via
           Mercury.Com, Order From Marc H 4 th Imad: 0305Mmqfmp4S000090 Trn:
           0377911064Ff
           YOUR REF: O/B CHOICEFIN

03/05      Book Transfer Credit B/O: Islandsbanki Hf. Reykjavik Iceland 155 - Is                                        4,100.10
           Org:/Is350537260061056105012650 Nexus Aftreying Ehf Ogb: Islandsbanki
           Hf. Kirkjusandi Ref: 2443302 01/28/2025 2443637 01/29/2025 2445721
           02/04/2025 2446077 02/04/2025 2446227 02/04/2025/Chgs/USD20
           ,00/Ocmt/USD4120,1/ Trn: 2063743062Js
           YOUR REF: SWF OF 25/03/03

03/05      Chips Credit Via: Sumitomo Mitsui Banking Corporation/0967 B/O: Masataka                                         898.08
           Kamiya I-Ken 486-0914 Japan Ref: Nbnf=Alliance Game Distributors Hunt
           Valley MD 21030- US/Ac                    64 10 Org=/376 1117705 I-Ken 486-0914
           Japan Ogb=Aichi Bank, Ltd. Naka Ku Nagoya 46091 Japan Jp Obi=/Uri/Purp
           Ose:Board Game. Bbi=/Chgs/USD Ssn: 00153454 Trn: 0037605064Fc
           YOUR REF: 150250305MT05196

03/05      Lockbox No: 22009 For 9 Items At 16:00 5 Trn: 2503206064Lb                                                 18,444.10

03/05      Orig CO Name:Paymentech                   Orig ID:1020401225 Desc Date:250305                            427,140.47
           CO Entry Descr:Deposit          Sec:CCD     Trace#:021000027028816 Eed:250305
           Ind ID:6406597                    Ind Name:Alliance Game Distribu Trn:
           0647028816Tc

03/05      Orig CO Name:Forte                   Orig ID:5330903620 Desc Date:250304 CO                              281,036.25
           Entry Descr:186003       Sec:CCD      Trace#:242071757028814 Eed:250305
           Ind ID:ACH-0304-CD00C                  Ind Name:Alliance Game Distribu Trn:
           0647028814Tc

03/05      Orig CO Name:American Express               Orig ID:1134992250 Desc Date:250304                            25,992.58
           CO Entry Descr:Settlementsec:CCD            Trace#:091000015084455 Eed:250305
           Ind ID:1199200601                   Ind Name:Alliance Gam1199200601
           Payment Date 25064 Trn: 0635084455Tc

03/05      Orig CO Name:UPS-Capital                  Orig ID:2362407381 Desc Date:030425                              22,242.24
           CO Entry Descr:Cod Pymts Sec:CCD              Trace#:242071755084457
           Eed:250305    Ind ID:E74446 - 000004                Ind Name:Alliance Game
           Distribu Trn: 0635084457Tc

03/05      Orig CO Name:Card Kingdom                  Orig ID:1870697704 Desc Date:       CO                            1,210.01
           Entry Descr:EDI Pymntssec:CCD             Trace#:091000015084459 Eed:250305
           Ind ID:2446399                    Ind Name:Alliance Games West
           EDI Trn: 0635084459Tc

03/06      Book Transfer Credit B/O: Dz Bank Ag Deutsche Zentral - Frankfurt Am Main                                    7,054.64
           Germany 60325- DE Org:/DE94370626004055540018 1/Bnw Distribution
           Gmbh Ogb: Vr Bank Eg Bergisch Gladbach-Leverkusen Ref: Inv
           2443406+2443762+244847+2444685 Aba 21000021/Ocmt/USD7054,64/ Trn:
           2057982065Js
           YOUR REF: SWF OF 25/03/06



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                                                                              March 01, 2025 through March 31, 2025
                                                                             Account Number:                    0569




Deposits and Credits     (continued)

Ledger     Description                                                                                                 Amount
Date

03/07      Book Transfer Credit B/O: Svenska Handelsbanken Ab Publ Stockholm                                           789.00
           Sweden S-106- 70 Se Org:/Se6560000000000052837599 Fria Ligan Ab Ogb:
           Svenska Handelsbanken Ab Publ Central Int L Div Ref: Invoice 2457539 Free
           League Publishing Fria Ligan Ab/Chgs/USD0,/Chgs/U
           SD11,00/Ocmt/USD800,/ Trn: 6364418066Fs
           YOUR REF: SWF OF 25/03/07

03/07      Lockbox No: 22009 For 7 Items At 16:00 5 Trn: 2501828066Lb                                              5,833.74

03/07      Orig CO Name:Forte              Orig ID:5330903620 Desc Date:250306 CO                              311,034.42
           Entry Descr:186003    Sec:CCD     Trace#:242071755864838 Eed:250307
           Ind ID:ACH-0306-2D237             Ind Name:Alliance Game Distribu Trn:
           0655864838Tc

03/07      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250307                           210,987.24
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000029694450 Eed:250307
           Ind ID:6406597                Ind Name:Alliance Game Distribu Trn:
           0669694450Tc

03/07      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250306                           34,363.17
           CO Entry Descr:Settlementsec:CCD        Trace#:091000019694448 Eed:250307
           Ind ID:1199200601               Ind Name:Alliance Gam1199200601
           Payment Date 25066 Trn: 0669694448Tc

03/07      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:030625                               3,504.89
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071759694446
           Eed:250307    Ind ID:E74446 - 000002            Ind Name:Alliance Game
           Distribu Trn: 0669694446Tc

03/07      Orig CO Name:One Eyed Jacques            Orig ID:1823440363 Desc Date:                                  1,564.44
           CO Entry Descr:ACH Creditsec:CCD         Trace#:053101125864836
           Eed:250307    Ind ID:35K2647Lsp7X33              Ind Name:Alliance Game
           Distribu Trn: 0655864836Tc

03/07      Orig CO Name:Card Kingdom              Orig ID:1870697704 Desc Date:       CO                               277.99
           Entry Descr:EDI Pymntssec:CCD         Trace#:091000015864840 Eed:250307
           Ind ID:2447192                Ind Name:Alliance Games West
           EDI Trn: 0655864840Tc

03/10      Book Transfer Credit B/O: Coolstuffinc.Com, LLC Maitland FL 32751-3395 US                             10,259.41
           Ref: 2442967 Trn: 3850155069Es
           YOUR REF: BMG OF 25/03/10

03/10      Fedwire Credit Via: Bank of America, N.A./       9593 B/O: Fantasiapelit                                9,930.43
           Tudeer Oy Fi 9845005Db590F3B0C865 Ref: Chase Nyc/Ctr/Bnf=Alliance
           Game Distributors Hunt Valley MD 21030- US/Ac              6410
           Rfb=Mmh031014118371 Obi=Customer 024899 Fantasiapelit Tudee R
           Oy/Finland Bbi=/Chgs/USD0,0 0/Chgs/USD15,00/Ocmt Imad:
           0310B6B7Hu2R005939 Trn: 0179901069Ff
           YOUR REF: MMH031014118371

03/10      Book Transfer Credit B/O: Dnb Norway Norway No Org:/No4315067980430                                     7,372.25
           Outland As Ogb: Dnb Dnb Nor Bank Asa Ref:
           2451519/2454497/2446139/2447922/Ocmt/USD7372,25/ Trn: 2056553069Js
           YOUR REF: SWF OF 25/03/10

03/10      Book Transfer Credit B/O: Dbs Bank Ltd Singapore Singapore 01898-2 Sg                                       642.49
           Org:/057517972 Tay Yew Chye Ogb: Dbs Bank Ltd 12 Marina Boulevard
           Level 44
           Ref:/Roc/Mb162097188371L73/Uri/Famfun411312/Ocmt/USD642,49/ Trn:
           2042716068Js
           YOUR REF: SWF OF 25/03/09

03/10      Lockbox No: 22009 For 25 Items At 16:00 5 Trn: 2501861069Lb                                           49,485.92

03/10      Orig CO Name:Forte              Orig ID:5330903620 Desc Date:250307 CO                              277,191.13
           Entry Descr:186003    Sec:CCD     Trace#:242071758934912 Eed:250310
           Ind ID:ACH-0307-7A3A9             Ind Name:Alliance Game Distribu Trn:
           0668934912Tc




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Ledger     Description                                                                                                Amount
Date

03/10      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250310                            76,430.71
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000029652301 Eed:250310
           Ind ID:6406597                Ind Name:Alliance Game Distribu Trn:
           0699652301Tc

03/10      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250307                          39,912.38
           CO Entry Descr:Settlementsec:CCD        Trace#:091000019652297 Eed:250310
           Ind ID:1199200601               Ind Name:Alliance Gam1199200601
           Payment Date 25067 Trn: 0699652297Tc

03/10      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250308                          18,198.63
           CO Entry Descr:Settlementsec:CCD        Trace#:091000019652299 Eed:250310
           Ind ID:1199200601               Ind Name:Alliance Gam1199200601
           Payment Date 25069 Trn: 0699652299Tc

03/10      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:030725                              9,634.53
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071758934910
           Eed:250310    Ind ID:E74446 - 000004            Ind Name:Alliance Game
           Distribu Trn: 0668934910Tc

03/10      Orig CO Name:Archonia             Orig ID:1204895317 Desc Date:        CO                              2,927.43
           Entry Descr:Bill.Com Sec:CCD      Trace#:021000028934907 Eed:250310         Ind
           ID:015Ebzismwd92WA              Ind Name:Alliance Game Distribu
           Archonia Bill.Com 015Ebzism Wd92WA Multiple Invoices Trn: 0668934907Tc

03/10      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250310                                   59.88
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000029652295 Eed:250310
           Ind ID:6406597                Ind Name:Alliance Game Distribu Trn:
           0699652295Tc

03/11      Book Transfer Credit B/O: Nykredit Bank As 1780 Kobenhavn V Denmark Dk                               19,676.68
           Org:/Dk4654700009515759 The Army-Painter Aps Ref: The Army Painter Aps
           I 2447475/Chgs/USD0,/Chgs/USD26,00/Ocmt/USD19702, 68/ Trn:
           8282285066Fs
           YOUR REF: SWF OF 25/03/07

03/11      Book Transfer Credit B/O: Gregory Andrew Cole Chino CA 91708-9672 US                                   2,744.06
           Ref: The Light Games Gregory Cole 411212/Bnf/Alliance Game Distributors
           Mas Ter Collection Account Trn: 3522415070Es
           YOUR REF: POH OF 25/03/11

03/11      Book Transfer Credit B/O: Union Bank of The Philippines Philippines                                    2,599.87
           Philippines Ph Org:/101590008955 Comic Odyssey No 412017 Ref: Payment
           To Supplier Trn: 7767042070Fs
           YOUR REF: SWF OF 25/03/11

03/11      Chips Credit Via: Bank of America, N.A./0959 B/O: Fantask A/S Dk-1453                                      626.80
           Kobenhavn K Ref: Nbnf=Alliance Game Distributors Hunt Valley MD 21030-
           US/Ac-        0064 10 Org=/Dk3730004180095012 Dk-1453 Kobenhavn K
           Ogb=/006550253668 Dabad Kkkxxx Obi=/Uri/Acc. 25610(Fantask) Invoice 24
           53850 Bbi=/Bnf/Aba/6410 00569 Jpmorg Ssn: 00037796 Trn: 0006563070Fc
           YOUR REF: 2025030700211029

03/11      Lockbox No: 22009 For 21 Items At 16:00 5 Trn: 2501880070Lb                                          27,807.24

03/11      Orig CO Name:Forte              Orig ID:5330903620 Desc Date:250310 CO                             345,473.23
           Entry Descr:186003    Sec:CCD     Trace#:242071751863688 Eed:250311
           Ind ID:ACH-0310-4F388             Ind Name:Alliance Game Distribu Trn:
           0701863688Tc

03/11      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250311                          215,813.01
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000021863690 Eed:250311
           Ind ID:6406597                Ind Name:Alliance Game Distribu Trn:
           0701863690Tc

03/11      Orig CO Name:Talan Inc            Orig ID:9200502235 Desc Date:250311 CO                             20,764.62
           Entry Descr:ACH Pmt    Sec:CCD        Trace#:021000029567507 Eed:250311
           Ind ID:11164831675              Ind Name:Alliance Game Distribu       2450977,
           Debit Memo 826552 Trn: 0699567507Tc




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                                                                             Account Number:                    0569




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Ledger     Description                                                                                                 Amount
Date

03/11      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:031025                             12,032.65
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071759567505
           Eed:250311    Ind ID:E74446 - 000004            Ind Name:Alliance Game
           Distribu Trn: 0699567505Tc

03/11      Orig CO Name:Incipix Corporat         Orig ID:7882523347 Desc Date:250311                               1,975.80
           CO Entry Descr:2 Bills    Sec:CCD     Trace#:121140396346596 Eed:250311
           Ind ID:E60966034               Ind Name:Alliance Game Distribu      2 Billsinv
           2447923 S, 2448415 S Trn: 0706346596Tc

03/11      Orig CO Name:Incipix Corporat         Orig ID:1637678000 Desc Date:250311                                   529.01
           CO Entry Descr:2448262      Sec:CCD     Trace#:021000029797178 Eed:250311
           Ind ID:E60981005               Ind Name:Alliance Game Distribu
           2448262Inv 2448262 Trn: 0709797178Tc

03/12      Chips Credit Via: Bank of America, N.A./0959 B/O: Milenium Trade LLC                                        580.04
           78521 US TX Ref: Nbnf=Alliance Game Distributors Hunt Valley MD 21030-
           US/Ac-        0064 10 Org=/488113358135 78521 US TX Og
           B=/488113358135 Brownsville TX 7852 1-3202 Ssn: 00416888 Trn:
           0100661071Fc
           YOUR REF: 2025031200351502

03/12      Lockbox No: 22009 For 9 Items At 16:00 5 Trn: 2503172071Lb                                            11,005.96

03/12      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250312                           610,540.67
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000028175444 Eed:250312
           Ind ID:6406597                Ind Name:Alliance Game Distribu Trn:
           0718175444Tc

03/12      Orig CO Name:Forte                 Orig ID:5330903620 Desc Date:250311 CO                           259,545.17
           Entry Descr:186003       Sec:CCD    Trace#:242071758273120 Eed:250312
           Ind ID:ACH-0311-79D0E               Ind Name:Alliance Game Distribu Trn:
           0708273120Tc

03/12      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250311                           36,258.49
           CO Entry Descr:Settlementsec:CCD        Trace#:091000018273118 Eed:250312
           Ind ID:1199200601               Ind Name:Alliance Gam1199200601
           Payment Date 25071 Trn: 0708273118Tc

03/12      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:031125                             10,473.31
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071758273116
           Eed:250312    Ind ID:E74446 - 000003            Ind Name:Alliance Game
           Distribu Trn: 0708273116Tc

03/12      Orig CO Name:Carolina Comics           Orig ID:444887153   Desc Date:Mar 12                             4,578.80
           CO Entry Descr:Alliance Osec:PPD        Trace#:103107398273126 Eed:250312
           Ind ID:                    Ind Name:Alliance Games Trn: 0708273126Tc

03/12      Orig CO Name:Go Go Games Ltd             Orig ID:453233521   Desc Date:                                 3,091.01
           CO Entry Descr:2853538      Sec:Web     Trace#:021000020475886 Eed:250312
           Ind ID:1254978187               Ind Name:Alliance Game Distribu      Wise
           Inc*30 W 26th Street\ Trn: 0710475886Tc

03/12      Orig CO Name:Payoneer 7362             Orig ID:1352254039 Desc Date:Mar 12                              1,700.00
           CO Entry Descr:EDI Paymntsec:CCD         Trace#:028000082770761
           Eed:250312    Ind ID:366184913190906             Ind Name:Alliance Game
           Distribu   Ref*TN*3661849131*Payment Via Payon Eer\ Trn: 0712770761Tc

03/12      Orig CO Name:Carolina Comics           Orig ID:444887153   Desc Date:Mar 12                             1,348.82
           CO Entry Descr:Alliance Osec:PPD        Trace#:103107398273124 Eed:250312
           Ind ID:                    Ind Name:Alliance Games Trn: 0708273124Tc

03/12      Orig CO Name:Carolina Comics           Orig ID:444887153   Desc Date:Mar 12                                 450.58
           CO Entry Descr:Alliance Osec:PPD        Trace#:103107398273122 Eed:250312
           Ind ID:                    Ind Name:Alliance Games Trn: 0708273122Tc

03/12      Orig CO Name:Incipix Corporat         Orig ID:1637678000 Desc Date:250312                                   421.47
           CO Entry Descr:2448989 P Sec:CCD         Trace#:021000022544881
           Eed:250312    Ind ID:E61049044                Ind Name:Alliance Game
           Distribu   2448989 Pinv 2448989 Trn: 0712544881Tc




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Ledger     Description                                                                                                Amount
Date

03/12      Orig CO Name:Carolina Comics           Orig ID:444887153   Desc Date:Mar 12                                112.68
           CO Entry Descr:Alliance Osec:PPD        Trace#:103107398273128 Eed:250312
           Ind ID:                  Ind Name:Alliance Games Trn: 0708273128Tc

03/13      Book Transfer Credit B/O: Taishin International Bank CO.,Ltd Taipei Taiwan                             2,482.00
           Tw Org:/888751275461 Lin Chih Yu Ogb: Taishin International Bank CO.,Ltd
           3Rd FL Chung Shan N Rd Ref:/Chgs/USD18,00/Ocmt/USD2500,/ Trn:
           0875732072Fs
           YOUR REF: SWF OF 25/03/13

03/13      Lockbox No: 22009 For 9 Items At 16:00 5 Trn: 2501878072Lb                                           12,094.98

03/13      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250313                          346,977.06
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000024395736 Eed:250313
           Ind ID:6406597                Ind Name:Alliance Game Distribu Trn:
           0724395736Tc

03/13      Orig CO Name:Forte              Orig ID:5330903620 Desc Date:250312 CO                             246,586.35
           Entry Descr:186003    Sec:CCD     Trace#:242071754065148 Eed:250313
           Ind ID:ACH-0312-2E813             Ind Name:Alliance Game Distribu Trn:
           0714065148Tc

03/13      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250312                          68,490.84
           CO Entry Descr:Settlementsec:CCD        Trace#:091000014395734 Eed:250313
           Ind ID:1199200601               Ind Name:Alliance Gam1199200601
           Payment Date 25072 Trn: 0724395734Tc

03/13      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:031225                            11,856.02
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071754065146
           Eed:250313    Ind ID:E74446 - 000003            Ind Name:Alliance Game
           Distribu Trn: 0714065146Tc

03/13      Orig CO Name:Newbury Comics             Orig ID:1042744540 Desc Date:                                  3,864.51
           CO Entry Descr:Payments Sec:CCD          Trace#:051000014065150
           Eed:250313    Ind ID:40589                  Ind Name:Alliance Game Dist
           Nte*Vendor Payment\ Trn: 0714065150Tc

03/13      Orig CO Name:Card Kingdom              Orig ID:1870697704 Desc Date:      CO                               215.63
           Entry Descr:EDI Pymntssec:CCD         Trace#:091000014065153 Eed:250313
           Ind ID:2449421                Ind Name:Alliance Games West
           EDI Trn: 0714065153Tc

03/14      Book Transfer Credit B/O: Dz Bank Ag Deutsche Zentral - Frankfurt Am Main                            46,299.40
           Germany 60325- DE Org:/DE94370626004055540018 1/Bnw Distribution
           Gmbh Ogb: Vr Bank Eg Bergisch Gladbach-Leverkusen Ref: Inv
           2447000+2446999+2435305 Aba 21000021/Ocmt/USD46299,4/ Trn:
           2061527073Js
           YOUR REF: SWF OF 25/03/14

03/14      Fedwire Credit Via: Evolve Bank & Trust/084106768 B/O: Wulf Trading CO                                     992.26
           LLC Hudsonville MI 49426 Ref: Chase Nyc/Ctr/Bnf=Alliance Game
           Distributors Hunt Valley MD 21030- US/Ac-000000006410 Rfb=O/B Evolve B
           & T Obi=From Wulf Trading CO LLC, A# 234083 , O# 2859593 Imad:
           0314Mmqfmpd1001038 Trn: 1192771073Ff
           YOUR REF: O/B EVOLVE B & T

03/14      Lockbox No: 22009 For 18 Items At 16:00 5 Trn: 2502215073Lb                                          40,359.56

03/14      Orig CO Name:Forte              Orig ID:5330903620 Desc Date:250313 CO                             325,771.66
           Entry Descr:186003    Sec:CCD     Trace#:242071757570799 Eed:250314
           Ind ID:ACH-0313-Fcf9C            Ind Name:Alliance Game Distribu Trn:
           0737570799Tc

03/14      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250314                          144,944.42
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000027570801 Eed:250314
           Ind ID:6406597                Ind Name:Alliance Game Distribu Trn:
           0737570801Tc




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Ledger     Description                                                                                                      Amount
Date

03/14      Orig CO Name:American Express               Orig ID:1134992250 Desc Date:250313                            39,458.91
           CO Entry Descr:Settlementsec:CCD            Trace#:091000013183832 Eed:250314
           Ind ID:1199200601                   Ind Name:Alliance Gam1199200601
           Payment Date 25073 Trn: 0723183832Tc

03/14      Orig CO Name:Card Kingdom                  Orig ID:1870697704 Desc Date:       CO                          12,080.52
           Entry Descr:EDI Pymntssec:CCD             Trace#:091000013183826 Eed:250314
           Ind ID:2449708                    Ind Name:Alliance Games West
           EDI Trn: 0723183826Tc

03/14      Orig CO Name:UPS-Capital                  Orig ID:2362407381 Desc Date:031325                                8,959.31
           CO Entry Descr:Cod Pymts Sec:CCD             Trace#:242071753183830
           Eed:250314    Ind ID:5832Vx - 000002                Ind Name:Alliance Game
           Distribu Trn: 0723183830Tc

03/14      Orig CO Name:Min Market 6895               Orig ID:1900334049 Desc Date:         CO                          2,215.06
           Entry Descr:Payments Sec:CCD              Trace#:081000035489553 Eed:250314
           Ind ID:Alliance                  Ind Name:Alliance Game Distribu Trn:
           0735489553Tc

03/14      Orig CO Name:Enchanted Ground               Orig ID:9215986202 Desc                                          1,425.45
           Date:031125 CO Entry Descr:Bill_Pay Sec:CCD            Trace#:021000023183834
           Eed:250314    Ind ID:Enchanted Groun                Ind Name:Alliance Game
           Distribu Trn: 0723183834Tc

03/14      Orig CO Name:One Eyed Jacques                Orig ID:1823440363 Desc Date:                                       823.32
           CO Entry Descr:ACH Creditsec:CCD             Trace#:053101123183828
           Eed:250314    Ind ID:3Dg39392Np5027                  Ind Name:Alliance Game
           Distribu Trn: 0723183828Tc

03/17      Book Transfer Credit B/O: Dnb Norway Norway No Org:/No4315067980430                                              887.38
           Outland As Ogb: Dnb Dnb Nor Bank Asa Ref:
           Cinv/2451993/Ocmt/USD887,38/ Trn: 2064621076Js
           YOUR REF: SWF OF 25/03/17

03/17      Lockbox No: 22009 For 22 Items At 16:00 5 Trn: 2502891076Lb                                                41,630.03

03/17      Orig CO Name:Forte                   Orig ID:5330903620 Desc Date:250314 CO                              150,516.84
           Entry Descr:186003       Sec:CCD      Trace#:242071750705105 Eed:250317
           Ind ID:ACH-0314-56933                 Ind Name:Alliance Game Distribu Trn:
           0730705105Tc

03/17      Orig CO Name:Paymentech                   Orig ID:1020401225 Desc Date:250317                            135,678.11
           CO Entry Descr:Deposit          Sec:CCD    Trace#:021000029009884 Eed:250317
           Ind ID:6406597                    Ind Name:Alliance Game Distribu Trn:
           0769009884Tc

03/17      Orig CO Name:American Express               Orig ID:1134992250 Desc Date:250314                            22,010.14
           CO Entry Descr:Settlementsec:CCD            Trace#:091000019009880 Eed:250317
           Ind ID:1199200601                   Ind Name:Alliance Gam1199200601
           Payment Date 25074 Trn: 0769009880Tc

03/17      Orig CO Name:American Express               Orig ID:1134992250 Desc Date:250315                            16,089.01
           CO Entry Descr:Settlementsec:CCD            Trace#:091000019009882 Eed:250317
           Ind ID:1199200601                   Ind Name:Alliance Gam1199200601
           Payment Date 25076 Trn: 0769009882Tc

03/17      Orig CO Name:UPS-Capital                  Orig ID:2362407381 Desc Date:031425                                7,491.15
           CO Entry Descr:Cod Pymts Sec:CCD             Trace#:242071750705110
           Eed:250317    Ind ID:5832Vx - 000001                Ind Name:Alliance Game Dist.
           - Trn: 0730705110Tc

03/17      Orig CO Name:Archonia                 Orig ID:1204895317 Desc Date:         CO                               3,633.51
           Entry Descr:Bill.Com Sec:CCD          Trace#:021000020705107 Eed:250317          Ind
           ID:015Hvjhjahdkhzf               Ind Name:Alliance Game Distribu
           Archonia Bill.Com 015Hvjhja Hdkhzf Inv 2460259 Trn: 0730705107Tc

03/17      Orig CO Name:Carolina Comics               Orig ID:444887153   Desc Date:Mar 17                              1,414.25
           CO Entry Descr:Alliance Osec:PPD            Trace#:103107393757967 Eed:250317
           Ind ID:                     Ind Name:Alliance Games Trn: 0763757967Tc




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Ledger     Description                                                                                             Amount
Date

03/17      Orig CO Name:Carolina Comics           Orig ID:444887153   Desc Date:Mar 17                                 575.52
           CO Entry Descr:Alliance Osec:PPD       Trace#:103107393757971 Eed:250317
           Ind ID:                  Ind Name:Alliance Games Trn: 0763757971Tc

03/17      Orig CO Name:Carolina Comics           Orig ID:444887153   Desc Date:Mar 17                                 330.00
           CO Entry Descr:Alliance Osec:PPD       Trace#:103107393757969 Eed:250317
           Ind ID:                  Ind Name:Alliance Games Trn: 0763757969Tc

03/18      Fedwire Credit Via: Bmo Bank N.A.         00288 B/O: L A Page And M E Page                             9,242.19
           T/A Tactics Australia 6000 Australia Ref: Chase Nyc/Ctr/Bnf=Alliance Game
           Distributors Hunt Valley MD 21030- US/Ac-            6410 Rfb=O/B Bmo
           Bank NA Obi=Purchase of Good S Inv2424464 Bbi=/Ocmt/USD9242,19/
           Imad: 0318G1Qg750C001868 Trn: 0204111077Ff
           YOUR REF: O/B BMO BANK NA

03/18      Lockbox No: 22009 For 13 Items At 16:00 5 Trn: 2501649077Lb                                          23,881.21

03/18      Orig CO Name:Forte              Orig ID:5330903620 Desc Date:250317 CO                             403,179.12
           Entry Descr:186003   Sec:CCD      Trace#:242071756613919 Eed:250318
           Ind ID:ACH-0317-9D876             Ind Name:Alliance Game Distribu Trn:
           0776613919Tc

03/18      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250318                          204,770.96
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000026613921 Eed:250318
           Ind ID:6406597                Ind Name:Alliance Game Distribu Trn:
           0776613921Tc

03/18      Orig CO Name:Incipix Corporat         Orig ID:7882523347 Desc Date:250318                              1,298.39
           CO Entry Descr:2451510      Sec:CCD     Trace#:121140397748179 Eed:250318
           Ind ID:E61326404               Ind Name:Alliance Game Distribu
           2451510Inv 2451510 Trn: 0777748179Tc

03/18      Orig CO Name:Payoneer 7362             Orig ID:1352254039 Desc Date:Mar 18                             1,200.00
           CO Entry Descr:EDI Paymntsec:CCD         Trace#:028000087748176
           Eed:250318    Ind ID:366184920275748             Ind Name:Alliance Game
           Distribu   Ref*TN*3661849202*Payment Via Payon Eer\ Trn: 0777748176Tc

03/19      Lockbox No: 22009 For 13 Items At 16:00 5 Trn: 2502960078Lb                                          19,504.58

03/19      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250319                          304,818.35
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000022894886 Eed:250319
           Ind ID:6406597                Ind Name:Alliance Game Distribu Trn:
           0782894886Tc

03/19      Orig CO Name:Forte              Orig ID:5330903620 Desc Date:250318 CO                               99,173.06
           Entry Descr:186003   Sec:CCD      Trace#:242071752894884 Eed:250319
           Ind ID:ACH-0318-Db4D0             Ind Name:Alliance Game Distribu Trn:
           0782894884Tc

03/19      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250318                          27,129.90
           CO Entry Descr:Settlementsec:CCD        Trace#:091000012705610 Eed:250319
           Ind ID:1199200601               Ind Name:Alliance Gam1199200601
           Payment Date 25078 Trn: 0772705610Tc

03/19      Orig CO Name:Archonia             Orig ID:1204895317 Desc Date:       CO                               3,213.40
           Entry Descr:Bill.Com Sec:CCD      Trace#:021000022705612 Eed:250319        Ind
           ID:015Betkgbrdoq4J            Ind Name:Alliance Game Distribu
           Archonia Bill.Com 015Betkgb Rdoq4J Multiple Invoices Trn: 0772705612Tc

03/20      Fedwire Credit Via: Bmo Bank N.A./         0288 B/O: L A Page And M E Page                           10,670.32
           T/A Tactics Australia 6000 Australia Ref: Chase Nyc/Ctr/Bnf=Alliance Game
           Distributors Hunt Valley MD 21030- US/Ac-            6410 Rfb=O/B Bmo
           Bank NA Obi=Purchase of Good S Inv 2442959 Bbi=/Ocmt/USD10670,32/
           Imad: 0320G1Qg750C002507 Trn: 0298731079Ff
           YOUR REF: O/B BMO BANK NA




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Ledger     Description                                                                                              Amount
Date

03/20      Chips Credit Via: Bank of America, N.A./0959 B/O: 1/Nutmeg Games LLC                                    1,716.10
           3/US/New Milford 06776 Ref: Nbnf=Alliance Game Distributors Hunt Valley
           MD 21030- US/Ac-             0064 10 Org=/385032787087 3/US/New Milfo Rd
           06776 Ogb=/385032787087 New Milf Ord CT 06776-4328 Ssn: 00277761
           Trn: 0067882079Fc
           YOUR REF: 2025031900213867

03/20      Lockbox No: 22009 For 9 Items At 16:00 5 Trn: 2500998079Lb                                            12,108.93

03/20      Orig CO Name:Forte                Orig ID:5330903620 Desc Date:250319 CO                            341,841.92
           Entry Descr:186003    Sec:CCD       Trace#:242071757080912 Eed:250320
           Ind ID:ACH-0319-6Dbcb              Ind Name:Alliance Game Distribu Trn:
           0787080912Tc

03/20      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250320                          249,938.51
           CO Entry Descr:Deposit       Sec:CCD     Trace#:021000028941170 Eed:250320
           Ind ID:6406597                 Ind Name:Alliance Game Distribu Trn:
           0798941170Tc

03/20      Orig CO Name:American Express            Orig ID:1134992250 Desc Date:250319                          67,582.57
           CO Entry Descr:Settlementsec:CCD         Trace#:091000017080917 Eed:250320
           Ind ID:1199200601                Ind Name:Alliance Gam1199200601
           Payment Date 25079 Trn: 0787080917Tc

03/20      Orig CO Name:Newbury Comics              Orig ID:1042744540 Desc Date:                                12,124.71
           CO Entry Descr:Payments Sec:CCD           Trace#:051000017080914
           Eed:250320    Ind ID:40589                   Ind Name:Alliance Game Dist
           Nte*Vendor Payment\ Trn: 0787080914Tc

03/20      Orig CO Name:Card Kingdom               Orig ID:1870697704 Desc Date:      CO                           7,228.07
           Entry Descr:EDI Pymntssec:CCD          Trace#:091000017080910 Eed:250320
           Ind ID:2452870                 Ind Name:Alliance Games West
           EDI Trn: 0787080910Tc

03/20      Orig CO Name:Phu Top Cards Ll           Orig ID:S941687665 Desc Date:250320                             1,312.50
           CO Entry Descr:Sender        Sec:CTX     Trace#:113000028941172 Eed:250320
           Ind ID:779086088                Ind Name:0000Alliance Game Di
           Onlne Trnsfr88871070 Trn: 0798941172Tc

03/21      Fedwire Credit Via: Choice Financial Group/         1229 B/O: Lokok LLC                               28,289.14
           Orlando FL 32819 Ref: Chase Nyc/Ctr/Bnf=Alliance Game Distributors Hunt
           Valley MD 21030- US/Ac-                6410 Rfb=O/B Choicefin O Bi=Lokok LLC,
           140116, Order From 03 21 2025 Imad: 0321Mmqfmp4S001514 Trn:
           0509381080Ff
           YOUR REF: O/B CHOICEFIN

03/21      Book Transfer Credit B/O: Islandsbanki Hf. Reykjavik Iceland 155 - Is                                   9,313.71
           Org:/Is350537260061056105012650 Nexus Aftreying Ehf Ogb: Islandsbanki
           Hf. Kirkjusandi Ref: 2447831 2451511
           2451739/Chgs/USD20,00/Ocmt/USD9333,71/ Trn: 2070541078Js
           YOUR REF: SWF OF 25/03/19

03/21      Chips Credit Via: Bank of America, N.A./0959 B/O: Milenium Trade LLC                                         502.38
           78521 US TX Ref: Nbnf=Alliance Game Distributors Hunt Valley MD 21030-
           US/Ac-         0064 10 Org=/488113358135 78521 US TX Og
           B=/488113358135 Brownsville TX 7852 1-3202 Ssn: 00399066 Trn:
           0100981080Fc
           YOUR REF: 2025032100314061

03/21      Lockbox No: 22009 For 18 Items At 16:00 5 Trn: 2500659080Lb                                           55,623.80

03/21      Orig CO Name:Forte                Orig ID:5330903620 Desc Date:250320 CO                            226,433.82
           Entry Descr:186003    Sec:CCD       Trace#:242071752815281 Eed:250321
           Ind ID:ACH-0320-843Ba              Ind Name:Alliance Game Distribu Trn:
           0792815281Tc

03/21      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250321                          162,040.22
           CO Entry Descr:Deposit       Sec:CCD     Trace#:021000027023120 Eed:250321
           Ind ID:6406597                 Ind Name:Alliance Game Distribu Trn:
           0807023120Tc



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Date

03/21      Orig CO Name:American Express               Orig ID:1134992250 Desc Date:250320                            47,041.43
           CO Entry Descr:Settlementsec:CCD            Trace#:091000012815285 Eed:250321
           Ind ID:1199200601                   Ind Name:Alliance Gam1199200601
           Payment Date 25080 Trn: 0792815285Tc

03/21      Orig CO Name:One Eyed Jacques                Orig ID:1823440363 Desc Date:                                   6,902.34
           CO Entry Descr:ACH Creditsec:CCD             Trace#:053101122815283
           Eed:250321    Ind ID:3Kj24471Dp8B23                  Ind Name:Alliance Game
           Distribu Trn: 0792815283Tc

03/21      Orig CO Name:Min Market 6895               Orig ID:1900334049 Desc Date:        CO                           1,824.26
           Entry Descr:Payments Sec:CCD              Trace#:081000031275087 Eed:250321
           Ind ID:Alliance                  Ind Name:Alliance Game Distribu Trn:
           0801275087Tc

03/24      Fedwire Credit Via: Anchor Bank              5656 B/O: Double Infinity Gaming                                7,396.20
           Royal Palm Beach, FL 33411 Ref: Chase Nyc/Ctr/Bnf=Alliance Game
           Distributors Hunt Valley MD 21030- US/Ac                 6410 Rfb=842077148
           Obi=W Ire For Double Infinity Gaming Imad: 0324Mmqfmp6Q000014 Trn:
           0737831083Ff
           YOUR REF: 842077148

03/24      Book Transfer Credit B/O: Coolstuffinc.Com, LLC Maitland FL 32751-3395 US                                    5,000.00
           Ref: 2456102 Trn: 3575765083Es
           YOUR REF: BMG OF 25/03/24

03/24      Lockbox No: 22009 For 26 Items At 16:00 5 Trn: 2500624083Lb                                                60,367.09

03/24      Orig CO Name:Forte                   Orig ID:5330903620 Desc Date:250321 CO                              261,442.69
           Entry Descr:186003       Sec:CCD      Trace#:242071754412718 Eed:250324
           Ind ID:ACH-0321-A9153                 Ind Name:Alliance Game Distribu Trn:
           0804412718Tc

03/24      Orig CO Name:Paymentech                   Orig ID:1020401225 Desc Date:250324                            113,492.14
           CO Entry Descr:Deposit          Sec:CCD    Trace#:021000022687714 Eed:250324
           Ind ID:6406597                    Ind Name:Alliance Game Distribu Trn:
           0832687714Tc

03/24      Orig CO Name:American Express               Orig ID:1134992250 Desc Date:250321                            25,134.02
           CO Entry Descr:Settlementsec:CCD            Trace#:091000014412724 Eed:250324
           Ind ID:1199200601                   Ind Name:Alliance Gam1199200601
           Payment Date 25081 Trn: 0804412724Tc

03/24      Orig CO Name:UPS-Capital                  Orig ID:2362407381 Desc Date:031825                              14,901.62
           CO Entry Descr:Cod Pymts Sec:CCD             Trace#:242071754412720
           Eed:250324    Ind ID:E74446 - 000004                Ind Name:Alliance Game
           Distribu Trn: 0804412720Tc

03/24      Orig CO Name:Card Kingdom                  Orig ID:1870697704 Desc Date:        CO                         14,771.90
           Entry Descr:EDI Pymntssec:CCD             Trace#:091000014412722 Eed:250324
           Ind ID:2453337                    Ind Name:Alliance Games West
           EDI Trn: 0804412722Tc

03/24      Orig CO Name:American Express               Orig ID:1134992250 Desc Date:250322                              9,808.28
           CO Entry Descr:Settlementsec:CCD            Trace#:091000012687710 Eed:250324
           Ind ID:1199200601                   Ind Name:Alliance Gam1199200601
           Payment Date 25083 Trn: 0832687710Tc

03/24      Orig CO Name:UPS-Capital                  Orig ID:2362407381 Desc Date:031725                                7,380.75
           CO Entry Descr:Cod Pymts Sec:CCD             Trace#:242071754412716
           Eed:250324    Ind ID:E74446 - 000004                Ind Name:Alliance Game
           Distribu Trn: 0804412716Tc

03/24      Orig CO Name:Carolina Comics               Orig ID:444887153   Desc Date:Mar 24                              1,162.03
           CO Entry Descr:Alliance Osec:PPD            Trace#:103107390758645 Eed:250324
           Ind ID:                     Ind Name:Alliance Games Trn: 0830758645Tc

03/24      Orig CO Name:Carolina Comics               Orig ID:444887153   Desc Date:Mar 24                                   941.03
           CO Entry Descr:Alliance Osec:PPD            Trace#:103107390758649 Eed:250324
           Ind ID:                     Ind Name:Alliance Games Trn: 0830758649Tc




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Date

03/24      Orig CO Name:Carolina Comics           Orig ID:444887153   Desc Date:Mar 24                                 206.15
           CO Entry Descr:Alliance Osec:PPD        Trace#:103107390758647 Eed:250324
           Ind ID:                  Ind Name:Alliance Games Trn: 0830758647Tc

03/24      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250324                                    59.88
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000022687708 Eed:250324
           Ind ID:6406597                Ind Name:Alliance Game Distribu Trn:
           0832687708Tc

03/24      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250324                                    59.88
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000022687712 Eed:250324
           Ind ID:6406597                Ind Name:Alliance Game Distribu Trn:
           0832687712Tc

03/25      Book Transfer Credit B/O: Dz Bank Ag Deutsche Zentral - Frankfurt Am Main                              9,160.96
           Germany 60325- DE Org:/DE94370626004055540018 1/Bnw Distribution
           Gmbh Ogb: Vr Bank Eg Bergisch Gladbach-Leverkusen Ref: Inv
           2435305+2450797+2445380+2450830U2450574+2456683+2452569+245276
           5 Ab A 21000021/Ocmt/USD9160,96/ Trn: 2059849084Js
           YOUR REF: SWF OF 25/03/25

03/25      Book Transfer Credit B/O: Coolstuffinc.Com, LLC Maitland FL 32751-3395 US                              5,000.00
           Ref: 2456102 Trn: 3336345084Es
           YOUR REF: BMG OF 25/03/25

03/25      Fedwire Credit Via: Evolve Bank & Trust         6768 B/O: Wulf Trading CO                                   620.52
           LLC Hudsonville MI 49426 Ref: Chase Nyc/Ctr/Bnf=Alliance Game
           Distributors Hunt Valley MD 21030- US/Ac-            6410 Rfb=O/B Evolve B
           & T Obi=From Wulf Trading CO LLC, C# 234083 , O# 2867071 Imad:
           0325Mmqfmpd1001323 Trn: 1010581084Ff
           YOUR REF: O/B EVOLVE B & T

03/25      Lockbox No: 22009 For 5 Items At 16:00 5 Trn: 2502032084Lb                                             3,544.29

03/25      Orig CO Name:Forte              Orig ID:5330903620 Desc Date:250324 CO                             285,508.04
           Entry Descr:186003   Sec:CCD      Trace#:242071750880732 Eed:250325
           Ind ID:ACH-0324-3A4A5             Ind Name:Alliance Game Distribu Trn:
           0830880732Tc

03/25      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250325                          127,562.80
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000022323144 Eed:250325
           Ind ID:6406597                Ind Name:Alliance Game Distribu Trn:
           0842323144Tc

03/25      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:031925                            15,075.14
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071750880730
           Eed:250325    Ind ID:8226Xw - 000003            Ind Name:Alliance Game
           Distribu Trn: 0830880730Tc

03/25      Orig CO Name:Bull Moose            Orig ID:1204895317 Desc Date:       CO                              5,798.57
           Entry Descr:Bill.Com Sec:CCD     Trace#:021000020880739 Eed:250325           Ind
           ID:015Rxwqvwvdxtia            Ind Name:Alliance Game Distribu         Bull
           Moose Bill.Com 015Rxwqvw Vdxtia Multiple Invoices Trn: 0830880739Tc

03/25      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:032125                              3,677.44
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071752323142
           Eed:250325    Ind ID:E74446 - 000003            Ind Name:Alliance Game
           Distribu Trn: 0842323142Tc

03/25      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:032025                              3,506.56
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071750880734
           Eed:250325    Ind ID:8226Xw - 000002            Ind Name:Alliance Game
           Distribu Trn: 0830880734Tc

03/25      Orig CO Name:Payoneer 7362             Orig ID:1352254039 Desc Date:Mar 25                             1,200.00
           CO Entry Descr:EDI Paymntsec:CCD         Trace#:028000084819442
           Eed:250325    Ind ID:366184929146800             Ind Name:Alliance Game
           Distribu   Ref*TN*3661849291*Payment Via Payon Eer\ Trn: 0844819442Tc




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Date

03/25      Orig CO Name:Penguin Random H             Orig ID:1462905685 Desc Date:                                  1,000.00
           CO Entry Descr:ACH Paymntsec:CCD           Trace#:043000260880728
           Eed:250325    Ind ID:0000066673                Ind Name:Diamond Comic
           Distribu Trn: 0830880728Tc

03/25      Orig CO Name:Archonia              Orig ID:1204895317 Desc Date:        CO                                    931.98
           Entry Descr:Bill.Com Sec:CCD       Trace#:021000020880736 Eed:250325         Ind
           ID:015Fuihjoadxsy8             Ind Name:Alliance Game Distribu
           Archonia Bill.Com 015Fuihjo Adxsy8 Multiple Invoices Trn: 0830880736Tc

03/25      Orig CO Name:Incipix Corporat          Orig ID:7882523347 Desc Date:250325                                    537.91
           CO Entry Descr:2454152       Sec:CCD     Trace#:121140394819445 Eed:250325
           Ind ID:E61656092                 Ind Name:Alliance Game Distribu
           2454152Inv 2454152 Trn: 0844819445Tc

03/26      Chips Credit Via: Bank of America, N.A./0959 B/O: 1/Phu Top Cards LLC                                    5,812.78
           3/US/San Antonio, TX 78233 4969 Ref: Nbnf=Alliance Game Distributors Hunt
           Valley MD 21030- US/Ac-           0064 10 Org=/488126245662 3/US/San
           Anton Io, TX 78233 4969 Ogb=/488126245662 San Antonio TX 78233-4969
           Bbi=/Chg S/USD0,00/Ocmt/USD5812,78/ Ssn: 00551910 Trn: 0137896085Fc
           YOUR REF: 2025032600516009

03/26      Fedwire Credit Via: TD Bank, NA/031101266 B/O: Expectro Inc Spotswood,                                   2,934.90
           NJ 08884-0000 Ref: Chase Nyc/Ctr/Bnf=Alliance Game Distributors Hunt
           Valley MD 21030- US/Ac-                6410 Rfb=Max-00751987 Ob I=Wire
           Payment Bbi=/Ocmt/USD2934,90/ Imad: 0326Mmqfmpyq000068 Trn:
           0168991085Ff
           YOUR REF: MAX-00751987

03/26      Lockbox No: 22009 For 15 Items At 16:00 5 Trn: 2501251085Lb                                            26,649.11

03/26      Orig CO Name:Forte                Orig ID:5330903620 Desc Date:250325 CO                             266,716.74
           Entry Descr:186003    Sec:CCD       Trace#:242071757138487 Eed:250326
           Ind ID:ACH-0325-B2DE0               Ind Name:Alliance Game Distribu Trn:
           0847138487Tc

03/26      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250326                           258,423.97
           CO Entry Descr:Deposit       Sec:CCD     Trace#:021000026945872 Eed:250326
           Ind ID:6406597                 Ind Name:Alliance Game Distribu Trn:
           0856945872Tc

03/26      Orig CO Name:American Express            Orig ID:1134992250 Desc Date:250325                           13,254.38
           CO Entry Descr:Settlementsec:CCD         Trace#:091000017138489 Eed:250326
           Ind ID:1199200601                Ind Name:Alliance Gam1199200601
           Payment Date 25085 Trn: 0847138489Tc

03/26      Orig CO Name:UPS-Capital               Orig ID:2362407381 Desc Date:032425                               7,378.29
           CO Entry Descr:Cod Pymts Sec:CCD          Trace#:242071756945870
           Eed:250326    Ind ID:E74446 - 000004             Ind Name:Alliance Game
           Distribu Trn: 0856945870Tc

03/27      Book Transfer Credit B/O: Coolstuffinc.Com, LLC Maitland FL 32751-3395 US                                5,000.00
           Ref: 2456102 Trn: 3180305086Es
           YOUR REF: BMG OF 25/03/27

03/27      Book Transfer Credit B/O: Coolstuffinc.Com, LLC Maitland FL 32751-3395 US                                5,000.00
           Ref: 2456102 Trn: 3484885086Es
           YOUR REF: BMG OF 25/03/27

03/27      Lockbox No: 22009 For 16 Items At 16:00 5 Trn: 2503589086Lb                                            36,383.51

03/27      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250327                           308,442.11
           CO Entry Descr:Deposit       Sec:CCD     Trace#:021000029923757 Eed:250327
           Ind ID:6406597                 Ind Name:Alliance Game Distribu Trn:
           0869923757Tc

03/27      Orig CO Name:Forte                Orig ID:5330903620 Desc Date:250326 CO                             249,989.41
           Entry Descr:186003    Sec:CCD       Trace#:242071759923751 Eed:250327
           Ind ID:ACH-0326-CA792               Ind Name:Alliance Game Distribu Trn:
           0869923751Tc




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Date

03/27      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250326                          44,662.81
           CO Entry Descr:Settlementsec:CCD        Trace#:091000019923755 Eed:250327
           Ind ID:1199200601               Ind Name:Alliance Gam1199200601
           Payment Date 25086 Trn: 0869923755Tc

03/27      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:032525                              8,895.48
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071750545163
           Eed:250327    Ind ID:E74446 - 000004            Ind Name:Alliance Game
           Distribu Trn: 0850545163Tc

03/27      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:032625                              8,445.72
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071759923753
           Eed:250327    Ind ID:E74446 - 000002            Ind Name:Alliance Game
           Distribu Trn: 0869923753Tc

03/27      Orig CO Name:Newbury Comics             Orig ID:1042744540 Desc Date:                                  5,588.84
           CO Entry Descr:Payments Sec:CCD          Trace#:051000019817177
           Eed:250327    Ind ID:40589                  Ind Name:Alliance Game Dist
           Nte*Vendor Payment\ Trn: 0869817177Tc

03/27      Orig CO Name:Enchanted Ground           Orig ID:9215986202 Desc                                        3,380.92
           Date:032425 CO Entry Descr:Bill_Pay Sec:CCD        Trace#:021000020545171
           Eed:250327    Ind ID:Enchanted Groun            Ind Name:Alliance Game
           Distribu Trn: 0850545171Tc

03/27      Orig CO Name:Archonia             Orig ID:1204895317 Desc Date:         CO                             2,072.60
           Entry Descr:Bill.Com Sec:CCD      Trace#:021000020545165 Eed:250327          Ind
           ID:015Sxvyecse23P0             Ind Name:Alliance Game Distribu
           Archonia Bill.Com 015Sxvyec Se23P0 Inv 2465429 Trn: 0850545165Tc

03/27      Orig CO Name:Steve Jackson GA           Orig ID:9200502235 Desc Date:250327                                 800.00
           CO Entry Descr:ACH Pmt       Sec:PPD     Trace#:021000020545168
           Eed:250327    Ind ID:11166390579               Ind Name:Alliance Games
           Distrib    2444063          250130Gtm Full   Page Ad
           0000000800.00000 0000000.00 Trn: 0850545168Tc

03/27      Orig CO Name:Payoneer 7362             Orig ID:1352254039 Desc Date:Mar 27                                  500.00
           CO Entry Descr:EDI Paymntsec:CCD         Trace#:028000089817180
           Eed:250327    Ind ID:366184932204538             Ind Name:Alliance Game
           Distribu   Ref*TN*3661849322*Payment Via Payon Eer\ Trn: 0869817180Tc

03/28      Book Transfer Credit B/O: Coolstuffinc.Com, LLC Maitland FL 32751-3395 US                              5,000.00
           Ref: 2456102 Trn: 3548705087Es
           YOUR REF: BMG OF 25/03/28

03/28      Book Transfer Credit B/O: Siam Commercial Bank Public CO Ltd Bangkok                                   2,954.49
           Thailand 10900- th Org:/1512384491 1/Our Games Trading CO.,Ltd. Ref:
           Invoice 2469307/Ocmt/USD2954,49/ Trn: 0712808087Fs
           YOUR REF: SWF OF 25/03/28

03/28      Book Transfer Credit B/O: Union Bank of The Philippines Philippines                                    1,130.57
           Philippines Ph Org:/101590008955 Comic Odyssey No 412017 Ref: Payment
           To Supplier Trn: 1341128087Fs
           YOUR REF: SWF OF 25/03/28

03/28      Lockbox No: 22009 For 14 Items At 16:00 5 Trn: 2502016087Lb                                          40,863.42

03/28      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250328                          291,589.00
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000026409364 Eed:250328
           Ind ID:6406597                Ind Name:Alliance Game Distribu Trn:
           0876409364Tc

03/28      Orig CO Name:Forte               Orig ID:5330903620 Desc Date:250327 CO                            259,101.67
           Entry Descr:186003    Sec:CCD     Trace#:242071756409362 Eed:250328
           Ind ID:ACH-0327-Fb35C             Ind Name:Alliance Game Distribu Trn:
           0876409362Tc

03/28      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250327                          65,476.43
           CO Entry Descr:Settlementsec:CCD        Trace#:091000013997351 Eed:250328
           Ind ID:1199200601               Ind Name:Alliance Gam1199200601
           Payment Date 25087 Trn: 0863997351Tc



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Ledger     Description                                                                                             Amount
Date

03/28      Orig CO Name:Bull Moose            Orig ID:1204895317 Desc Date:         CO                            6,750.69
           Entry Descr:Bill.Com Sec:CCD      Trace#:021000023997357 Eed:250328          Ind
           ID:015Fijtgooe4Ht8           Ind Name:Alliance Game Distribu         Bull
           Moose Bill.Com 015Fijtgo Oe4Ht8 Multiple Invoices Trn: 0863997357Tc

03/28      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:032725                              5,982.02
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071753997355
           Eed:250328    Ind ID:5832Vx - 000002            Ind Name:Alliance Game
           Distribu Trn: 0863997355Tc

03/28      Orig CO Name:Card Kingdom              Orig ID:1870697704 Desc Date:        CO                         3,111.93
           Entry Descr:EDI Pymntssec:CCD         Trace#:091000013997353 Eed:250328
           Ind ID:2455872                Ind Name:Alliance Games West
           EDI Trn: 0863997353Tc

03/31      Book Transfer Credit B/O: Islandsbanki Hf. Reykjavik Iceland 155 - Is                                  9,644.85
           Org:/Is350537260061056105012650 Nexus Aftreying Ehf Ogb: Islandsbanki
           Hf. Kirkjusandi Ref: 2454306 2455479
           2456040/Chgs/USD20,00/Ocmt/USD9664,85/ Trn: 2081898086Js
           YOUR REF: SWF OF 25/03/27

03/31      Fedwire Credit Via: Evolve Bank & Trust/084106768 B/O: Wulf Trading CO                                 6,363.52
           LLC Hudsonville MI 49426 Ref: Chase Nyc/Ctr/Bnf=Alliance Game
           Distributors Hunt Valley MD 21030- US/Ac-            6410 Rfb=O/B Evolve B
           & T Obi=From Wulf Trading CO LLC, C# 234083 , O# 2871183 Imad:
           0331Mmqfmpd1001651 Trn: 1683461090Ff
           YOUR REF: O/B EVOLVE B & T

03/31      Book Transfer Credit B/O: Coolstuffinc.Com, LLC Maitland FL 32751-3395 US                              1,062.00
           Ref: 2456102 Trn: 3978325090Es
           YOUR REF: BMG OF 25/03/31

03/31      Lockbox No: 22009 For 45 Items At 16:00 5 Trn: 2501808090Lb                                        100,858.47

03/31      Orig CO Name:Forte              Orig ID:5330903620 Desc Date:250328 CO                             165,080.66
           Entry Descr:186003    Sec:CCD     Trace#:242071755319630 Eed:250331
           Ind ID:ACH-0328-83Bcd             Ind Name:Alliance Game Distribu Trn:
           0875319630Tc

03/31      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250331                          158,408.34
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000022526653 Eed:250331
           Ind ID:6406597                Ind Name:Alliance Game Distribu Trn:
           0902526653Tc

03/31      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250328                          80,575.71
           CO Entry Descr:Settlementsec:CCD        Trace#:091000012526647 Eed:250331
           Ind ID:1199200601               Ind Name:Alliance Gam1199200601
           Payment Date 25088 Trn: 0902526647Tc

03/31      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250329                          33,509.77
           CO Entry Descr:Settlementsec:CCD        Trace#:091000012526649 Eed:250331
           Ind ID:1199200601               Ind Name:Alliance Gam1199200601
           Payment Date 25090 Trn: 0902526649Tc

03/31      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:032825                              9,754.26
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071755319628
           Eed:250331    Ind ID:E74446 - 000004            Ind Name:Alliance Game
           Distribu Trn: 0875319628Tc

03/31      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250331                              6,439.20
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000022526651 Eed:250331
           Ind ID:6406597                Ind Name:Alliance Game Distribu Trn:
           0902526651Tc

03/31      Orig CO Name:One Eyed Jacques            Orig ID:1823440363 Desc Date:                                 4,478.56
           CO Entry Descr:ACH Creditsec:CCD         Trace#:053101125319623
           Eed:250331    Ind ID:3Rl2911P9U0G19              Ind Name:Alliance Game
           Distribu Trn: 0875319623Tc




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                                                                            Account Number:                    0569




Deposits and Credits     (continued)

Ledger     Description                                                                                             Amount
Date

03/31      Orig CO Name:Archonia             Orig ID:1204895317 Desc Date:       CO                               2,351.46
           Entry Descr:Bill.Com Sec:CCD      Trace#:021000025319625 Eed:250331        Ind
           ID:015Kfmsokge6V73             Ind Name:Alliance Game Distribu
           Archonia Bill.Com 015Kfmsok Ge6V73 Inv 2466696 Trn: 0875319625Tc

03/31      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250330                             1,134.92
           CO Entry Descr:Settlementsec:CCD        Trace#:091000012526645 Eed:250331
           Ind ID:1199200601               Ind Name:Alliance Gam1199200601
           Payment Date 25090 Trn: 0902526645Tc

03/31      Orig CO Name:Carolina Comics          Orig ID:444887153   Desc Date:Mar 31                                  404.27
           CO Entry Descr:Alliance Osec:PPD       Trace#:103107397051181 Eed:250331
           Ind ID:                  Ind Name:Alliance Games Trn: 0907051181Tc

Total                                                                                                   $12,675,615.11



Withdrawals and Debits

Ledger     Description                                                                                             Amount
Date

03/03      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250303                          $80,966.02
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000024432106 Eed:250303
           Ind ID:6406597                Ind Name:Alliance Game Distribu Trn:
           0624432106Tc

03/03      Loan Principal Payment                                                                             380,090.41

03/03      Loan Principal Payment                                                                               29,269.93

03/03      Loan Principal Payment                                                                                 9,079.85

03/03      Loan Principal Payment                                                                                 4,543.41

03/03      Loan Principal Payment                                                                                 1,059.50

03/03      Loan Principal Payment                                                                                      361.00

03/04      Loan Principal Payment                                                                             514,958.89

03/04      Loan Principal Payment                                                                               31,177.73

03/04      Loan Principal Payment                                                                                 4,546.72

03/04      Loan Principal Payment                                                                                 2,826.95

03/05      Loan Principal Payment                                                                             778,885.25

03/05      Loan Principal Payment                                                                               17,577.03

03/05      Loan Principal Payment                                                                                 7,289.88

03/05      Loan Principal Payment                                                                                      867.07

03/06      Loan Principal Payment                                                                             566,931.37

03/06      Loan Principal Payment                                                                               24,894.58

03/06      Loan Principal Payment                                                                                 3,642.39

03/06      Loan Principal Payment                                                                                 2,911.22

03/06      Loan Principal Payment                                                                                 2,641.00

03/07      Loan Principal Payment                                                                             564,762.27

03/07      Loan Principal Payment                                                                                 5,286.83

03/07      Loan Principal Payment                                                                                 5,000.00

03/07      Loan Principal Payment                                                                                      546.91

03/10      Loan Principal Payment                                                                             442,299.86

03/10      Loan Principal Payment                                                                               44,771.84

03/10      Loan Principal Payment                                                                                      800.00

03/11      Loan Principal Payment                                                                             616,986.86

03/11      Loan Principal Payment                                                                               19,978.22

03/11      Loan Principal Payment                                                                               14,173.49

03/11      Loan Principal Payment                                                                                 7,127.27

03/11      Loan Principal Payment                                                                                 3,273.07

03/11      Loan Principal Payment                                                                                      701.75

03/12      Loan Principal Payment                                                                             923,888.56



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Withdrawals and Debits      (continued)

Ledger     Description                                                                                 Amount
Date

03/12      Loan Principal Payment                                                                     7,260.60

03/12      Loan Principal Payment                                                                     3,745.36

03/12      Loan Principal Payment                                                                     1,975.80

03/12      Loan Principal Payment                                                                          421.47

03/13      Loan Principal Payment                                                                 680,472.41

03/13      Loan Principal Payment                                                                     9,948.53

03/13      Loan Principal Payment                                                                     4,791.01

03/13      Loan Principal Payment                                                                     2,146.45

03/14      Loan Principal Payment                                                                 579,762.99

03/14      Loan Principal Payment                                                                   20,483.86

03/14      Loan Principal Payment                                                                   10,608.81

03/14      Loan Principal Payment                                                                     6,749.20

03/17      Loan Principal Payment                                                                 336,306.14

03/17      Loan Principal Payment                                                                   35,061.64

03/17      Loan Principal Payment                                                                     6,568.39

03/17      Loan Principal Payment                                                                     5,725.01

03/18      Loan Principal Payment                                                                 617,192.27

03/18      Loan Principal Payment                                                                   21,581.60

03/18      Loan Principal Payment                                                                     2,319.77

03/18      Loan Principal Payment                                                                          695.88

03/19      Loan Principal Payment                                                                 434,334.71

03/19      Loan Principal Payment                                                                   10,535.66

03/19      Loan Principal Payment                                                                     5,749.14

03/19      Loan Principal Payment                                                                     4,102.12

03/20      Loan Principal Payment                                                                 692,414.70

03/20      Loan Principal Payment                                                                     7,683.38

03/20      Loan Principal Payment                                                                     4,425.55

03/20      Loan Principal Payment                                                                     3,219.78

03/21      Loan Principal Payment                                                                 480,523.04

03/21      Loan Principal Payment                                                                   53,098.10

03/24      Loan Principal Payment                                                                 447,051.16

03/24      Loan Principal Payment                                                                   48,340.32

03/24      Loan Principal Payment                                                                     9,886.95

03/24      Loan Principal Payment                                                                     7,396.20

03/24      Loan Principal Payment                                                                     5,000.00

03/24      Loan Principal Payment                                                                     4,349.96

03/25      Loan Principal Payment                                                                 452,221.49

03/25      Loan Principal Payment                                                                     5,000.00

03/25      Loan Principal Payment                                                                     4,449.03

03/25      Loan Principal Payment                                                                     2,086.74

03/25      Loan Principal Payment                                                                     1,457.55

03/25      Loan Principal Payment                                                                          620.52

03/26      Loan Principal Payment                                                                 548,708.28

03/26      Loan Principal Payment                                                                   25,538.47

03/26      Loan Principal Payment                                                                     5,812.78

03/26      Loan Principal Payment                                                                     1,737.91

03/26      Loan Principal Payment                                                                     1,110.64

03/27      Loan Principal Payment                                                                 631,689.05

03/27      Loan Principal Payment                                                                   27,980.69

03/27      Loan Principal Payment                                                                     8,402.82

03/28      Loan Principal Payment                                                                 636,096.80

03/28      Loan Principal Payment                                                                   37,333.54

03/28      Loan Principal Payment                                                                   11,088.84

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                                                                           Account Number:                     0569




Withdrawals and Debits       (continued)

Ledger     Description                                                                                             Amount
Date

03/28      Loan Principal Payment                                                                                 5,000.00

03/28      Loan Principal Payment                                                                                      624.97

03/31      Loan Principal Payment                                                                             471,377.73

03/31      Loan Principal Payment                                                                               49,188.52

03/31      Loan Principal Payment                                                                                 2,904.91

03/31      Loan Principal Payment                                                                                 1,062.00

Total                                                                                                   $12,617,538.37




Daily Balance


                                              Ledger                                                                   Ledger
Date                                         Balance       Date                                                    Balance

03/03                                       $4,546.72      03/18                                                $4,102.12
03/04                                       $7,289.88      03/19                                                $3,219.78
03/05                                           $0.00      03/20                                                        $0.00
03/06                                       $5,000.00      03/21                                                $4,349.96
03/07                                           $0.00      03/24                                                $4,449.03
03/10                                      $14,173.49      03/25                                                $1,737.91
03/11                                       $1,975.80      03/26                                                        $0.00
03/12                                       $4,791.01      03/27                                              $11,088.84
03/13                                           $0.00      03/28                                                $2,904.91
03/14                                       $5,725.01      03/31                                              $58,437.74
03/17                                       $2,319.77




          Your service charges, fees and earnings credit have been calculated through account analysis.




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        JPMorgan Chase Bank, N.A.
                                                                                       Account Number:                      3396
        P O Box 182051
        Columbus, OH 43218 - 2051
                                                                                         Customer Service Information

                                                                                    If you have any questions about your
                                                                                    statement, please contact your
                                                                                    Customer Service Professional.
       00083168 WBS 802 211 09125 NNNNNNNNNNN   1 000000000 C1 0000


       ALLIANCE GAME DISTRIBUTORS
       OPERATING ACCOUNT
       10150 YORK RD
       HUNT VALLEY MD 21030-3340




Commercial Checking

Summary
                                                                      Number                 Market Value/Amount                      Shares


Opening Ledger Balance                                                                           $119,687.41


Deposits and Credits                                                     37                   $12,716,321.71


Withdrawals and Debits                                                   63                   $12,805,947.21


Checks Paid                                                               0                              $0.00


Ending Ledger Balance                                                                              $30,061.91


Deposits and Credits

Ledger              Description                                                                                                    Amount
Date

03/03              Remote Online Deposit            3396                                                                          $5,796.74

03/03              Abr Special - A Increase                                                                                       20,000.00

03/05              Remote Online Deposit            3396                                                                          51,360.00

03/05              Abr Special - A Increase                                                                                      540,000.00

03/06              Remote Online Deposit            3396                                                                            100.00

03/06              Abr Special - A Increase                                                                                      500,000.00

03/07              Remote Online Deposit            3396                                                                           3,312.29

03/07              Abr Special - A Increase                                                                                      520,000.00

03/10              Remote Online Deposit            3396                                                                            358.00

03/10              Abr Special - A Increase                                                                                      350,000.00

03/11              Remote Online Deposit            3396                                                                           1,690.38

03/11              Abr Special - A Increase                                                                                      275,000.00

03/12              Remote Online Deposit            3396                                                                              39.00

03/12              Abr Special - A Increase                                                                                      505,000.00

03/13              Abr Special - A Increase                                                                                       55,000.00

03/14              Remote Online Deposit            3396                                                                           3,837.26

03/14              Abr Special - A Increase                                                                                      545,000.00

03/17              Remote Online Deposit            3396                                                                           6,441.61

* Annual Percentage Yield Earned - the percentage rate earned if balances remain on deposit for a full year with compounding, no

change in the interest rate and all interest rate and all interest is left in the account.



Please examine this statement of account at once. By continuing to use the account, you agree that: (1) the account is subject to

the Bank's deposit account agreement, and (2) the Bank has no responsibility for any error in or improper charge to the account

(including any unauthorized or altered check) unless you notify us in writing of this error or charge within sixty days of the mailing or

availability of the first statement on which the error or charge appears.
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                                                                              Account Number:                    3396




Deposits and Credits     (continued)

Ledger     Description                                                                                                 Amount
Date

03/17      Abr Special - A Increase                                                                           2,990,000.00

03/18      Abr Special - A Increase                                                                             350,000.00

03/19      Remote Online Deposit          3396                                                                           59.88

03/19      Abr Special - A Increase                                                                             450,000.00

03/19      JPMorgan Access Transfer From Account000000381775979                                                   75,000.00
           YOUR REF: 1005559078SB

03/20      Book Transfer Credit B/O: Diamond Comic Distributors, Inc Hunt Valley MD                               22,000.00
           21030-3340 US Trn: 6640500079Jo
           YOUR REF: ATS OF 25/03/20

03/20      Remote Online Deposit          3396                                                                         3,156.97

03/20      Abr Special - A Increase                                                                             310,000.00

03/21      Remote Online Deposit          3396                                                                         4,654.26

03/21      Abr Special - A Increase                                                                             775,000.00

03/24      Remote Online Deposit          3396                                                                         1,165.56

03/24      Abr Special - A Increase                                                                             115,000.00

03/25      Remote Online Deposit          3396                                                                          552.30

03/26      Abr Special - A Increase                                                                           2,620,000.00

03/27      Remote Online Deposit          3396                                                                         1,697.46

03/27      Abr Special - A Increase                                                                             325,000.00

03/28      Abr Special - A Increase                                                                             565,000.00

03/31      Remote Online Deposit          3396                                                                          100.00

03/31      Abr Special - A Increase                                                                             725,000.00

Total                                                                                                     $12,716,321.71



Withdrawals and Debits

Ledger     Description                                                                                                 Amount
Date

03/03      Orig CO Name:Paysimple Billin         Orig ID:5330903620 Desc Date:250301                                    $95.35
           CO Entry Descr:ACH         Sec:CCD     Trace#:091000013747516 Eed:250303
           Ind ID:800-466-0992             Ind Name:Alliance Game Distri Trn:
           0623747516Tc

03/03      Book Transfer Debit A/C: JPMorgan Chase Bank NA Elgin IL             7836 US                           10,000.00
           Ref: Acct                   8938/Bnf/Acct                8938 Trn:
           9873500062Jo
           YOUR REF: NONREF

03/03      Book Transfer Debit A/C: UPS Supply Chain Solutions Inc Coppell TX                                     95,874.12
                 3019 US Ref: Inv E74446065A 23A27A065A 46082X261E5F 0166Aw
           5832Vx 8226Xw Trn: 9873300062Jo
           YOUR REF: NONREF

03/03      Orig CO Name:Alliance Game Di          Orig ID:9233396001 Desc Date:Prfund                             24,119.96
           CO Entry Descr:Corp Pay Sec:CCD         Trace#:021000029236734 Eed:250303
           Ind ID:9233396001               Ind Name:EFT File Name: Rp06260         ACH
           Origin#:9090209001 CO Eff: 25/ 03/03                               250303
           Rp06260C Trn: 0629236734Tc

03/05      Book Transfer Debit A/C: ADP Client Trust Wilmington DE 19801- US Ref: Rbi                           285,899.75
           - ADP554Wj-A/Bnf/Rbi - ADP554Wj-A Trn: 8152600064Jo
           YOUR REF: NONREF

03/05      Orig CO Name:Alliance Game Di          Orig ID:9233396001 Desc Date:Prfund                           256,822.26
           CO Entry Descr:Corp Pay Sec:CCD         Trace#:021000025781271 Eed:250305
           Ind ID:9233396001               Ind Name:EFT File Name: Rp06460         ACH
           Origin#:9090209001 CO Eff: 25/ 03/05                               250305
           Rp06460O Trn: 0645781271Tc

03/06      Fedwire Debit Via: Key Gr Lakes               1039 A/C: National                                     373,573.57
           Entertainment US Imad: 0306Mmqfmp2L030715 Trn: 7818600065Jo
           YOUR REF: NONREF


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Withdrawals and Debits       (continued)

Ledger     Description                                                                                                Amount
Date

03/06      Book Transfer Debit A/C: ADP Client Trust San Dimas CA 91773- US Ref: Rbi                           102,123.41
           - ADP554Wj-A/Bnf/Rbi - ADP554Wj-A Trn: 7819900065Jo
           YOUR REF: NONREF

03/06      Book Transfer Debit A/C: ADP Client Trust Wilmington DE 19801- US Ref: Rbi                                 2,145.65
           - ADP554Wj-A/Bnf/Rbi - ADP554Wj-A Trn: 7820000065Jo
           YOUR REF: NONREF

03/06      Orig CO Name:Alliance Game Di        Orig ID:9233396001 Desc Date:Prfund                              57,444.37
           CO Entry Descr:Corp Pay Sec:CCD         Trace#:021000028675553 Eed:250306
           Ind ID:9233396001               Ind Name:EFT File Name: Rp0654X        ACH
           Origin#:9090209001 CO Eff: 25/ 03/06                              250306
           Rp0654Xv Trn: 0658675553Tc

03/06      Orig CO Name:Alliance Game Di        Orig ID:9233396001 Desc Date:Prfund                              19,293.27
           CO Entry Descr:Corp Pay Sec:CCD         Trace#:021000028675550 Eed:250306
           Ind ID:9233396001               Ind Name:EFT File Name: Rp0655V        ACH
           Origin#:9090209001 CO Eff: 25/ 03/06                              250306
           Rp0655Vp Trn: 0658675550Tc

03/07      Book Transfer Debit A/C: JPMorgan Chase Bank NA Elgin IL 60124-7836 US                                20,000.00
           Ref:/Bnf/Acct                   8938 Trn: 3177100066Jo
           YOUR REF: NONREF

03/07      Fedwire Debit Via: Bk Amer Nyc/         9593 A/C: Hasbro, Inc US Imad:                              333,294.75
           0307Mmqfmp2K029439 Trn: 6689700066Jo
           YOUR REF: NONREF

03/07      Fedwire Debit Via: US Bank CO Denver/          0021 A/C: Dire Wolf Digital,                           91,589.33
           LLC US Imad: 0307Mmqfmp2M029538 Trn: 6688000066Jo
           YOUR REF: NONREF

03/07      Fedwire Debit Via: Hunt Col/       0024 A/C: Flex-Pac, Inc US Ref: E188550,                           29,531.81
           E187896, E188584 Imad: 0307Mmqfmp2N030233 Trn: 6688700066Jo
           YOUR REF: NONREF

03/07      Fedwire Debit Via: Wells Fargo NA/        0248 A/C: Xpo Logistics Freight, Inc                        30,654.14
           US Ref:/Time/15:26 Imad: 0307Mmqfmp2L030256 Trn: 6688600066Jo
           YOUR REF: NONREF

03/07      Chips Debit Via: Barclays Bank Plc/0257 A/C: Barclays Bank Plc London                                      8,148.00
           United Kingdom Ec3 Nhj Gb Ben: Steamforged Games Ltd Salford/M50 2Ue
           Gb Ssn: 00571393 Trn: 6688500066Jo
           YOUR REF: NONREF

03/07      Chips Debit Via: Bank of America, N.A./0959 A/C: Toronto-Dominion Bank,                                    5,580.30
           The Toronto Canada M5K 1A2 CA Ben: Terricorp Inc O/A Tlc Global Montreal
           Quebec H4S 1C1 CA Ref: Inv 38417 Ssn: 00571385 Trn: 6688800066Jo
           YOUR REF: NONREF

03/10      Fedwire Debit Via: Desjardins Bank NA         0060 A/C: Marquis Impimeur Inc                          18,372.11
           US Ref: Inv L292351 Imad: 0310Mmqfmp2K029797 Trn: 6687900066Jo
           YOUR REF: NONREF

03/10      Book Transfer Debit A/C: UPS Supply Chain Solutions Inc Coppell TX                                    79,336.58
           75019-3019 US Trn: 7738500069Jo
           YOUR REF: NONREF

03/10      Book Transfer Debit A/C: Mufg Bank, Ltd. Tokyo Japan 100 8-388 Jp Trn:                                56,649.48
           7741700069Jo
           YOUR REF: NONREF

03/10      Book Transfer Debit A/C: Nykredit Bank As 1780 Kobenhavn V Denmark Dk                               203,015.65
           Ref: Inv 021425 Trn: 7738100069Jo
           YOUR REF: NONREF

03/11      Fedwire Debit Via: Bk Amer Nyc          9593 A/C: Hasbro, Inc US Imad:                              278,302.80
           0311Mmqfmp2M030897 Trn: 7329500070Jo
           YOUR REF: NONREF




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Withdrawals and Debits       (continued)

Ledger     Description                                                                                                Amount
Date

03/12      Orig CO Name:Alliance Game Di        Orig ID:9233396001 Desc Date:Prfund                            501,105.80
           CO Entry Descr:Corp Pay Sec:CCD         Trace#:021000022801240 Eed:250312
           Ind ID:9233396001               Ind Name:EFT File Name: Rp0713X        ACH
           Origin#:9090209001 CO Eff: 25/ 03/12                              250312
           Rp0713X7 Trn: 0712801240Tc

03/13      Orig CO Name:Alliance Game Di        Orig ID:9233396001 Desc Date:Prfund                                   4,080.92
           CO Entry Descr:Corp Pay Sec:CCD         Trace#:021000024847406 Eed:250313
           Ind ID:9233396001               Ind Name:EFT File Name: Rp07265        ACH
           Origin#:9090209001 CO Eff: 25/ 03/13                              250313
           Rp07265W Trn: 0724847406Tc

03/14      Book Transfer Debit A/C: The Pokemon Company International Bellevue WA                              602,022.50
           98004- US Trn: 9563900073Jo
           YOUR REF: NONREF

03/17      Fedwire Debit Via: Bk Amer Nyc          9593 A/C: Hasbro, Inc US Imad:                            2,978,928.63
           0317Mmqfmp2M032563 Trn: 7663800076Jo
           YOUR REF: NONREF

03/17      Account Analysis Settlement Charge                                                                         1,971.82

03/19      Book Transfer Debit A/C: ADP Client Trust Wilmington DE 19801- US Ref: Rbi                          229,261.50
           - ADP554Wj-A/Bnf/Rbi - ADP554Wj-A Trn: 7400900078Jo
           YOUR REF: NONREF

03/20      Book Transfer Debit A/C: The Pokemon Company International Bellevue WA                              680,400.00
           98004- US Ref:/Bnf/Pui 10-10125-102 Trn: 7951700077Jo
           YOUR REF: NONREF

03/20      Fedwire Debit Via: First Horizon Bank       0026 A/C: At Distribution LLC US                          15,466.43
           Ref: Inv 5011854/Time/16:46 Imad: 0320Mmqfmp2K031977 Trn:
           9048800079Jo
           YOUR REF: NONREF

03/20      Book Transfer Debit A/C: UPS Supply Chain Solutions Inc Coppell TX                                    78,516.48
           75019-3019 US Trn: 9048400079Jo
           YOUR REF: NONREF

03/20      Fedwire Debit Via: Wells Fargo NA/        0248 A/C: Xpo Logistics Freight, Inc                        20,658.69
           US Ref:/Time/16:46 Imad: 0320Mmqfmp2K031980 Trn: 9048900079Jo
           YOUR REF: NONREF

03/20      Book Transfer Debit A/C: Draco Gaming Inc Miami FL 33131-2976 US Ref:                                      4,809.95
           Feb 2025 Trn: 9048200079Jo
           YOUR REF: NONREF

03/20      Book Transfer Debit A/C: Santander Bank Polska Sa Warszawa Poland                                          2,089.80
           00-85-4 Pl Ref: Feb 2025 Trn: 9048700079Jo
           YOUR REF: NONREF

03/20      Book Transfer Debit A/C: Royal Bank of Canada Payment Centertoronto On                                     2,651.60
           Canada M5V2Y-1 CA Ref: Feb 2025 Trn: 9048600079Jo
           YOUR REF: NONREF

03/20      Fedwire Debit Via: US Bank Minnesota/         0022 A/C: C.H. Robinson                                      2,747.09
           Receivables, LLC US
           Ref:/Bnf/6215515857,62156847756215655436,621556980/Time/16:47 Imad:
           0320Mmqfmp2L033179 Trn: 9052800079Jo
           YOUR REF: NONREF

03/20      Orig CO Name:Alliance Game Di        Orig ID:9233396001 Desc Date:Prfund                              85,007.56
           CO Entry Descr:Corp Pay Sec:CCD         Trace#:021000025998065 Eed:250320
           Ind ID:9233396001               Ind Name:EFT File Name: Rp0795N         ACH
           Origin#:9090209001 CO Eff: 25/ 03/20                              250320
           Rp0795Nn Trn: 0795998065Tc

03/21      Book Transfer Debit A/C: The Pokemon Company International Bellevue WA                                87,015.00
           98004- US Ref:/Bnf/100-10361,290-85617 Trn: 8045400080Jo
           YOUR REF: NONREF




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                                                                             Account Number:                    3396




Withdrawals and Debits      (continued)

Ledger     Description                                                                                                Amount
Date

03/21      Fedwire Debit Via: Key Gr Lakes Cleve/       1039 A/C: National                                     596,193.82
           Entertainment US Ref: Inv 25020012061 11985 12062 11986 25020011986
           87 93 89 93 378 063 0642 5020011994 95 Imad: 0321Mmqfmp2K034054 Trn:
           8043900080Jo
           YOUR REF: NONREF

03/21      Book Transfer Debit A/C: ADP Client Trust San Dimas CA 91773- US Ref: Rbi                             81,247.20
           - ADP554Wj-A/Bnf/Rbi - ADP554Wj-A Trn: 8331000080Jo
           YOUR REF: NONREF

03/21      Book Transfer Debit A/C: ADP Client Trust Wilmington DE 19801- US Ref:                                     2,193.56
           Rbi-ADP554Wj-A/Bnf/Rbi - ADP554Wj-A Trn: 8329400080Jo
           YOUR REF: NONREF

03/21      Orig CO Name:Alliance Game Di        Orig ID:9233396001 Desc Date:Prfund                              88,176.89
           CO Entry Descr:Corp Pay Sec:CCD       Trace#:021000028642412 Eed:250321
           Ind ID:9233396001               Ind Name:EFT File Name: Rp0804M         ACH
           Origin#:9090209001 CO Eff: 25/ 03/21                              250321
           Rp0804Mr Trn: 0808642412Tc

03/21      Orig CO Name:Alliance Game Di        Orig ID:9233396001 Desc Date:Prfund                              15,867.90
           CO Entry Descr:Corp Pay Sec:CCD       Trace#:021000028642415 Eed:250321
           Ind ID:9233396001               Ind Name:EFT File Name: Rp0804M         ACH
           Origin#:9090209001 CO Eff: 25/ 03/21                              250321
           Rp0804MS Trn: 0808642415Tc

03/24      Orig CO Name:Alliance Game Di        Orig ID:9233396001 Desc Date:Prfund                            111,294.91
           CO Entry Descr:Corp Pay Sec:CCD       Trace#:021000023573281 Eed:250324
           Ind ID:9233396001               Ind Name:EFT File Name: Rp08332        ACH
           Origin#:9090209001 CO Eff: 25/ 03/24                              250324
           Rp08332U Trn: 0833573281Tc

03/25      Orig CO Name:Paysimple Billin       Orig ID:5330903620 Desc Date:250324                                    2,840.48
           CO Entry Descr:ACH      Sec:CCD      Trace#:091000013525781 Eed:250325
           Ind ID:800-466-0992             Ind Name:Alliance Game Distri Trn:
           0843525781Tc

03/26      Chips Debit Via: The Bank of New York Mellon/0001 A/C: Op Corporate Bank                                   4,944.90
           Plc Helsinki Finland 00510- Fi Ben: Snowdale Design Oy Fi Ssn: 00178583
           Trn: 8044200080Jo
           YOUR REF: NONREF

03/26      Book Transfer Debit A/C: Mufg Bank, Ltd. Tokyo Japan 100 8-388 Jp Ref:                            2,607,379.20
           Agd 0281 Trn: 7768900085Jo
           YOUR REF: NONREF

03/26      Orig CO Name:Alliance Game Di        Orig ID:9233396001 Desc Date:Prfund                              26,273.14
           CO Entry Descr:Corp Pay Sec:CCD       Trace#:021000021555180 Eed:250326
           Ind ID:9233396001               Ind Name:EFT File Name: Rp0854W         ACH
           Origin#:9090209001 CO Eff: 25/ 03/26                              250326
           Rp0854Ww Trn: 0851555180Tc

03/27      Fedwire Debit Via: Key Gr Lakes Cleve/       1039 A/C: National                                     165,591.90
           Entertainment US Ref: Un40Sin25030014599 Un40Sin25030014598 Imad:
           0327Mmqfmp2M034869 Trn: 9334700086Jo
           YOUR REF: NONREF

03/27      Orig CO Name:Alliance Game Di        Orig ID:9233396001 Desc Date:Prfund                            155,398.41
           CO Entry Descr:Corp Pay Sec:CCD       Trace#:021000025081014 Eed:250327
           Ind ID:9233396001               Ind Name:EFT File Name: Rp08661        ACH
           Origin#:9090209001 CO Eff: 25/ 03/27                              250327
           Rp086619 Trn: 0865081014Tc

03/28      Book Transfer Debit A/C: Nykredit Bank As 1780 Kobenhavn V Denmark Dk                               234,808.77
           Ref: Feb 2025 Trn: 9246800087Jo
           YOUR REF: NONREF

03/28      Fedwire Debit Via: Cibc Bank USA/        6486 A/C: Flat River Group LLC US                            67,601.66
           Imad: 0328Mmqfmp2K038078 Trn: 9246700087Jo
           YOUR REF: NONREF




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                                                                              Account Number:                    3396




Withdrawals and Debits       (continued)

Ledger     Description                                                                                                 Amount
Date

03/28      Fedwire Debit Via: Key Gr Lakes Cleve         1039 A/C: National                                       65,828.36
           Entertainment US Imad: 0328Mmqfmp2M038085 Trn: 9247700087Jo
           YOUR REF: NONREF

03/28      Fedwire Debit Via: Wells Fargo NA/        0248 A/C: Xpo Logistics Freight, Inc                         15,749.28
           US Ref:/Time/16:45 Imad: 0328Mmqfmp2N038798 Trn: 9247100087Jo
           YOUR REF: NONREF

03/28      Chips Debit Via: Barclays Bank Plc/0257 A/C: Barclays Bank Plc London                                       7,409.52
           United Kingdom Ec3 Nhj Gb Ben: Steamforged Games Ltd Salford/M50 2Ue
           Gb Ref:/Bnf/000082942,0000084376 Ssn: 00640761 Trn: 9246900087Jo
           YOUR REF: NONREF

03/28      Fedwire Debit Via: Key Gr Lakes Cleve         1039 A/C: Rcm&D, Inc US Ref:                             73,280.39
           Inv 136042 Imad: 0328Mmqfmp2M038155 Trn: 9247400087Jo
           YOUR REF: NONREF

03/28      Orig CO Name:Alliance Game Di         Orig ID:9233396001 Desc Date:Prfund                            100,769.58
           CO Entry Descr:Corp Pay Sec:CCD         Trace#:021000026323450 Eed:250328
           Ind ID:9233396001               Ind Name:EFT File Name: Rp08757         ACH
           Origin#:9090209001 CO Eff: 25/ 03/28                               250328
           Rp08757N Trn: 0876323450Tc

03/31      Book Transfer Debit A/C: Konami Digital Entertainment, Inc. Hawthorne CA                             190,338.41
           90250- US Ref: Inv 91621252-91621255, Cm16-2333 Trn: 0066400090Vb
           YOUR REF: NONREF

03/31      Fedwire Debit Via: Hsbc USA          1088 A/C: Ravensburger North America                            142,950.00
           Inc US Imad: 0331Mmqfmp2L078033 Trn: 0066500090Vb
           YOUR REF: NONREF

03/31      Fedwire Debit Via: Key Gr Lakes Cleve/        1039 A/C: National                                     103,697.48
           Entertainment US Ref:/Bnf/Un40-Sin-25030015903 Imad:
           0331Mmqfmp2L078029 Trn: 0068000090Vb
           YOUR REF: NONREF

03/31      Book Transfer Debit A/C: UPS Supply Chain Solutions Inc Coppell TX                                   100,144.47
           75019-3019 US Ref: E74446 23A27A 46082X 261E5F 0166Aw 5832Vx
           8226Xw Trn: 0066600090Vb
           YOUR REF: NONREF

03/31      Orig CO Name:Alliance Game Di         Orig ID:9233396001 Desc Date:Prfund                            167,366.55
           CO Entry Descr:Corp Pay Sec:CCD         Trace#:021000027136367 Eed:250331
           Ind ID:9233396001               Ind Name:EFT File Name: Rp09030         ACH
           Origin#:9090209001 CO Eff: 25/ 03/31                               250331
           Rp09030H Trn: 0907136367Tc

Total                                                                                                     $12,805,947.21




Daily Balance


                                              Ledger                                                                    Ledger
Date                                         Balance        Date                                                       Balance

03/03                                      $15,394.72       03/18                                              $372,646.36
03/05                                      $64,032.71       03/19                                              $668,444.74
03/06                                       $9,552.44       03/20                                              $111,254.11
03/07                                      $14,066.40       03/21                                               $20,214.00
03/10                                       $7,050.58       03/24                                               $25,084.65
03/11                                       $5,438.16       03/25                                               $22,796.47
03/12                                       $9,371.36       03/26                                                 $4,199.23
03/13                                      $60,290.44       03/27                                                 $9,906.38
03/14                                       $7,105.20       03/28                                                 $9,458.82
03/17                                      $22,646.36       03/31                                               $30,061.91




          Your service charges, fees and earnings credit have been calculated through account analysis.



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                                                                                         March 01, 2025 through March 31, 2025
        JPMorgan Chase Bank, N.A.
                                                                                       Account Number:                      0871
        P O Box 182051
        Columbus, OH 43218 - 2051
                                                                                         Customer Service Information

                                                                                    If you have any questions about your
                                                                                    statement, please contact your
                                                                                    Customer Service Professional.
       00078133 WBS 802 211 09125 NNNNNNNNNNN   1 000000000 80 0000


       DIAMOND COMIC DISTRIBUTORS, INC.
       COLLECTIBLE GRADING AUTHORITY
       CONTROLLED DISBURSEMENTS
       10150 YORK RD
       HUNT VALLEY MD 21030-3340




Commercial Checking

Summary
                                                                      Number                 Market Value/Amount                     Shares


Opening Ledger Balance                                                                                   $0.00


Deposits and Credits                                                     13                        $28,420.60


Withdrawals and Debits                                                    0                              $0.00


Checks Paid                                                              20                        $28,420.60


Ending Ledger Balance                                                                                    $0.00


Deposits and Credits

Ledger              Description                                                                                                   Amount

Date


03/04              Abr Special - A Increase                                                                                      $3,937.73

03/06              Abr Special - A Increase                                                                                       1,733.33

03/10              Abr Special - A Increase                                                                                        875.41

03/12              Abr Special - A Increase                                                                                       1,310.75

03/13              Abr Special - A Increase                                                                                       6,950.00

03/14              Abr Special - A Increase                                                                                        462.16

03/17              Abr Special - A Increase                                                                                        833.77

03/19              Abr Special - A Increase                                                                                        625.00

03/20              Abr Special - A Increase                                                                                        692.88

03/24              Abr Special - A Increase                                                                                        487.42

03/27              Abr Special - A Increase                                                                                        260.00

03/28              Abr Special - A Increase                                                                                         45.55

03/31              Abr Special - A Increase                                                                                      10,206.60

Total                                                                                                                        $28,420.60




* Annual Percentage Yield Earned - the percentage rate earned if balances remain on deposit for a full year with compounding, no

change in the interest rate and all interest rate and all interest is left in the account.



Please examine this statement of account at once. By continuing to use the account, you agree that: (1) the account is subject to

the Bank's deposit account agreement, and (2) the Bank has no responsibility for any error in or improper charge to the account

(including any unauthorized or altered check) unless you notify us in writing of this error or charge within sixty days of the mailing or

availability of the first statement on which the error or charge appears.
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                                                                                        March 01, 2025 through March 31, 2025
                                                                                    Account Number:                       0871




Checks Paid

         Check     Date Paid        Amount         Check    Date Paid         Amount           Check     Date Paid              Amount

         10499     03/04           $633.21         10511    03/12           $1,310.75           10520*    03/20                  $47.03
         10504*    03/06         $1,733.33         10512    03/14            $462.16            10521     03/19                 $625.00
         10506*    03/17           $260.39         10513    03/10             $59.57            10524*    03/31            $5,256.60
         10507     03/04            $45.55         10515*   03/20            $645.85            10527*    03/28                  $45.55
         10508     03/10           $815.84         10516    03/13           $4,950.00           10529*    03/27                 $260.00
         10509     03/04         $3,258.97         10517    03/17            $573.38            10535*    03/31            $4,950.00
         10510     03/13         $2,000.00         10518    03/24            $487.42


Total          20 check(s)                                                                                              $28,420.60
* indicates gap in sequence


Daily Balance


                                                     Ledger                                                                     Ledger

Date                                                Balance         Date                                                        Balance

03/04                                                  $0.00        03/19                                                         $0.00
03/06                                                  $0.00        03/20                                                         $0.00
03/10                                                  $0.00        03/24                                                         $0.00
03/12                                                  $0.00        03/27                                                         $0.00
03/13                                                  $0.00        03/28                                                         $0.00
03/14                                                  $0.00        03/31                                                         $0.00
03/17                                                  $0.00




                  Your service charges, fees and earnings credit have been calculated through account analysis.




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                                                                                   March 01, 2025 through March 31, 2025
                                                                                 Account Number:                         0871




       Diamond Comic Distributors, Inc.
       Collectible Grading Authority
       Controlled Disbursements




Stop Payment Renewal Notice


Account Number                  0871                                                                 Bank Number:         802




The following Stop Payments will automatically renew for a 1-year period. You can revoke a current stop payment via your
online channel (Chase.com or JPM ACCESS) or by calling the number on your statement or contacting your Customer
Service Representative.



Revoke            Sequence             Date          Renewal                  Low Range or                         High Range

Stop              Number               Entered       Date                    Check Number                            or Amount

                  0000005              06/25/2024    06/25/2025                       10196                          $1,275.00
                  0000006              06/25/2024    06/25/2025                       10347                          $1,200.00




Diamond Comic Distributors, Inc.                                                       JPMorgan Chase Bank, N.A.
Collectible Grading Authority                                                          P O Box 182051
Controlled Disbursements                                                               Columbus    OH 43218-2051
10150 York Rd
Hunt Valley MD 21030-3340




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                                                                                         March 01, 2025 through March 31, 2025
        JPMorgan Chase Bank, N.A.
                                                                                       Account Number:                      0020
        P O Box 182051
        Columbus, OH 43218 - 2051
                                                                                         Customer Service Information

                                                                                    If you have any questions about your
                                                                                    statement, please contact your
                                                                                    Customer Service Professional.
       00091485 WBS 802 211 09125 NNNNNNNNNNN   1 000000000 C1 0000


       DIAMOND COMIC DISTRIBUTORS, INC
       COLLECTIBLE GRADING AUTHORITY
       OPERATING ACCOUNT
       10150 YORK RD
       HUNT VALLEY MD 21030-3340




Commercial Checking

Summary
                                                                      Number                 Market Value/Amount                     Shares


Opening Ledger Balance                                                                             $13,000.03


Deposits and Credits                                                     72                      $191,938.19


Withdrawals and Debits                                                    8                      $157,942.09


Checks Paid                                                               0                              $0.00


Ending Ledger Balance                                                                              $46,996.13


Deposits and Credits

Ledger              Description                                                                                                   Amount
Date

03/03              Orig CO Name:Paypal                 Orig ID:Paypalsd11 Desc Date:250303 CO                                    $9,071.49
                   Entry Descr:Transfer Sec:PPD         Trace#:021000021996012 Eed:250303          Ind
                   ID:1040645219295                Ind Name:Diamond Comic Distribu
                   250303Ppzlte Trn: 0621996012Tc

03/03              Orig CO Name:Paymentech                 Orig ID:1020401225 Desc Date:250303                                    2,598.43
                   CO Entry Descr:Deposit       Sec:CCD     Trace#:021000020717161 Eed:250303
                   Ind ID:6795721                  Ind Name:Collectible Grading Au Trn:
                   0620717161Tc

03/03              Orig CO Name:Paymentech                 Orig ID:1020401225 Desc Date:250303                                    1,523.69
                   CO Entry Descr:Deposit       Sec:CCD     Trace#:021000020717159 Eed:250303
                   Ind ID:6795721                  Ind Name:Collectible Grading Au Trn:
                   0620717159Tc

03/03              Orig CO Name:Square Inc               Orig ID:5800429876 Desc Date:250303                                       479.15
                   CO Entry Descr:Sq250303 Sec:CCD            Trace#:091000012677279
                   Eed:250303       Ind ID:T3Hb8Vgcn38Hnf5                 Ind Name:Diamond Comic
                   Distribu                                                             T2151017
                   Trn: 0622677279Tc




* Annual Percentage Yield Earned - the percentage rate earned if balances remain on deposit for a full year with compounding, no

change in the interest rate and all interest rate and all interest is left in the account.



Please examine this statement of account at once. By continuing to use the account, you agree that: (1) the account is subject to

the Bank's deposit account agreement, and (2) the Bank has no responsibility for any error in or improper charge to the account

(including any unauthorized or altered check) unless you notify us in writing of this error or charge within sixty days of the mailing or

availability of the first statement on which the error or charge appears.
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                                                                           Account Number:                     0020




Deposits and Credits     (continued)

Ledger     Description                                                                                               Amount
Date

03/03      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250301                                 149.43
           CO Entry Descr:Settlementsec:CCD       Trace#:091000012677281 Eed:250303
           Ind ID:1676663917               Ind Name:Collectible 1676663917
           Payment Date 25062 Trn: 0622677281Tc

03/03      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250228                                  58.02
           CO Entry Descr:Settlementsec:CCD       Trace#:091000012746580 Eed:250303
           Ind ID:1676663917               Ind Name:Collectible 1676663917
           Payment Date 25060 Trn: 0592746580Tc

03/04      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250304                                 3,071.73
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000027732331 Eed:250304
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0637732331Tc

03/04      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250303                                 145.05
           CO Entry Descr:Settlementsec:CCD       Trace#:091000019749465 Eed:250304
           Ind ID:1676663917               Ind Name:Collectible 1676663917
           Payment Date 25063 Trn: 0629749465Tc

03/05      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250305                                 4,128.94
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000026234429 Eed:250305
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0646234429Tc

03/05      Orig CO Name:Ebay Comga9C4Aow             Orig ID:1618206000 Desc                                          765.29
           Date:250305 CO Entry Descr:Payments       Sec:CCD
           Trace#:021000025334290 Eed:250305        Ind ID:B3Uxapltwsgck68           Ind
           Name:Diamond Comic Distribu       Nte*Zzz*P6783668868\ Trn: 0635334290Tc

03/05      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250304                                 392.98
           CO Entry Descr:Settlementsec:CCD       Trace#:091000015334288 Eed:250305
           Ind ID:1676663917               Ind Name:Collectible 1676663917
           Payment Date 25064 Trn: 0635334288Tc

03/06      Orig CO Name:Paypal              Orig ID:Paypalsd11 Desc Date:250306 CO                                   9,025.13
           Entry Descr:Transfer Sec:PPD      Trace#:021000025007857 Eed:250306        Ind
           ID:1040708693785              Ind Name:Diamond Comic Distribu
           250306Ppze08 Trn: 0655007857Tc

03/06      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250306                                 2,405.82
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000026355655 Eed:250306
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0656355655Tc

03/06      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250305                                 555.45
           CO Entry Descr:Settlementsec:CCD       Trace#:091000014835726 Eed:250306
           Ind ID:1676663917               Ind Name:Collectible 1676663917
           Payment Date 25065 Trn: 0644835726Tc

03/07      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250307                                 1,853.98
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000028734177 Eed:250307
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0668734177Tc

03/07      Orig CO Name:Amazon.Cfhwgtnrd           Orig ID:3215240102 Desc                                            632.48
           Date:250307 CO Entry Descr:Payments       Sec:CCD
           Trace#:021000028679586 Eed:250307        Ind ID:1Zu7Ksbr602P0G9
           Ind Name:Diamond Comic Distribu Trn: 0668679586Tc

03/10      Orig CO Name:Paypal              Orig ID:Paypalsd11 Desc Date:250310 CO                                   7,437.78
           Entry Descr:Transfer Sec:PPD      Trace#:021000024015986 Eed:250310        Ind
           ID:1040793503773              Ind Name:Diamond Comic Distribu
           250310Ppz0A3 Trn: 0694015986Tc

03/10      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250310                                 3,587.77
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000028461882 Eed:250310
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0698461882Tc




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                                                                             Account Number:                    0020




Deposits and Credits     (continued)

Ledger     Description                                                                                                Amount
Date

03/10      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250310                                   573.12
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000028461880 Eed:250310
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0698461880Tc

03/10      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250308                                  434.39
           CO Entry Descr:Settlementsec:CCD       Trace#:091000010337791 Eed:250310
           Ind ID:1676663917               Ind Name:Collectible 1676663917
           Payment Date 25069 Trn: 0690337791Tc

03/10      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250310                                   161.16
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000028461878 Eed:250310
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0698461878Tc

03/11      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250311                                  2,266.85
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000020999062 Eed:250311
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0700999062Tc

03/12      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250312                                  4,648.21
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000027346391 Eed:250312
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0717346391Tc

03/12      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250311                                  686.30
           CO Entry Descr:Settlementsec:CCD       Trace#:091000018494665 Eed:250312
           Ind ID:1676663917               Ind Name:Collectible 1676663917
           Payment Date 25071 Trn: 0708494665Tc

03/12      Orig CO Name:Ebay Comxi8Hclyv           Orig ID:1618206000 Desc                                             439.73
           Date:250312 CO Entry Descr:Payments       Sec:CCD
           Trace#:021000028494667 Eed:250312        Ind ID:Oru0Ygasvkiss67            Ind
           Name:Diamond Comic Distribu       Nte*Zzz*P6793638540\ Trn: 0708494667Tc

03/13      Orig CO Name:Paypal              Orig ID:Paypalsd11 Desc Date:250313 CO                                    9,894.20
           Entry Descr:Transfer Sec:PPD      Trace#:021000028419783 Eed:250313         Ind
           ID:1040856077444              Ind Name:Diamond Comic Distribu
           250313Ppzrsu Trn: 0728419783Tc

03/13      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250313                                   853.83
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000023575131 Eed:250313
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0723575131Tc

03/13      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250312                                   20.17
           CO Entry Descr:Settlementsec:CCD       Trace#:091000014903986 Eed:250313
           Ind ID:1676663917               Ind Name:Collectible 1676663917
           Payment Date 25072 Trn: 0724903986Tc

03/14      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250314                                  5,555.70
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000026578570 Eed:250314
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0736578570Tc

03/14      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250313                                  545.75
           CO Entry Descr:Settlementsec:CCD       Trace#:091000013552451 Eed:250314
           Ind ID:1676663917               Ind Name:Collectible 1676663917
           Payment Date 25073 Trn: 0723552451Tc

03/17      Orig CO Name:Paypal              Orig ID:Paypalsd11 Desc Date:250317 CO                                    9,263.53
           Entry Descr:Transfer Sec:PPD      Trace#:021000025340078 Eed:250317         Ind
           ID:1040941878016              Ind Name:Diamond Comic Distribu
           250317Ppzdey Trn: 0765340078Tc

03/17      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250317                                  2,718.39
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000027782674 Eed:250317
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0767782674Tc




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                                                                           Account Number:                      0020




Deposits and Credits     (continued)

Ledger     Description                                                                                                Amount
Date

03/17      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250314                                  419.27
           CO Entry Descr:Settlementsec:CCD       Trace#:091000019678016 Eed:250317
           Ind ID:1676663917               Ind Name:Collectible 1676663917
           Payment Date 25074 Trn: 0769678016Tc

03/17      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250315                                   84.59
           CO Entry Descr:Settlementsec:CCD       Trace#:091000019678020 Eed:250317
           Ind ID:1676663917               Ind Name:Collectible 1676663917
           Payment Date 25076 Trn: 0769678020Tc

03/17      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250317                                    84.42
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000027782672 Eed:250317
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0767782672Tc

03/17      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250316                                   41.77
           CO Entry Descr:Settlementsec:CCD       Trace#:091000019678018 Eed:250317
           Ind ID:1676663917               Ind Name:Collectible 1676663917
           Payment Date 25076 Trn: 0769678018Tc

03/18      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250318                                  2,430.15
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000025776916 Eed:250318
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0775776916Tc

03/19      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250319                                  2,020.89
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000022099704 Eed:250319
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0782099704Tc

03/19      Orig CO Name:Ebay Com6Km4Gr4Q             Orig ID:1618206000 Desc                                           353.52
           Date:250319 CO Entry Descr:Payments       Sec:CCD
           Trace#:021000022961189 Eed:250319        Ind ID:Z1Q3Xzsbqwp5O69
           Ind Name:Diamond Comic Distribu        Nte*Zzz*P6803675532\ Trn:
           0772961189Tc

03/19      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250318                                  170.43
           CO Entry Descr:Settlementsec:CCD       Trace#:091000012961187 Eed:250319
           Ind ID:1676663917               Ind Name:Collectible 1676663917
           Payment Date 25078 Trn: 0772961187Tc

03/20      Orig CO Name:Paypal              Orig ID:Paypalsd11 Desc Date:250320 CO                               12,423.49
           Entry Descr:Transfer Sec:PPD      Trace#:021000029517745 Eed:250320         Ind
           ID:1041004709090              Ind Name:Diamond Comic Distribu
           250320Ppz4Ps Trn: 0799517745Tc

03/20      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250320                                   307.09
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000028144794 Eed:250320
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0798144794Tc

03/20      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250319                                   16.61
           CO Entry Descr:Settlementsec:CCD       Trace#:091000017333418 Eed:250320
           Ind ID:1676663917               Ind Name:Collectible 1676663917
           Payment Date 25079 Trn: 0787333418Tc

03/21      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250320                                 1,455.78
           CO Entry Descr:Settlementsec:CCD       Trace#:091000013058331 Eed:250321
           Ind ID:1676663917               Ind Name:Collectible 1676663917
           Payment Date 25080 Trn: 0793058331Tc

03/21      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250321                                  1,405.36
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000025880359 Eed:250321
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0805880359Tc

03/21      Orig CO Name:Amazon.Cjaazg2Kf           Orig ID:3215240102 Desc                                             253.20
           Date:250321 CO Entry Descr:Payments       Sec:CCD
           Trace#:021000025808987 Eed:250321        Ind ID:4Lxxkr58Rb2397F
           Ind Name:Diamond Comic Distribu Trn: 0805808987Tc



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                                                                           Account Number:                      0020




Deposits and Credits     (continued)

Ledger     Description                                                                                                Amount
Date

03/24      Deposit   2122613476                                                                                       3,577.19

03/24      Deposit   2122613473                                                                                        398.00

03/24      Deposit   2122613474                                                                                        374.80

03/24      Orig CO Name:Paypal              Orig ID:Paypalsd11 Desc Date:250324 CO                               13,200.68
           Entry Descr:Transfer Sec:PPD      Trace#:021000026560345 Eed:250324         Ind
           ID:1041089749564              Ind Name:Diamond Comic Distribu
           250324Ppzqfk Trn: 0836560345Tc

03/24      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250324                                  3,814.88
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000021638226 Eed:250324
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0831638226Tc

03/24      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250321                                 1,745.34
           CO Entry Descr:Settlementsec:CCD       Trace#:091000014605116 Eed:250324
           Ind ID:1676663917               Ind Name:Collectible 1676663917
           Payment Date 25081 Trn: 0804605116Tc

03/24      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250323                                  250.02
           CO Entry Descr:Settlementsec:CCD       Trace#:091000013306515 Eed:250324
           Ind ID:1676663917               Ind Name:Collectible 1676663917
           Payment Date 25083 Trn: 0833306515Tc

03/24      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250324                                    56.08
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000021638224 Eed:250324
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0831638224Tc

03/24      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250322                                   31.37
           CO Entry Descr:Settlementsec:CCD       Trace#:091000013306517 Eed:250324
           Ind ID:1676663917               Ind Name:Collectible 1676663917
           Payment Date 25083 Trn: 0833306517Tc

03/25      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250325                                  2,565.72
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000021480900 Eed:250325
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0841480900Tc

03/26      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250326                                  4,732.89
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000026194272 Eed:250326
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0856194272Tc

03/26      Orig CO Name:Ebay Com1Axr6Jen            Orig ID:1618206000 Desc                                            859.05
           Date:250326 CO Entry Descr:Payments       Sec:CCD
           Trace#:021000027360817 Eed:250326        Ind ID:Qp0G9Qyrcyscd6F
           Ind Name:Diamond Comic Distribu        Nte*Zzz*P6813828348\ Trn:
           0847360817Tc

03/26      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250325                                  122.59
           CO Entry Descr:Settlementsec:CCD       Trace#:091000017360815 Eed:250326
           Ind ID:1676663917               Ind Name:Collectible 1676663917
           Payment Date 25085 Trn: 0847360815Tc

03/27      Orig CO Name:Paypal              Orig ID:Paypalsd11 Desc Date:250327 CO                               15,535.76
           Entry Descr:Transfer Sec:PPD      Trace#:021000026551611 Eed:250327         Ind
           ID:1041151999611              Ind Name:Diamond Comic Distribu
           250327Ppzgzi Trn: 0866551611Tc

03/27      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250327                                  1,143.42
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000029122370 Eed:250327
           Ind ID:6795721                Ind Name:Collectible Grading Au Trn:
           0869122370Tc

03/27      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250326                                  492.03
           CO Entry Descr:Settlementsec:CCD       Trace#:091000010442805 Eed:250327
           Ind ID:1676663917               Ind Name:Collectible 1676663917
           Payment Date 25086 Trn: 0860442805Tc




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Deposits and Credits      (continued)

Ledger     Description                                                                                                 Amount
Date

03/28      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250328                                  4,677.19
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000025466740 Eed:250328
           Ind ID:6795721                  Ind Name:Collectible Grading Au Trn:
           0875466740Tc

03/28      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250327                                 2,854.73
           CO Entry Descr:Settlementsec:CCD         Trace#:091000014283339 Eed:250328
           Ind ID:1676663917                Ind Name:Collectible 1676663917
           Payment Date 25087 Trn: 0864283339Tc

03/31      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250331                             14,984.92
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000021401912 Eed:250331
           Ind ID:6795721                  Ind Name:Collectible Grading Au Trn:
           0901401912Tc

03/31      Orig CO Name:Paypal                Orig ID:Paypalsd11 Desc Date:250331 CO                              10,907.98
           Entry Descr:Transfer Sec:PPD        Trace#:021000029215836 Eed:250331        Ind
           ID:1041238630085                Ind Name:Diamond Comic Distribu
           250331Ppz1I5 Trn: 0909215836Tc

03/31      Orig CO Name:Square Inc              Orig ID:5800429876 Desc Date:250331                                     828.07
           CO Entry Descr:Sq250331 Sec:PPD          Trace#:091000013379981
           Eed:250331     Ind ID:T360H26Wc3K4Aef              Ind Name:Diamond Comic
           Distribu                                                          T2154489
           Trn: 0903379981Tc

03/31      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250328                                  509.20
           CO Entry Descr:Settlementsec:CCD         Trace#:091000013379983 Eed:250331
           Ind ID:1676663917                Ind Name:Collectible 1676663917
           Payment Date 25088 Trn: 0903379983Tc

03/31      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250331                                   420.76
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000021401910 Eed:250331
           Ind ID:6795721                  Ind Name:Collectible Grading Au Trn:
           0901401910Tc

03/31      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250331                                   190.74
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000021401908 Eed:250331
           Ind ID:6795721                  Ind Name:Collectible Grading Au Trn:
           0901401908Tc

03/31      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250329                                  146.01
           CO Entry Descr:Settlementsec:CCD         Trace#:091000013379985 Eed:250331
           Ind ID:1676663917                Ind Name:Collectible 1676663917
           Payment Date 25090 Trn: 0903379985Tc

03/31      Orig CO Name:Square Inc              Orig ID:5800429876 Desc Date:250331                                     108.26
           CO Entry Descr:Sq250331 Sec:PPD          Trace#:091000013379980
           Eed:250331     Ind ID:T3Jyej2X02N044M             Ind Name:Diamond Comic
           Distribu                                                          T2154489
           Trn: 0903379980Tc

Total                                                                                                         $191,938.19



Withdrawals and Debits

Ledger     Description                                                                                                 Amount
Date

03/03      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250303                                  $863.31
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000023538969 Eed:250303
           Ind ID:6795721                  Ind Name:Collectible Grading Au Trn:
           0623538969Tc

03/04      Orig CO Name:Authnet Gateway            Orig ID:1870568569 Desc Date:        CO                               87.05
           Entry Descr:Billing   Sec:CCD     Trace#:104000010938551 Eed:250304        Ind
           ID:140397348                 Ind Name:Diamond Comic Distribu Trn:
           0620938551Tc




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Withdrawals and Debits       (continued)

Ledger     Description                                                                                               Amount
Date

03/06      Book Transfer Debit A/C: Diamond Comic Distributors, Inc. Hunt Valley MD                             40,000.00
           21030-3340 US Trn: 8499100065Jo
           YOUR REF: NONREF

03/17      Book Transfer Debit A/C: Diamond Comic Distributors, Inc. Hunt Valley MD                             50,000.00
           21030-3340 US Trn: 6888500076Jo
           YOUR REF: NONREF

03/19      Orig CO Name:Diamond Comic Di          Orig ID:9620020001 Desc Date:Prfund                                1,500.56
           CO Entry Descr:Cons Pay Sec:CCD         Trace#:021000028620963
           Eed:250319    Ind ID:9620020001              Ind Name:EFT File Name:
           Rp0784W       ACH Origin#:9090209001    CO Eff: 25/ 03/19
           250319 Rp0784Wu Trn: 0788620963Tc

03/20      Book Transfer Debit A/C: Alliance Game Distributors Hunt Valley MD                                   22,000.00
           21030-3340 US Trn: 6640500079Jo
           YOUR REF: NONREF

03/25      Orig CO Name:Gpc                 Orig ID:1580257110 Desc Date:       CO                                   3,645.00
           Entry Descr:Gpc EFT    Sec:PPD      Trace#:111000012010871 Eed:250325
           Ind ID:0733608092Dul              Ind Name:Diamond Comic Distri Trn:
           0832010871Tc

03/28      Orig CO Name:Diamond Comic Di          Orig ID:9620020001 Desc Date:Prfund                           39,846.17
           CO Entry Descr:Corp Pay Sec:CCD        Trace#:021000026433748 Eed:250328
           Ind ID:9620020001               Ind Name:EFT File Name: Rp0875B        ACH
           Origin#:9090209001 CO Eff: 25/ 03/28                             250328
           Rp0875B1 Trn: 0876433748Tc

Total                                                                                                        $157,942.09




Daily Balance


                                              Ledger                                                                  Ledger
Date                                         Balance       Date                                                      Balance

03/03                                      $26,016.93      03/18                                              $11,053.81
03/04                                      $29,146.66      03/19                                              $12,098.09
03/05                                      $34,433.87      03/20                                                $2,845.28
03/06                                       $6,420.27      03/21                                                $5,959.62
03/07                                       $8,906.73      03/24                                              $29,407.98
03/10                                      $21,100.95      03/25                                              $28,328.70
03/11                                      $23,367.80      03/26                                              $34,043.23
03/12                                      $29,142.04      03/27                                              $51,214.44
03/13                                      $39,910.24      03/28                                              $18,900.19
03/14                                      $46,011.69      03/31                                              $46,996.13
03/17                                       $8,623.66




          Your service charges, fees and earnings credit have been calculated through account analysis.




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        JPMorgan Chase Bank, N.A.
                                                                                       Account Number:                      6266
        P O Box 182051
        Columbus, OH 43218 - 2051
                                                                                         Customer Service Information

                                                                                    If you have any questions about your
                                                                                    statement, please contact your
                                                                                    Customer Service Professional.
       00083158 WBS 802 211 09125 NNNNNNNNNNN   1 000000000 80 0000


       DIAMOND COMIC DISTRIBUTORS, INC.
       CONTROLLED DISBURSEMENT ACCOUNT
       --
       10150 YORK RD
       HUNT VALLEY MD 21030-3340




Commercial Checking

Summary
                                                                      Number                 Market Value/Amount                     Shares


Opening Ledger Balance                                                                                   $0.00


Deposits and Credits                                                     21                      $714,748.07


Withdrawals and Debits                                                    0                              $0.00


List Posted Items                                                        57                      $124,146.25


Checks Paid                                                              69                      $590,601.82


Ending Ledger Balance                                                                                    $0.00


Deposits and Credits

Ledger              Description                                                                                                   Amount

Date


03/03              Abr Special - A Increase                                                                                      $1,651.55

03/04              Abr Special - A Increase                                                                                      73,814.79

03/05              Abr Special - A Increase                                                                                       2,822.42

03/06              Abr Special - A Increase                                                                                      53,388.03

03/07              Abr Special - A Increase                                                                                      63,448.39

03/10              Abr Special - A Increase                                                                                       4,869.44

03/11              Abr Special - A Increase                                                                                      31,351.49

03/12              Abr Special - A Increase                                                                                      26,631.27

03/13              Abr Special - A Increase                                                                                      85,906.01

03/14              Abr Special - A Increase                                                                                       3,700.00

03/17              Abr Special - A Increase                                                                                      36,035.88

03/18              Abr Special - A Increase                                                                                      44,327.88

03/19              Abr Special - A Increase                                                                                      35,392.66

03/20              Abr Special - A Increase                                                                                      47,449.48

03/21              Abr Special - A Increase                                                                                         56.05

03/24              Abr Special - A Increase                                                                                      17,540.35


* Annual Percentage Yield Earned - the percentage rate earned if balances remain on deposit for a full year with compounding, no

change in the interest rate and all interest rate and all interest is left in the account.



Please examine this statement of account at once. By continuing to use the account, you agree that: (1) the account is subject to

the Bank's deposit account agreement, and (2) the Bank has no responsibility for any error in or improper charge to the account

(including any unauthorized or altered check) unless you notify us in writing of this error or charge within sixty days of the mailing or

availability of the first statement on which the error or charge appears.
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                                                                                    Account Number:                    6266




Deposits and Credits               (continued)


Ledger              Description                                                                                              Amount

Date


03/25              Abr Special - A Increase                                                                           120,082.17

03/26              Abr Special - A Increase                                                                                   400.00

03/27              Abr Special - A Increase                                                                             28,570.13

03/28              Abr Special - A Increase                                                                                  2,317.77

03/31              Abr Special - A Increase                                                                             34,992.31

Total                                                                                                               $714,748.07



Withdrawals and Debits

Ledger              Description                                                                                              Amount

Date

03/10              List Posted Items Quantity              10                                                           $4,869.44

03/11              List Posted Items Quantity              12                                                           31,351.49

03/19              List Posted Items Quantity              10                                                           35,392.66

03/24              List Posted Items Quantity              15                                                           17,540.35

03/31              List Posted Items Quantity              10                                                           34,992.31

Total*                                                                                                                         $0.00
*This total excludes the List Posted Items amount set forth in the summary above.



Checks Paid

         Check     Date Paid         Amount      Check     Date Paid      Amount            Check     Date Paid              Amount

         141710    03/21             $28.11      141823    03/12          $310.95          141877      03/20                 $674.65
         141766*   03/05            $613.13      141826*   03/06       $51,360.00          141878      03/14            $3,700.00
         141768*   03/03             $25.55      141827    03/28          $317.37          141879      03/18            $3,354.00
         141779*   03/04          $68,057.90     141834*   03/13           $89.30          141884*     03/27            $3,294.96
         141781*   03/03             $55.88      141838*   03/12        $1,309.00          141886*     03/18            $2,130.00
         141783*   03/28            $225.70      141839    03/12          $143.38          141887      03/18                 $247.52
         141785*   03/07           $3,938.00     141844*   03/18        $3,552.00          141888      03/20          $44,681.83
         141796*   03/04            $256.89      141854*   03/12           $87.00          141889      03/27            $2,520.00
         141797    03/07          $48,843.10     141855    03/12        $3,326.40          141894*     03/18            $7,420.00
         141798    03/05            $924.00      141859*   03/17       $20,304.08          141900*     03/25            $6,074.48
         141799    03/05            $745.29      141860    03/17          $132.30          141903*     03/27            $5,388.07
         141802*   03/06             $56.45      141861    03/18       $27,557.91          141904      03/27            $1,042.07
         141803    03/04           $5,500.00     141865*   03/17       $12,305.91          141906*     03/27                 $131.03
         141804    03/03           $1,093.66     141866    03/13        $2,976.00          141907      03/25                  $27.99
         141806*   03/03            $476.46      141867    03/17        $2,832.57          141910*     03/28                 $256.01
         141807    03/06           $1,971.58     141868    03/17          $311.56          141916*     03/25          $16,950.00
         141812*   03/07          $10,667.29     141870*   03/21           $27.94          141918*     03/25            $7,693.52
         141813    03/05            $540.00      141871    03/18           $30.50          141921*     03/27            $9,339.64
         141817*   03/13          $78,442.97     141872    03/18           $35.95          141924*     03/25                 $192.80
         141819*   03/13             $42.98      141873    03/20        $2,093.00          141925      03/26                 $400.00
         141820    03/12          $19,779.11     141874    03/28           $97.41          141926      03/25          $89,143.38
         141821    03/13           $4,354.76     141875    03/17           $50.73          141932*     03/27            $6,854.36
         141822    03/12           $1,675.43     141876    03/17           $98.73          141950*     03/28            $1,421.28


Total          69 check(s)                                                                                         $590,601.82
* indicates gap in sequence




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                                                                           Account Number:                     6266




Daily Balance


                                             Ledger                                                                  Ledger

Date                                        Balance        Date                                                      Balance

03/03                                          $0.00       03/18                                                       $0.00
03/04                                          $0.00       03/19                                                       $0.00
03/05                                          $0.00       03/20                                                       $0.00
03/06                                          $0.00       03/21                                                       $0.00
03/07                                          $0.00       03/24                                                       $0.00
03/10                                          $0.00       03/25                                                       $0.00
03/11                                          $0.00       03/26                                                       $0.00
03/12                                          $0.00       03/27                                                       $0.00
03/13                                          $0.00       03/28                                                       $0.00
03/14                                          $0.00       03/31                                                       $0.00
03/17                                          $0.00




          Your service charges, fees and earnings credit have been calculated through account analysis.




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                                                                                   March 01, 2025 through March 31, 2025
                                                                                 Account Number:                         6266




       Diamond Comic Distributors, Inc.
       Controlled Disbursement Account
       --




Stop Payment Renewal Notice


Account Number                 6266                                                                  Bank Number:         802




The following Stop Payments will automatically renew for a 1-year period. You can revoke a current stop payment via your
online channel (Chase.com or JPM ACCESS) or by calling the number on your statement or contacting your Customer
Service Representative.



Revoke           Sequence          Date              Renewal                  Low Range or                         High Range

Stop             Number            Entered           Date                    Check Number                            or Amount

                 0000001           06/12/2019        06/12/2025                     100114                         $10,345.50
                 0000023           06/04/2020        06/04/2025                       20080                              $203.53
                 0000024           06/08/2020        06/08/2025                     109908                           $4,933.19
                 0000025           06/25/2020        06/25/2025                     110540                           $8,922.96
                 0000026           06/30/2020        06/30/2025                     108866                           $2,674.10
                 0000058           06/02/2021        06/02/2025                     119021                           $5,320.80
                 0000059           06/08/2021        06/08/2025                     118848                         $53,095.72
                 0000060           06/24/2021        06/24/2025                     115610                           $2,029.33
                 0000078           06/15/2022        06/15/2025                     125047                           $6,000.00
                 0000094           06/07/2023        06/07/2025                     131566                               $617.76
                 0000124           06/10/2024        06/10/2025                     136975                           $3,045.69
                 0000125           06/13/2024        06/13/2025                     138292                               $960.00
                 0000126           06/21/2024        06/21/2025                     138548                           $7,984.59




Diamond Comic Distributors, Inc.                                                       JPMorgan Chase Bank, N.A.
Controlled Disbursement Account                                                        P O Box 182051
--                                                                                     Columbus    OH 43218-2051
10150 York Rd
Hunt Valley MD 21030-3340




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       JPMorgan Chase Bank, N.A.
                                                                                          Account Number:                     0555
       P O Box 182051
       Columbus, OH 43218 - 2051
                                                                                            Customer Service Information

                                                                                        If you have any questions about your
                                                                                        statement, please contact your
                                                                                        Customer Service Professional.
       00101228 WBS 802 211 09125 NNNNNNNNNNN   1 000000000 62 0000


       DIAMOND COMIC DISTRIBUTORS, INC.
       10150 YORK RD
       HUNT VALLEY MD 21030




Commercial Checking

Summary
                                                                      Number                    Market Value/Amount                      Shares


Opening Ledger Balance                                                                                 $1,143.10


Deposits and Credits                                                   415                       $11,291,308.47


Withdrawals and Debits                                                 110                       $11,282,498.52


Checks Paid                                                               0                                 $0.00


Ending Ledger Balance                                                                                  $9,953.05


Deposits and Credits

Ledger             Description                                                                                                        Amount
Date

03/03              Chips Credit Via: Citibank N.A./0008 B/O: Minotaur (Entertainment) Pty Ltd                                        $4,942.70
                   Ataustralia Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley MD
                   21030- US/Ac-              6410 Org=/083125629889767768490 462 Australia
                   Ogb=National Australi A Bank Limited Melbourne Australia Au
                   Obi=/Uri/Minotaur Entertainment 90115 B Ssn: 00441654 Trn: 0108833062Fc
                   YOUR REF: NOTPROVIDED

03/03              Fedwire Credit Via: Wells Fargo Bank, N.A./                 0248 B/O: Uzay Toys &                                  3,913.00
                   Collectibles LLC Alpharetta GA 30005 Ref: Chase Nyc/Ctr/Bnf=Diamond
                   Comic Distributors, Inc. Hunt Valley MD 2103 0- US/Ac                     6410
                   Rfb=Ow0000544 8481257 Bbi=/Chgs/USD0,00/ Imad: 0303I1B7033R027718
                   Trn: 1506761062Ff
                   YOUR REF: OW00005448481257

03/03              Chips Credit Via: Bank of America, N.A./0959 B/O: Electronics Boutique                                             3,049.70
                   Australia Pty 4009 Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley
                   MD 21030- US/Ac-                6410 Org=/14877020 4009 Ogb=/00
                   6550999998 Bofaausxxxx Obi=/Uri/Lt. Avis Vom 28.02.25/Rfb/Boa R001830
                   Bbi=/Acc/Benefres/US/Orderres/US Ssn: 00098983 Trn: 0020689062Fc
                   YOUR REF: BOAR001830




* Annual Percentage Yield Earned - the percentage rate earned if balances remain on deposit for a full year with compounding, no

change in the interest rate and all interest rate and all interest is left in the account.



Please examine this statement of account at once. By continuing to use the account, you agree that: (1) the account is subject to

the Bank's deposit account agreement, and (2) the Bank has no responsibility for any error in or improper charge to the account

(including any unauthorized or altered check) unless you notify us in writing of this error or charge within sixty days of the mailing or

availability of the first statement on which the error or charge appears.
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                                                                                March 01, 2025 through March 31, 2025
                                                                              Account Number:                     0555




Deposits and Credits       (continued)

Ledger     Description                                                                                                   Amount
Date

03/03      Book Transfer Credit B/O: Aus Merchant Services, Inc Sunnyvale CA                                         2,754.58
           94085-3542 US Org:/2121120044800812 Joseph Italiano And Peter M
           Hughes Trn: 3590000062Jo
           YOUR REF: CAP OF 25/03/03

03/03      Book Transfer Credit B/O: United Overseas Bank Ltd Singapore Singapore                                    1,634.61
           04862-4 Sg Org:/1473019634 Absolute Comics Pte Ltd Ref: 24 Jan 5 Feb
           Invoices/Fullpay/ Trn: 1241325062Fs
           YOUR REF: SWF OF 25/03/03

03/03      Real Time Transfer Recd From Aba/Contr Bnk-021000021         From: Bnf-Toynk                              1,440.00
           Toys LLC Via Wise Ref: 1243610838-1126435 Info: Text-       Iid:
           20250303021000021P1Brjpc08240139063 Recd: 16:27:15 Trn:
           0864122062Gc
           YOUR REF: 1243610838-1126435

03/03      Real Time Transfer Recd From Aba/Contr Bnk-021000021         From:                                        1,042.96
           Bnf-Greenlight Comics Pty Ltd Via Wise Ref: 1242520611-92526 Info: Text-
           Iid: 20250303021000021P1Brjpc05600000881 Recd: 04:13:00 Trn:
           1446652061Gc
           YOUR REF: 1242520611-92526

03/03      Chips Credit Via: Deutsche Bank Ag/0378 B/O: 1/Armin Stroemmer                                                836.12
           3/DE/Hamburg 20146 Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt
           Valley MD 21030- US/Ac-                 6410 Org=/DE7020010020096653120 8
           3/DE/Hamburg 20146 Ogb=Deutsche B Ank Ag-Postbank Branch (F Bonn
           Germ Any 60325- DE Obi=/Uri/Invoice 2502 XX-XXXXXXX Ssn: 00115310 Trn:
           0025035062Fc
           YOUR REF: CEGJOO63113GXA27

03/03      Real Time Transfer Recd From Aba/Contr Bnk-021000021         From:                                            658.57
           Bnf-Snowdale Design Oy Via Wise Ref: 1241280081-000145 Info: Text-            Iid:
           20250302021000021P1Brjpc03920021425 Recd: 08:14:41 Trn:
           1626972060Gd
           YOUR REF: 1241280081-000145

03/03      Lockbox No: 22023 For 60 Items At 16:00 5 Trn: 2500247062Lb                                             72,481.07

03/03      Orig CO Name:Ingram Book Cc              Orig ID:9001868033 Desc Date:250303                          252,174.85
           CO Entry Descr:Ibc As Pmtsec:CCD          Trace#:111000012543094 Eed:250303
           Ind ID:175368                   Ind Name:Diamond Comic Distribu
           Ibc Acctg Srvcs Pymt Trn: 0592543094Tc

03/03      Orig CO Name:Forte                 Orig ID:5330903620 Desc Date:250228 CO                               72,974.72
           Entry Descr:186002     Sec:CCD      Trace#:242071752543098 Eed:250303
           Ind ID:ACH-0228-C988C               Ind Name:Diamond Comic Distribu Trn:
           0592543098Tc

03/03      Orig CO Name:UPS-Capital                Orig ID:2362407381 Desc Date:022825                             44,632.05
           CO Entry Descr:Cod Pymts Sec:CCD           Trace#:242071752543102
           Eed:250303    Ind ID:V40931 - 000002              Ind Name:Diamond Comics
           Trn: 0592543102Tc

03/03      Abr Special - A Increase                                                                                31,457.98

03/03      Orig CO Name:Vintage Stock              Orig ID:1431571679 Desc Date:250228                             18,168.86
           CO Entry Descr:Paymentjnlsec:CCD           Trace#:101006692543096 Eed:250303
           Ind ID:V000088                  Ind Name:Diamond Comic Dist., Trn:
           0592543096Tc

03/03      Orig CO Name:Paymentech                 Orig ID:1020401225 Desc Date:250303                               7,516.71
           CO Entry Descr:Deposit        Sec:CCD    Trace#:021000021994777 Eed:250303
           Ind ID:6406596                  Ind Name:Diamond Comic Distribu Trn:
           0621994777Tc

03/03      Orig CO Name:Amazon.CA5269663               Orig ID:1912089241 Desc Date:                                 2,854.98
           CO Entry Descr:EDI Pymntssec:CCD           Trace#:091000011994775
           Eed:250303    Ind ID:Fcs002732928032               Ind Name:Diamond Comic
           Distribu                                                           EDI Trn:
           0621994775Tc



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                                                                             Account Number:                     0555




Deposits and Credits     (continued)

Ledger     Description                                                                                                  Amount
Date

03/03      Orig CO Name:Square Inc            Orig ID:O800429876 Desc Date:250303                                   1,150.91
           CO Entry Descr:Zonecomicssec:CCD           Trace#:091000011994773
           Eed:250303    Ind ID:T3Degm6Rthdvy48               Ind Name:Diamond Comic
           Distribu                                                          T2150994
           Trn: 0621994773Tc

03/03      Orig CO Name:Carolina Comics         Orig ID:444887153    Desc Date:Mar 03                               1,122.25
           CO Entry Descr:Diamond 32Sec:PPD           Trace#:103107395130785
           Eed:250303    Ind ID:                     Ind Name:Diamond Trn:
           0625130785Tc

03/03      Orig CO Name:Amazon.Com Servi             Orig ID:9000012712 Desc                                            488.31
           Date:250303 CO Entry Descr:Payments         Sec:CCD
           Trace#:021000021994771 Eed:250303          Ind ID:Fcs002732911582
           Ind Name:Diamond Comic Distribu Trn: 0621994771Tc

03/03      Orig CO Name:American Express         Orig ID:1134992250 Desc Date:250228                                    483.38
           CO Entry Descr:Settlementsec:CCD          Trace#:091000012543100 Eed:250303
           Ind ID:1199200593              Ind Name:Diamond Comi1199200593
           Payment Date 25060 Trn: 0592543100Tc

03/03      Orig CO Name:American Express         Orig ID:1134992250 Desc Date:250301                                    191.20
           CO Entry Descr:Settlementsec:CCD          Trace#:091000011994779 Eed:250303
           Ind ID:1199200593              Ind Name:Diamond Comi1199200593
           Payment Date 25062 Trn: 0621994779Tc

03/04      Fedwire Credit Via: City National Bank/        6066 B/O: Sideshow Inc                                  74,217.00
           Thousand Oaks CA 91320 USA Ref: Chase Nyc/Ctr/Bnf=Diamond Comic
           Distributors, Inc. Hunt Valley MD 2103 0- US/Ac-           6410
           Rfb=11340115 Obi=190881, 248820, 452389, 490143, 490 172-73,
           564628-29, 75 Imad: 0304L2Lfck1C004208 Trn: 0993451063Ff
           YOUR REF: 11340115

03/04      Chips Credit Via: Wells Fargo Bank, N.A./0509 B/O: Comics Bv Nl Ref:                                   30,591.43
           Nbnf=Diamond Comic Distributors, Inc. Hunt Valley MD 21030- US/Ac-0000
           00006410 Org=/Nl25Ingb0006933809 Nl Ogb=ING Bank N V Amsterdam
           Netherl Ands Bv100-0 Nl Obi=/Uri/Invoice 75 6745 Etc Ssn: 00090474 Trn:
           0021922063Fc
           YOUR REF: XX25030452546089

03/04      Book Transfer Credit B/O: Banque Federative Du Credit Mutuel Strasbourg                                26,017.42
           France 67000 Fr Org:/Fr7610278060280002018600119 Alca Ogb: Credit
           Mutuel 4 Rue Frederic-Guillaume Raiffeisen Ref: Alca 91284 Etal Alca 91284
           Etal/Ocmt/USD26017,42/Acc/Orderres/Fr/Benef Res/US Trn: 2055768059Js
           YOUR REF: SWF OF 25/02/28

03/04      Book Transfer Credit B/O: Aus Merchant Services, Inc Sunnyvale CA                                        6,325.73
           94085-3542 US Org:/2121120029239167 All Star Comics Melbourne Pty Ltd 5
           Ref: 2130722007C Trn: 0706700062Vb
           YOUR REF: CAP OF 25/03/03

03/04      Book Transfer Credit B/O: Dnb Norway Norway No                                                           5,556.10
           Org:/Se5690200000090602958822 Serieborsen Ab Ogb: Lansforsakringar
           Bank Ab Tegeluddsvagen 11 - 13 Ref:/Roc/Not.Provided/Uri/Apply To
           503310/Ocmt/USD5556,1/ Trn: 2053938063Js
           YOUR REF: SWF OF 25/03/04

03/04      Book Transfer Credit B/O: Convera Uk Limited London United Kingdom Ec2A                                  3,916.39
           -1Ah Gb Org:/Ch-2572154 Comics R US Pty Ltd T/A Comics R US Ogb:
           Convera Uk Limited Alphabeta Building Ref: Tradetrade Related Account
           90109/Ocmt/USD3916,39/ Trn: 2411035063Fs
           YOUR REF: SWF OF 25/03/04

03/04      Book Transfer Credit B/O: Abn Amro Bank N V Head Office Amsterdam                                        1,777.65
           Netherlands 1000 -Ea Nl Org:/Nl29Abna0503019534 1/C.J.T. Kuijpers Ogb:
           Abn Amro Bank N V Head Office Foppingadree F 22 P O B 283
           Ref:/Roc/Ec5059O6W3Idby00/Uri/Account: 91278/Ocmt/USD1777,65/ Trn:
           2088280059Js
           YOUR REF: SWF OF 25/02/28


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                                                                            Account Number:                      0555




Deposits and Credits     (continued)

Ledger     Description                                                                                                  Amount
Date

03/04      Book Transfer Credit B/O: Hang Seng Bank Ltd Hong Kong Hong Kong Hk                                      1,267.33
           Org:/364097352001 Metro Comics Ogb: Hang Seng Bank Ltd Institutional
           Banking Dept Ref: Inv. No. 250215-07560956 And 25022210152333
           (90408)/Ocmt/USD1267,33/ Trn: 2112083062Js
           YOUR REF: SWF OF 25/03/03

03/04      Chips Credit Via: The Bank of New York Mellon/0001 B/O: Kirsty Leeann                                    1,221.32
           Litkowski Vic Australia 3808 Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt
           Valley MD 21030- US/Ac-               6410 Org=/167234384 Vic Austral IA
           3808 Ogb=/008873 Notprovided Obi =/Uri/92579 Secret Hq Bbi=/Ocmt/USD
           1246,32/Rec/Less Fees Ssn: 00104751 Trn: 0024969063Fc
           YOUR REF: EB805395 -01

03/04      Book Transfer Credit B/O: Tasman Foreign Exchange Pty Ltd Sydney                                              27.20
           Australia 2000 - Au Org:/183893 Impact Retail Pty Ltd Ref: Impact Retail Pty
           Ltd 92645 250215-07560956 Trn: 0313500063Jo
           YOUR REF: 658812

03/04      Lockbox No: 22023 For 54 Items At 16:00 5 Trn: 2502942063Lb                                            39,688.31

03/04      Orig CO Name:Forte              Orig ID:5330903620 Desc Date:250303 CO                               272,562.92
           Entry Descr:186002    Sec:CCD     Trace#:242071758628436 Eed:250304
           Ind ID:ACH-0303-D968F             Ind Name:Diamond Comic Distribu Trn:
           0638628436Tc

03/04      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:030325                              67,208.04
           CO Entry Descr:Cod Pymts Sec:CCD          Trace#:242071759490493
           Eed:250304    Ind ID:V40931 - 000002            Ind Name:Diamond Comics
           Trn: 0629490493Tc

03/04      Orig CO Name:Booktopia Direct          Orig ID:3133440076 Desc Date:       CO                          59,906.73
           Entry Descr:Payment    Sec:CCD     Trace#:091000018628425 Eed:250304
           Ind ID:Atr4166911/1            Ind Name:Diamond Comic Distribu Trn:
           0638628425Tc

03/04      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250304                             11,190.40
           CO Entry Descr:Deposit      Sec:CCD     Trace#:021000028628438 Eed:250304
           Ind ID:6406596                Ind Name:Diamond Comic Distribu Trn:
           0638628438Tc

03/04      Orig CO Name:Follett Content          Orig ID:6872968865 Desc Date:       CO                             4,619.07
           Entry Descr:00000951/1Sec:CCD         Trace#:111000029490495 Eed:250304
           Ind ID:1615773                Ind Name:Diamond Book Distribut
           Rmr*Ik*ACH\ Trn: 0629490495Tc

03/04      Orig CO Name:Amazon.Com Servi            Orig ID:9000012712 Desc                                             290.90
           Date:250302 CO Entry Descr:Payments        Sec:CCD
           Trace#:021000028630383 Eed:250304          Ind ID:Fcs002736422662
           Ind Name:Diamond Comic Distribu Trn: 0638630383Tc

03/04      Orig CO Name:Target Plus Part         Orig ID:1800948598 Desc Date:        CO                                 49.90
           Entry Descr:Target Plusec:CCD     Trace#:091000019490500 Eed:250304
           Ind ID:St-L0H1C0Z4M6A3                Ind Name:Diamond Comic Distribu Trn:
           0629490500Tc

03/04      Orig CO Name:Amazon.Com Servi            Orig ID:9000012712 Desc                                              36.54
           Date:250304 CO Entry Descr:Payments        Sec:CCD
           Trace#:021000029490498 Eed:250304          Ind ID:Fcs002735244932
           Ind Name:Diamond Comic Distribu Trn: 0629490498Tc

03/05      Book Transfer Credit B/O: Banco Bpm Spa Verona Italy 37121 It                                          21,865.94
           Org:/It88L0503402410000000023463 1/Terminal Distribuzione Srl Ref:
           Payment Your Invoices/Chgs/USD26,00/Ocmt/USD21891,94/ Trn:
           2083856062Js
           YOUR REF: SWF OF 25/03/03




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                                                                            Account Number:                    0555




Deposits and Credits     (continued)

Ledger     Description                                                                                                Amount
Date

03/05      Chips Credit Via: Citibank N.A./0008 B/O: 671118 Mekanik B.V.B.A. Be Ref:                              1,521.12
           Nbnf=Diamond Comic Distributors, Inc. Hunt Valley MD 21030- US/Ac-
                6410 Org=/36396246 Be Ogb=Citib Ank N.A. New York NY US
           Obi=/Uri/IN S/Eburgb2L20250205 Bbi=/Chgs/USD0,0 0/Ocmt/USD1521,12/
           Ssn: 00448660 Trn: 0107866064Fc
           YOUR REF: NOTPROVIDED

03/05      Book Transfer Credit B/O: Islandsbanki Hf. Reykjavik Iceland 155 - Is                                  1,368.20
           Org:/Is350537260061056105012650 Nexus Aftreying Ehf Ogb: Islandsbanki
           Hf. Kirkjusandi Ref: 13-2 142,97 22-2 847,09 28-2
           398,14/Chgs/USD20,00/Ocmt/USD1388,2/ Trn: 2063952062Js
           YOUR REF: SWF OF 25/03/03

03/05      Book Transfer Credit B/O: Commerzbank Aktiengesellschaft Frankfurt Am                                      978.42
           Main Germany 60311- DE Org:/DE33200400000222316200 1/Norbert Marek
           Templin Ogb: Commerzbank Ag Ness 7-9 Ref: 91355 Comic Room
           Hamburg/Chgs/USD25,00/ Trn: 2075199062Js
           YOUR REF: SWF OF 25/03/03

03/05      Lockbox No: 22023 For 41 Items At 16:00 5 Trn: 2503558064Lb                                          56,991.97

03/05      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:030425                            74,953.54
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071755084431
           Eed:250305    Ind ID:V40931 - 000002            Ind Name:Diamond Comics
           Trn: 0635084431Tc

03/05      Orig CO Name:Forte              Orig ID:5330903620 Desc Date:250304 CO                               59,019.16
           Entry Descr:186002    Sec:CCD     Trace#:242071757028780 Eed:250305
           Ind ID:ACH-0304-5C6Ba              Ind Name:Diamond Comic Distribu Trn:
           0647028780Tc

03/05      Orig CO Name:Discount Comic B           Orig ID:9200502235 Desc Date:250305                          31,301.49
           CO Entry Descr:ACH Pmt       Sec:CCD     Trace#:021000025084436
           Eed:250305    Ind ID:11164142103               Ind Name:Diamond Comic
           Distribu   Document 411322 Trn: 0635084436Tc

03/05      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250305                            19,409.39
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000027028790 Eed:250305
           Ind ID:6406596                Ind Name:Diamond Comic Distribu Trn:
           0647028790Tc

03/05      Orig CO Name:Cryptozoic Enter         Orig ID:2822557284 Desc Date:250305                              7,604.50
           CO Entry Descr:Mercuryachsec:CCD         Trace#:091311223389347
           Eed:250305    Ind ID:Mrcr-Bftbo6Yoab           Ind Name:Diamond Comic
           Distribu   Cze Balance 15, 22,37, And 48
           Mercuryach Trn: 0643389347Tc

03/05      Orig CO Name:Nbcuniversal Med           Orig ID:1031375454 Desc Date:250304                            1,000.00
           CO Entry Descr:Vendor Pmtsec:CTX         Trace#:028000087028782
           Eed:250305    Ind ID:2004881693A550              Ind Name:0006Diamond
           Comic Di                                                           A550 Trn:
           0647028782Tc

03/05      Orig CO Name:3Rd Universe Con           Orig ID:9200502235 Desc Date:250305                                 12.49
           CO Entry Descr:ACH Pmt       Sec:CCD     Trace#:021000025084433
           Eed:250305    Ind ID:11163009205               Ind Name:Diamond Comic
           Distribu   503050 Trn: 0635084433Tc

03/06      Chips Credit Via: Barclays Bank Plc/0257 B/O: Diamond Comic Distributors                             55,454.28
           Ndon/Gb Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley MD 21030-
           US/Ac-           6410 Org=/20573088973122 Ndon/G B Ogb=Barclays Bank
           Plc London Bbi=/Ocmt/USD55454,28/ Ssn: 00284288 Trn: 0067083065Fc
           YOUR REF: PET534270065




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Ledger     Description                                                                                                     Amount
Date

03/06      Book Transfer Credit B/O: Vietnam Export Import Commercial Hochiminh City,                                10,071.85
           Vietnam Vn Org:/200014851128547 Ho Chi Minh City Book Distribution Ogb:
           Vietnam Export Import Commercial 7Le Thi Hong Gam St Ref: Payment For
           Contract No 540/Hd-Phs Dated 19 Dec 2022/Chgs/USD0,/Chgs/U
           SD25,00/Ocmt/USD10096,85/Acc/Fw: 02 1000021 Trn: 6370195065Fs
           YOUR REF: SWF OF 25/03/06

03/06      Chips Credit Via: Wells Fargo Bank, N.A./0509 B/O: 1/Modern Graphics                                        3,628.72
           Buchhandel Berlin3/DE/10999 Berlin Ref: Nbnf=Diamond Comic Distributors,
           Inc. Hunt Valley MD 21030- US/Ac-             6410
           Org=/DE9710050000067002095 8 3/DE/10999 Berlin Ogb=Landesbank Berlin
           Ag 10178 Berlin, Germany Obi =/Uri/250127-09253060.... Ssn: 00077866 Trn:
           0017937065Fc
           YOUR REF: 250303093A000660

03/06      Real Time Transfer Recd From Aba/Contr Bnk-           0021   From: Bnf-Black                                3,377.78
           Dog Comics Ohg Via Wise Ref: 1247225401-90038 Info: Text-           Iid:
           20250305021000021P1Brjpc08800234771 Recd: 03:59:48 Trn:
           0177572065GA
           YOUR REF: 1247225401-90038

03/06      Book Transfer Credit B/O: Dnb Norway Norway No Org:/No4315067980430                                         1,944.57
           Outland As Ogb: Dnb Dnb Nor Bank Asa Ref:
           Cinv/250215-Outland-90121/Ocmt/USD1944,57/ Trn: 2071035065Js
           YOUR REF: SWF OF 25/03/06

03/06      Book Transfer Credit B/O: Firstrand Bank Ltd Head Office Incljohannesburg                                   1,690.65
           South Africa 2000 Za Org:/62091470345 1/Smallville Comics Cc Ogb:
           Firstrand Bank Ltd Head Office Inclfloor 2,4 First Place Bankcity
           Ref:/Roc/SD3Gr17Gj5Wtd691/Uri/Smallville
           Comics/Chgs/USD20,00/Ocmt/USD1710 ,65/Acc/Benefres/US Trn:
           2076375065Js
           YOUR REF: SWF OF 25/03/06

03/06      Chips Credit Via: The Bank of New York Mellon/0001 B/O: 1/Bonner Comic                                      1,244.50
           Laden Gmbh 3/DE/53111 Bonn Ref: Nbnf=Diamond Comic Distributors, Inc.
           Hunt Valley MD 21030- US/Ac-              6410
           Org=/DE7037050198001900320 1 3/DE/53111 Bonn Ogb=Sparkasse Koe
           Lnbonn 50667 Cologne, Germany Obi=/Uri/Acc.90813,,Gc F608250207,,0
           Ssn: 00105532 Trn: 0024992065Fc
           YOUR REF: 250304101A000101

03/06      Book Transfer Credit B/O: Australia And New Zealand Banking Richmond Vic                                        974.12
           Australia 3121 - Au Org:/Cust/Au/Anzb/Mdz471110 1/Christopher Joseph
           Topfer Tas Col Ref:/Chgs/Aud0,/Chgs/USD10,00/Ocmt/USD984,12/ Trn:
           4003418065Fs
           YOUR REF: SWF OF 25/03/06

03/06      Book Transfer Credit B/O: United Overseas Bank Ltd Singapore Singapore                                          740.43
           04862-4 Sg Org:/3873008944 G And B Comic Online Supermart Ref:
           Payment For G And B Comic Online Supermart For A/C 92029/Fullpay/Acc/4 ,
           New York Plaza, New York, NY 1000 4 USA Trn: 6967536065Fs
           YOUR REF: SWF OF 25/03/06

03/06      Book Transfer Credit B/O: Skandinaviska Enskilda Banken Ab Stockholm                                            587.68
           Sweden Se106- 40 Se Org:/59368230102 Sf-Bokhandeln Ab (Publ) Ref:
           95583/Chgs/USD0,00/Chgs/USD25,00/Ocmt/USD612,68/ Trn: 4684515064Fs
           YOUR REF: SWF OF 25/03/05

03/06      Lockbox No: 22023 For 19 Items At 16:00 5 Trn: 2500043065Lb                                               27,405.59

03/06      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250306                               288,792.42
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000027208709 Eed:250306
           Ind ID:6406596                Ind Name:Diamond Comic Distribu Trn:
           0657208709Tc




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Ledger     Description                                                                                                  Amount
Date

03/06      Orig CO Name:Forte                 Orig ID:5330903620 Desc Date:250305 CO                              60,662.33
           Entry Descr:186002       Sec:CCD     Trace#:242071757208695 Eed:250306
           Ind ID:ACH-0305-A3Eca               Ind Name:Diamond Comic Distribu Trn:
           0657208695Tc

03/06      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:030525                              29,997.96
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071754638612
           Eed:250306     Ind ID:V40931 - 000001           Ind Name:Diamond Comic
           Dist.Sta Trn: 0644638612Tc

03/06      Orig CO Name:Newbury Comics             Orig ID:1042744540 Desc Date:                                  21,093.62
           CO Entry Descr:Payments Sec:CCD          Trace#:051000014638609
           Eed:250306     Ind ID:30000                 Ind Name:Diamond Comics
           Nte*Vendor Payment\ Trn: 0644638609Tc

03/06      Orig CO Name:Things From Anot           Orig ID:9865782001 Desc Date:250306                            14,241.98
           CO Entry Descr:Corp Pay Sec:CCD         Trace#:021000024638604 Eed:250306
           Ind ID:                    Ind Name:Diamond Comic Distribu    60001, 60395,
           60400, 65286 - 1-2 To 1-8 Invoices Trn: 0644638604Tc

03/06      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250305                            10,193.54
           CO Entry Descr:Settlementsec:CCD        Trace#:091000014638607 Eed:250306
           Ind ID:1199200593               Ind Name:Diamond Comi1199200593
           Payment Date 25065 Trn: 0644638607Tc

03/06      Orig CO Name:Heroes And Villa          Orig ID:9215986202 Desc Date:030325                                   653.34
           CO Entry Descr:Bill_Pay Sec:CCD        Trace#:021000024638616 Eed:250306
           Ind ID:Heroes And Vill          Ind Name:JPMorgan Chase Bank, N Trn:
           0644638616Tc

03/06      Orig CO Name:Continental Exc          Orig ID:AXXXXXXXX Desc Date:250306                                    428.12
           CO Entry Descr:P2P         Sec:Web     Trace#:081000034638614 Eed:250306
           Ind ID:92154                  Ind Name:Diamond Comic Distribu Trn:
           0644638614Tc

03/06      Orig CO Name:Apple Inc              Orig ID:AXXXXXXXX Desc Date:       CO                                   199.76
           Entry Descr:ACH/Cred Sec:PPD          Trace#:021001037208697 Eed:250306
           Ind ID:0304351196               Ind Name:Diamond Comic Distribu
           /Orgac/Gb29Deut40508124517700/Cci :        0304351196,Purp:Developer
           Proceeds ,Apple Trn: 0657208697Tc

03/06      Orig CO Name:Heroes And Villa          Orig ID:9215986202 Desc Date:030325                                     0.01
           CO Entry Descr:Bill_Pay Sec:CCD        Trace#:021000024638618 Eed:250306
           Ind ID:Heroes And Vill          Ind Name:JPMorgan Chase Bank, N Trn:
           0644638618Tc

03/07      Chips Credit Via: Hsbc Bank USA, N.A./0108 B/O: Diamond Comic                                          44,990.00
           Distributors Inc. Hunt Valley,MD,21030 US Ref: Nbnf=Diamond Comic
           Distributors, Inc. Hunt Valley MD 21030- US/Ac-           6410
           Org=/07524600859 Hunt Vall Ey,MD,21030 US Ogb=Bank of Montreal
           Montreal H2Y1L6 Canada CA Obi=/Uri/Roc/Ww25030766944320 Bbi= Ssn:
           00557878 Trn: 0135439066Fc
           YOUR REF: WW25030766944320

03/07      Book Transfer Credit B/O: Alior Bank Sa Warsaw Poland 02-23-2 Pl                                         8,194.23
           Org:/Pl94249010570000990162140036 Pmd Solutions S C Pawel Maslowski+
           Ogb: Alior Bank Sa Ul. Lopuszanska 38D
           Ref:/Roc/250305Osw004827/Uri/Account No
           91369/Chgs/USD10,00/Ocmt/USD8204,2
           3/Acc/Orderres/Pl/Benefres/US/Bnf/U S641000555 Diamond Comic Distributo
           Rs Master + Trn: 2100002064Js
           YOUR REF: SWF OF 25/03/05

03/07      Book Transfer Credit B/O: Commonwealth Bank of Australia Sydney Nsw                                      2,198.03
           Australia 2000 - Au Org:/06500410411604 Dynamic Duo Comics Pty Ltd Ref:
           Supplier Invoice Invoice 502260/Ocmt/USD2198,03/ Trn: 2892832066Fs
           YOUR REF: SWF OF 25/03/07




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Ledger     Description                                                                                                  Amount
Date

03/07      Real Time Transfer Recd From Aba/Contr Bnk-021000021        From:                                            593.32
           Bnf-Gamma Rays Comics Via Wise Ref: 1249665995-09541207 Info: Text-
           Iid: 20250307021000021P1Brjpc08240208093 Recd: 18:21:23 Trn:
           1856672066Gd
           YOUR REF: 1249665995-09541207

03/07      Lockbox No: 22023 For 57 Items At 16:00 5 Trn: 2503443066Lb                                            50,544.00

03/07      Orig CO Name:Forte               Orig ID:5330903620 Desc Date:250306 CO                              148,512.34
           Entry Descr:186002    Sec:CCD      Trace#:242071755864794 Eed:250307
           Ind ID:ACH-0306-64A6E              Ind Name:Diamond Comic Distribu Trn:
           0655864794Tc

03/07      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250307                              71,336.56
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000029694401 Eed:250307
           Ind ID:6406596                 Ind Name:Diamond Comic Distribu Trn:
           0669694401Tc

03/07      Orig CO Name:Cryptozoic Enter          Orig ID:2822557284 Desc Date:250307                             37,819.28
           CO Entry Descr:Mercuryachsec:CCD         Trace#:091311221299930
           Eed:250307    Ind ID:Mrcr-Uvwjuqor2Z            Ind Name:Diamond Comic
           Distribu   000081 From Cryptozoic Entertainmen T
           Mercuryach Trn: 0661299930Tc

03/07      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250306                            29,902.70
           CO Entry Descr:Settlementsec:CCD        Trace#:091000019694399 Eed:250307
           Ind ID:1199200593               Ind Name:Diamond Comi1199200593
           Payment Date 25066 Trn: 0669694399Tc

03/07      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:030625                              27,199.07
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071759694397
           Eed:250307    Ind ID:V40931 - 000002            Ind Name:Diamond Comics
           Trn: 0669694397Tc

03/07      Orig CO Name:Gamestop Texas,            Orig ID:1255811000 Desc Date:250307                              5,445.00
           CO Entry Descr:Payments Sec:CCD          Trace#:021000025864791
           Eed:250307    Ind ID:2000198144               Ind Name:Diamond Comic
           Distribu   Nte*Zzz*Rmrei0020002114\ Trn: 0655864791Tc

03/07      Orig CO Name:The Comic Shop             Orig ID:396779-A   Desc Date:      CO                            5,395.64
           Entry Descr:Vendor   Sec:CTX      Trace#:325272029694403 Eed:250307          Ind
           ID:2023-001                 Ind Name:0000Diamond Comic Trn: 0669694403Tc

03/07      Orig CO Name:Crunchyroll, LLC          Orig ID:9309882002 Desc Date:250307                               5,142.89
           CO Entry Descr:Payment       Sec:CCD     Trace#:021000025864799
           Eed:250307    Ind ID:304                   Ind Name:Diamond Comic Distribu
           Trn: 0655864799Tc

03/07      Orig CO Name:Archonia              Orig ID:1204895317 Desc Date:        CO                               2,205.08
           Entry Descr:Bill.Com Sec:CCD      Trace#:021000025864796 Eed:250307          Ind
           ID:015Cedmclvd6Op7              Ind Name:Diamond Comic Distribu
           Archonia Bill.Com 015Cedmcl Vd6Op7 Acct 91655 - Inv 250221-0908 2677
           Trn: 0655864796Tc

03/10      Foreign Remittance Credit B/O: Fx USD Outgoingfedchipsdda Newark DE                                  110,698.53
           19713- US Org:/3171008026179 Diamond Comic Distributors Inc Ogb: Fx
           USD Incomingfedchipsdda JPMorgan Chase Bank NA
           Ref:/Ocmt/USD110698,53/Product/Fx Trn: 5523699069Fx
           YOUR REF: SWF OF 25/03/10

03/10      Chips Credit Via: Citibank N.A./0008 B/O: 507306 Duo Estudio DE Design,                                11,075.78
           Lda Pt Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley MD 21030-
           US/Ac-           6410 Org=/36396246 Pt Ogb=Citib Ank N.A. New York NY
           US Obi=/Uri/IN S/Eburgb2Lduo Estudio DE DE Sign, L Da Ebpotr3971069
           Ssn: 00207548 Trn: 0050349069Fc
           YOUR REF: NOTPROVIDED




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Ledger     Description                                                                                                   Amount
Date

03/10      Real Time Transfer Recd From Aba/Contr Bnk-          0021   From: Bnf-Worlds                              9,198.16
           End Comics Via Wise Ref: 1251038946-Acc91060 Info: Text-      Iid:
           20250309021000021P1Brjpc00560081465 Recd: 12:55:53 Trn:
           0345802068GA
           YOUR REF: 1251038946-ACC91060

03/10      Book Transfer Credit B/O: Australia And New Zealand Banking Richmond Vic                                  9,165.60
           Australia 3121 - Au Org:/Cust/Au/Anzb/Mdz237578 1/Kings Corporation Pty
           Ltd T/As Ref: Payment For Invoices Dated 7th - 10th February 2025.
           Accounts 90124, 9 2124 And 90124A./Chgs/Aud0,/Chgs/US
           D10,00/Ocmt/USD9175,60/ Trn: 4860072069Fs
           YOUR REF: SWF OF 25/03/10

03/10      Chips Credit Via: Citibank N.A./0008 B/O: Minotaur (Entertainment) Pty Ltd                                6,237.84
           Ataustralia Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley MD
           21030- US/Ac-             6410 Org=/083125629889767768490 462 Australia
           Ogb=National Australi A Bank Limited Melbourne Australia Au
           Obi=/Uri/Minotaur Entertainment 90115 B Ssn: 00428016 Trn: 0103484069Fc
           YOUR REF: NOTPROVIDED

03/10      Book Transfer Credit B/O: Pt Bank Mandiri (Persero) Tbk Jakarta Indonesia                                 3,735.89
           12190- ID Org:/1030006583088 Pt Kinokunia Bukindo Ogb: Pt Bank Mandiri
           (Persero) Tbk Plz Mandiri
           Ref:/Inv/Inv179655/Inv/2012/179655(273.29)180110
           (53.98)180383(202.36)+/Ch Gs/USD0,/Chgs/USD17,00/Ocmt/USD3752 ,89/
           Trn: 5528992069Fs
           YOUR REF: SWF OF 25/03/10

03/10      Real Time Payment Credit Recd From Aba/Contr Bnk-           1184     From:                                3,470.18
           Bnf-Arnaud Lapeyre Ref: 38182365723 Info: Text-Rmtinf-Saint Germain LLC
           97384 Iid: 20250310021000089P1Bxop107122920201 Recd: 03:12:30 Trn:
           1366952068Gc
           YOUR REF: 38182365723

03/10      Chips Credit Via: Hsbc Bank USA, N.A./0108 B/O: Abc Marketing Agency                                      1,852.90
           Limited Ong Kln,Hong Kong Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt
           Valley MD 21030- US/Ac-             6410 Org=/026441402838 Ong Kln, Hong
           Kong Ogb=Hongkong And Shanghai Banking Corpo Hong Kong Hong Kong
           Hk Obi=/Uri/Account No.     3108, Sett Ssn: 00260237 Trn: 0063899069Fc
           YOUR REF: NOTPROVIDED

03/10      Real Time Transfer Recd From Aba/Contr Bnk-021000021        From:                                             817.88
           Bnf-Greenlight Comics Pty Ltd Via Wise Ref: 1251526084-92526 Info: Text-
           Iid: 20250310021000021P1Brjpc02480005029 Recd: 02:54:14 Trn:
           0984042068GA
           YOUR REF: 1251526084-92526

03/10      Real Time Payment Credit Recd From Aba/Contr Bnk-           1184     From:                                    799.33
           Bnf-Arnaud Lapeyre Ref: 28254171680 Info: Text-Rmtinf-Saint Germain
           97384 Iid: 20250310021000089P1Bxop107135313011 Recd: 03:13:54 Trn:
           1416232068Ge
           YOUR REF: 28254171680

03/10      Book Transfer Credit B/O: Tasman Foreign Exchange Pty Ltd Sydney                                              650.39
           Australia 2000 - Au Org:/183893 Impact Retail Pty Ltd Ref: Impact Retail Pty
           Ltd 92645 250222-10152333 Trn: 0708300069Jo
           YOUR REF: 659452

03/10      Book Transfer Credit B/O: Nordea Bank Abp, Filial I Sverige Stockholm                                         590.97
           Sweden Se-105 71 Se Org:/Se4595000099602601072438 Seriezonen Ab
           Ref: Invoice 250207
           13254189/Chgs/USD0,/Chgs/USD9,00/Ocmt/USD599,97/ Trn: 8495385066Fs
           YOUR REF: SWF OF 25/03/07

03/10      Lockbox No: 22023 For 74 Items At 16:00 5 Trn: 2503828069Lb                                           154,618.30




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Ledger     Description                                                                                               Amount
Date

03/10      Orig CO Name:Forte               Orig ID:5330903620 Desc Date:250307 CO                              120,445.38
           Entry Descr:186002    Sec:CCD      Trace#:242071758934885 Eed:250310
           Ind ID:ACH-0307-D485C              Ind Name:Diamond Comic Distribu Trn:
           0668934885Tc

03/10      Orig CO Name:UPS-Capital               Orig ID:2362407381 Desc Date:030725                             34,245.50
           CO Entry Descr:Cod Pymts Sec:CCD          Trace#:242071758934883
           Eed:250310     Ind ID:V40931 - 000002            Ind Name:Diamond Comics
           Trn: 0668934883Tc

03/10      Orig CO Name:Vintage Stock             Orig ID:1431571679 Desc Date:250307                               8,652.93
           CO Entry Descr:Paymentjnlsec:CCD          Trace#:101006698934878 Eed:250310
           Ind ID:V000088                 Ind Name:Diamond Comic Dist., Trn:
           0668934878Tc

03/10      Orig CO Name:American Express            Orig ID:1134992250 Desc Date:250307                             7,156.44
           CO Entry Descr:Settlementsec:CCD         Trace#:091000019652228 Eed:250310
           Ind ID:1199200593                Ind Name:Diamond Comi1199200593
           Payment Date 25067 Trn: 0699652228Tc

03/10      Orig CO Name:Dark Horse Comic            Orig ID:9862581001 Desc Date:250310                             4,160.00
           CO Entry Descr:Corp Pay Sec:CCD          Trace#:021000028934880 Eed:250310
           Ind ID:40156                  Ind Name:Diamond Comic Distribu       21169 Trn:
           0668934880Tc

03/10      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250310                               3,950.35
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000029652232 Eed:250310
           Ind ID:6406596                 Ind Name:Diamond Comic Distribu Trn:
           0699652232Tc

03/10      Orig CO Name:Coliseum of Comi           Orig ID:Bizedp   Desc Date:030725                                1,925.08
           CO Entry Descr:Deposit       Sec:CCD    Trace#:091000018934887 Eed:250310
           Ind ID:Dpaaadbhko                Ind Name:Diamond Comic Distribu
           Coliseum of Comics 503050                                        Wfb
           Directpay Trn: 0668934887Tc

03/10      Orig CO Name:Amazon.Com Servi             Orig ID:9000012712 Desc                                             516.78
           Date:250308 CO Entry Descr:Payments        Sec:CCD
           Trace#:021000023969341 Eed:250310          Ind ID:Fcs002745476872
           Ind Name:Diamond Comic Distribu Trn: 0693969341Tc

03/10      Orig CO Name:Amazon.CA5288487              Orig ID:1912089241 Desc Date:                                      402.73
           CO Entry Descr:EDI Pymntssec:CCD          Trace#:091000019652222
           Eed:250310     Ind ID:Fcs002744205172             Ind Name:Diamond Comic
           Distribu                                                        EDI Trn:
           0699652222Tc

03/10      Orig CO Name:American Express            Orig ID:1134992250 Desc Date:250308                                  269.56
           CO Entry Descr:Settlementsec:CCD         Trace#:091000019652230 Eed:250310
           Ind ID:1199200593                Ind Name:Diamond Comi1199200593
           Payment Date 25069 Trn: 0699652230Tc

03/10      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250310                                    151.77
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000029652224 Eed:250310
           Ind ID:6406596                 Ind Name:Diamond Comic Distribu Trn:
           0699652224Tc

03/10      Orig CO Name:Amazon.CA5284091              Orig ID:1912089241 Desc Date:                                       30.89
           CO Entry Descr:EDI Pymntssec:CCD          Trace#:091000019652226
           Eed:250310     Ind ID:Fcs002742998972             Ind Name:Diamond Comic
           Distribu                                                        EDI Trn:
           0699652226Tc




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Ledger     Description                                                                                            Amount
Date

03/11      Chips Credit Via: Bank of America, N.A./0959 B/O: Steamforged Games Ltd                             19,402.82
           Broadway Salford M50 2Ue Salford/Gb Ref: Nbnf=Diamond Comic
           Distributors, Inc. Hunt Valley MD 21030- US/Ac-          6410
           Org=/20019647145733 Broadw Ay Salford M50 2Ue Salford/Gb Ogb=B
           Arclays Bank Uk Plc London United K Ingdom Gb Obi=/Uri/S Ssn: 00207178
           Trn: 0051550070Fc
           YOUR REF: 2025031100202317

03/11      Book Transfer Credit B/O: Royal Bank of Canada Payment Centertoronto On                             18,767.83
           Canada M5V2Y-1 CA Org:/030514002978 9472-3970 Quebec Inc
           Ref:/Chgs/USD0,/Chgs/USD20,00/Ocmt/USD18787,83/ Trn: 8019272070Fs
           YOUR REF: SWF OF 25/03/11

03/11      Book Transfer Credit B/O: Aus Merchant Services, Inc Sunnyvale CA                                     8,666.60
           94085-3542 US Org:/2121120029239167 All Star Comics Melbourne Pty Ltd 5
           Ref: 2130722007C Trn: 0137700070Jo
           YOUR REF: CAP OF 25/03/11

03/11      Chips Credit Via: Citibank N.A./0008 B/O: 1/Hartmut Moche 3/DE/42349                                  5,148.33
           Wuppertal Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley MD
           21030- US/Ac-           6410 Org=/DE6633050000000072067 2 3/DE/42349
           Wuppertal Ogb=Stadtspa Rkasse Wuppertal Wuppertal Germany 42103- DE
           Obi=/Uri/Invoices 25/01/3 0 + 25/02/03 + Ssn: 00211671 Trn: 0052627070Fc
           YOUR REF: NOTPROVIDED

03/11      Book Transfer Credit B/O: Aus Merchant Services, Inc Sunnyvale CA                                     2,486.74
           94085-3542 US Org:/2121120044800812 Joseph Italiano And Peter M
           Hughes Trn: 2792000070Jo
           YOUR REF: CAP OF 25/03/11

03/11      Book Transfer Credit B/O: Abn Amro Bank N V Head Office Amsterdam                                     2,237.75
           Netherlands 1000 -Ea Nl Org:/Nl29Abna0503019534 1/C.J.T. Kuijpers Ogb:
           Abn Amro Bank N V Head Office Foppingadree F 22 P O B 283
           Ref:/Roc/Ec5066O6Ymncci00/Uri/Account: 91278/Ocmt/USD2237,75/ Trn:
           2098684066Js
           YOUR REF: SWF OF 25/03/07

03/11      Chips Credit Via: Hsbc Bank USA, N.A./0108 B/O: Mr Kwan Chi Shing Jerome                              1,332.13
           Ng Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley MD 21030-
           US/              6410 Org=/809886468833 Ng Ogb=H Sbc Hong Kong Hong
           Kong Hong Kong O Bi=/Uri/Clarks Comics A/C 90047 Bbi
           =/Ocmt/USD1332,13/ Ssn: 00046843 Trn: 0009030070Fc
           YOUR REF: HK111035PI327996

03/11      Chips Credit Via: The Bank of New York Mellon/0001 B/O: Kirsty Leeann                                      947.17
           Litkowski Vic Australia 3808 Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt
           Valley MD 21030- US/Ac-            6410 Org=/167234384 Vic Austral IA
           3808 Ogb=/008873 Notprovided Obi =/Uri/92579 Secret Hq Bbi=/Ocmt/USD
           972,17/Rec/Less Fees Ssn: 00079148 Trn: 0016889070Fc
           YOUR REF: EB806586 -01

03/11      Book Transfer Credit B/O: Vseobecna Uverova Bank, A.S. 820 05 Bratislava                                   850.69
           25 Slovakia Sk Org:/Sk5502000000002791655853 Vydavatelstvo Slovart Spol
           S R O Ogb: Vseobecna Uverova Bank, A.S. Reconciliation Department Ref:
           7571418013538668755889612699/Chgs/USD25,00/Ocmt/USD875,69/ Trn:
           2084610069Js
           YOUR REF: SWF OF 25/03/10

03/11      Lockbox No: 22023 For 24 Items At 16:00 5 Trn: 2503137070Lb                                         11,794.60

03/11      Orig CO Name:Forte              Orig ID:5330903620 Desc Date:250310 CO                            211,301.48
           Entry Descr:186002    Sec:CCD    Trace#:242071751863590 Eed:250311
           Ind ID:ACH-0310-F0974            Ind Name:Diamond Comic Distribu Trn:
           0701863590Tc

03/11      Orig CO Name:UPS-Capital          Orig ID:2362407381 Desc Date:031025                               46,919.22
           CO Entry Descr:Cod Pymts Sec:CCD       Trace#:242071759567486
           Eed:250311    Ind ID:V40931 - 000002          Ind Name:Diamond Comics
           Trn: 0699567486Tc


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Ledger     Description                                                                                             Amount
Date

03/11      Orig CO Name:Discount Comic B          Orig ID:9200502235 Desc Date:250311                           26,466.85
           CO Entry Descr:ACH Pmt       Sec:CCD     Trace#:021000029567493
           Eed:250311    Ind ID:11164786610              Ind Name:Diamond Comic
           Distribu   Document 452991 Trn: 0699567493Tc

03/11      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250311                              7,947.90
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000021863592 Eed:250311
           Ind ID:6406596                Ind Name:Diamond Comic Distribu Trn:
           0701863592Tc

03/11      Orig CO Name:Coliseum of Comi          Orig ID:Bizedp   Desc Date:031025                               3,844.28
           CO Entry Descr:Deposit      Sec:CCD    Trace#:091000019567490 Eed:250311
           Ind ID:Dpaaadchsv               Ind Name:Diamond Comic Distribu
           Coliseum of Comics             3170                                   Wfb
           Directpay Trn: 0699567490Tc

03/11      Orig CO Name:Te Traemos Inc            Orig ID:S941687665 Desc Date:250311                             2,962.00
           CO Entry Descr:Sender       Sec:CTX    Trace#:113000021863588 Eed:250311
           Ind ID:777731626               Ind Name:0000Diamond Comic Di
           Onlne Trnsfr88871070 Trn: 0701863588Tc

03/11      Orig CO Name:Target Plus Part         Orig ID:1800948598 Desc Date:         CO                               39.07
           Entry Descr:Target Plusec:CCD     Trace#:091000019567488 Eed:250311
           Ind ID:St-B5J0D4L0J7N3            Ind Name:Diamond Comic Distribu Trn:
           0699567488Tc

03/12      Book Transfer Credit B/O: Sydbank A S Dk-6200 Aabenraa Denmark Dk                                    12,074.44
           Org:/Dk5679800001150693 1/Faraos Cigarer Aps Ref: Faraos Cigarer Aps
           Account: 90149 Routing (Aba): 021000021/Ocmt/USD120 74,44/ Trn:
           3206636070Fs
           YOUR REF: SWF OF 25/03/11

03/12      Real Time Transfer Recd From Aba/Contr Bnk-021000021       From: Bnf-Black                           10,860.04
           Dog Comics Ohg Via Wise Ref: 1254982686-90038 Info: Text-     Iid:
           20250312021000021P1Brjpc09920060605 Recd: 11:08:35 Trn:
           0064272071Gc
           YOUR REF: 1254982686-90038

03/12      Book Transfer Credit B/O: Aus Merchant Services, Inc Sunnyvale CA                                      2,231.33
           94085-3542 US Org:/2121120029312200 Trading Cards Australia Pty. Ltd. 1
           Ref: Invoice 02/27/25 02/28/25 03/07/25 Trn: 7671300070Jo
           YOUR REF: CAP OF 25/03/11

03/12      Book Transfer Credit B/O: Commonwealth Bank of Australia Sydney Nsw                                    2,000.48
           Australia 2000 - Au Org:/06500410411604 Dynamic Duo Comics Pty Ltd Ref:
           Supplier Invoice Invoice 503120/Ocmt/USD2000,48/ Trn: 3983016071Fs
           YOUR REF: SWF OF 25/03/12

03/12      Chips Credit Via: Citibank N.A./0008 B/O: 671118 Mekanik B.V.B.A. Be Ref:                              1,543.29
           Nbnf=Diamond Comic Distributors, Inc. Hunt Valley MD 21030- US/Ac-
                6410 Org=/36396246 Be Ogb=Citib Ank N.A. New York NY US
           Obi=/Uri/IN S/Eburgb2L20250210 Bbi=/Chgs/USD0,0 0/Ocmt/USD1543,29/
           Ssn: 00439142 Trn: 0105689071Fc
           YOUR REF: NOTPROVIDED

03/12      Book Transfer Credit B/O: Australia And New Zealand Banking Richmond Vic                                    824.28
           Australia 3121 - Au Org:/Cust/Au/Anzb/Mdz471110 1/Christopher Joseph
           Topfer Tas Col Ref:/Chgs/Aud0,/Chgs/USD10,00/Ocmt/USD834,28/ Trn:
           4170146071Fs
           YOUR REF: SWF OF 25/03/12

03/12      Book Transfer Credit B/O: Keb Hana Bank CO., Ltd. Seoul Korea Republic of                                   381.81
           100-7-93 Kr Org:/77391002537432 1/Aladdin Communications Inc. Ref:
           Account No. 93187 Trn: 8970232071Fs
           YOUR REF: SWF OF 25/03/12

03/12      Lockbox No: 22023 For 31 Items At 16:00 5 Trn: 2500001071Lb                                          87,369.27




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Ledger     Description                                                                                              Amount
Date

03/12      Orig CO Name:Forte               Orig ID:5330903620 Desc Date:250311 CO                               47,047.63
           Entry Descr:186002     Sec:CCD     Trace#:242071758273095 Eed:250312
           Ind ID:ACH-0311-2Ea08             Ind Name:Diamond Comic Distribu Trn:
           0708273095Tc

03/12      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:031125                             32,092.75
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071758273086
           Eed:250312    Ind ID:V40931 - 000002            Ind Name:Diamond Comics
           Trn: 0708273086Tc

03/12      Orig CO Name:Alliance Enterta         Orig ID:5550917836 Desc Date:      CO                           30,331.60
           Entry Descr:Corp Pmt Sec:CCD         Trace#:051000018273100 Eed:250312
           Ind ID:14043667Jbd               Ind Name:Diamond Comic Distribu Trn:
           0708273100Tc

03/12      Abr Special - A Increase                                                                                6,800.00

03/12      Orig CO Name:Rarewaves-USA IN            Orig ID:1820233691 Desc                                        4,940.43
           Date:250312 CO Entry Descr:Payment        Sec:CCD
           Trace#:022000028273093 Eed:250312         Ind ID:Diamond               Ind
           Name:Diamond Comic Dist Ch
           Hdd187274401Tuk Trn: 0708273093Tc

03/12      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250312                               3,221.99
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000028175420 Eed:250312
           Ind ID:6406596                Ind Name:Diamond Comic Distribu Trn:
           0718175420Tc

03/12      Orig CO Name:Wal-Mart Stores           Orig ID:4216028   Desc Date:250311                               1,014.10
           CO Entry Descr:810909015 Sec:CCD          Trace#:061120088273097
           Eed:250312    Ind ID:366184911639904             Ind Name:Diamond Comic
           Distribu   Wal-Mart Stores, Inc Payment
           4366184911639904 Trn: 0708273097Tc

03/12      Orig CO Name:3Rd Universe Con           Orig ID:9200502235 Desc Date:250312                                  711.93
           CO Entry Descr:ACH Pmt       Sec:CCD     Trace#:021000028273102
           Eed:250312    Ind ID:11163283889               Ind Name:Diamond Comic
           Distribu   503120 Trn: 0708273102Tc

03/12      Orig CO Name:Unabridged Books           Orig ID:1363090427 Desc Date:250312                                  219.96
           CO Entry Descr:ACH         Sec:CCD     Trace#:071001538273088 Eed:250312
           Ind ID:                    Ind Name:Diamond Comic Distrib.    Unabridged
           Bookstore: 24590 Trn: 0708273088Tc

03/12      Orig CO Name:Cornell Universi         Orig ID:9150535182 Desc Date:250312                                    216.25
           CO Entry Descr:Payments Sec:CTX          Trace#:021000028175408
           Eed:250312    Ind ID:110119176                Ind Name:0010Diamond Comic
           Di Trn: 0718175408Tc

03/12      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250311                                  145.20
           CO Entry Descr:Settlementsec:CCD        Trace#:091000018273091 Eed:250312
           Ind ID:1199200593               Ind Name:Diamond Comi1199200593
           Payment Date 25071 Trn: 0708273091Tc

03/13      Chips Credit Via: Barclays Bank Plc/0257 B/O: Diamond Comic Distributors                            151,127.69
           Ndon/Gb Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley MD 21030-
           US/              6410 Org=/20573020508802 Ndon/G B Ogb=Barclays Bank
           Plc London Bbi=/Ocmt/USD151127,69/ Ssn: 00325605 Trn: 0078656072Fc
           YOUR REF: PET525802072

03/13      Chips Credit Via: Citibank N.A./0008 B/O: 1/Fantastico Comic S DE Rl DE Cv                            18,565.73
           3/Mx/Benito Juarez Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley
           MD 21030- US/Ac-              6410 Org=/00002180700801086467
           3/Mx/Benito Juarez Ogb=Banco Nacion AL DE Mexico S.A. Mexico Mexico
           Mx Bbi=/Acc/00000000000641000555 1/Dia        Ssn: 00525415 Trn:
           0126342072Fc
           YOUR REF: NOTPROVIDED




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Ledger     Description                                                                                                 Amount
Date

03/13      Book Transfer Credit B/O: Dnb Norway Norway No Org:/No4315067980430                                      12,026.66
           Outland As Ogb: Dnb Dnb Nor Bank Asa Ref:
           Cinv/250222-Outland-90121/Ocmt/USD12026,66/ Trn: 2053957072Js
           YOUR REF: SWF OF 25/03/13

03/13      Book Transfer Credit B/O: Bank of China Limited Head Office Beijing China                                10,504.98
           100818 Cn Org:/433862481397 China National Publication Ogb: Bank of
           China 23 Zhongshan East 1 Road Ref: Good Trade For
           Books/Chgs/USD10,00/ Trn: 0806682072Fs
           YOUR REF: SWF OF 25/03/13

03/13      Book Transfer Credit B/O: Firstrand Bank Ltd Head Office Incljohannesburg                                  3,882.90
           South Africa 2000 Za Org:/62091470345 1/Smallville Comics Cc Ogb:
           Firstrand Bank Ltd Head Office Inclfloor 2,4 First Place Bankcity
           Ref:/Roc/SD3Gr3Qq75Wkzkq1/Uri/Smallville
           Comics/Chgs/USD20,00/Ocmt/USD3902 ,9/Acc/Benefres/US Trn:
           2072990072Js
           YOUR REF: SWF OF 25/03/13

03/13      Chips Credit Via: Wells Fargo Bank, N.A./0509 B/O: 1/Modern Graphics                                       2,947.44
           Buchhandel Berlin3/DE/10999 Berlin Ref: Nbnf=Diamond Comic Distributors,
           Inc. Hunt Valley MD 21030- US/Ac-0000 00006410
           Org=/DE9710050000067002095 8 3/DE/10999 Berlin Ogb=Landesbank Berlin
           Ag 10178 Berlin, Germany Obi =/Uri/250207-13254189.... Ssn: 00065689 Trn:
           0014137072Fc
           YOUR REF: 250311093A000113

03/13      Real Time Transfer Recd From Aba/Contr Bnk-021000021        From:                                          2,680.79
           Bnf-Conglomo Kft Via Wise Ref: 1256345861-90893 Info: Text-         Iid:
           20250313021000021P1Brjpc02480102494 Recd: 12:58:58 Trn:
           0732852072Ge
           YOUR REF: 1256345861-90893

03/13      Chips Credit Via: The Bank of New York Mellon/0001 B/O: 1/Bonner Comic                                     1,764.10
           Laden Gmbh 3/DE/53111 Bonn Ref: Nbnf=Diamond Comic Distributors, Inc.
           Hunt Valley MD 21030- US/Ac-               6410
           Org=/DE7037050198001900320 1 3/DE/53111 Bonn Ogb=Sparkasse Koe
           Lnbonn 50667 Cologne, Germany Obi=/Uri/Acc.90813,,Gc F608250215,,0
           Ssn: 00101900 Trn: 0022720072Fc
           YOUR REF: 250311101A000111

03/13      Book Transfer Credit B/O: Commerzbank Aktiengesellschaft Frankfurt Am                                           975.67
           Main Germany 60311- DE Org:/DE33200400000222316200 1/Norbert Marek
           Templin Ogb: Commerzbank Ag Ness 7-9 Ref: 91355 Comic Room
           Hamburg/Chgs/USD25,00/ Trn: 2047119070Js
           YOUR REF: SWF OF 25/03/11

03/13      Lockbox No: 22023 For 31 Items At 16:00 5 Trn: 2503389072Lb                                              32,456.44

03/13      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250313                              282,968.92
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000024395732 Eed:250313
           Ind ID:6406596                Ind Name:Diamond Comic Distribu Trn:
           0724395732Tc

03/13      Orig CO Name:Forte               Orig ID:5330903620 Desc Date:250312 CO                                  39,261.17
           Entry Descr:186002    Sec:CCD      Trace#:242071754065119 Eed:250313
           Ind ID:ACH-0312-Cdcd9             Ind Name:Diamond Comic Distribu Trn:
           0714065119Tc

03/13      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:031225                                16,052.75
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071754065117
           Eed:250313    Ind ID:V40931 - 000002              Ind Name:Diamond Comics
           Trn: 0714065117Tc

03/13      Orig CO Name:Things From Anot           Orig ID:9865782001 Desc Date:250313                                9,052.24
           CO Entry Descr:Corp Pay Sec:CCD         Trace#:021000024065114 Eed:250313
           Ind ID:                   Ind Name:Diamond Comic Distribu       60001, 60395,
           60400, 65286 - 1-9 To 1-15 Invoices Trn: 0714065114Tc




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Ledger     Description                                                                                              Amount
Date

03/13      Orig CO Name:Newbury Comics            Orig ID:1042744540 Desc Date:                                    8,702.78
           CO Entry Descr:Payments Sec:CCD         Trace#:051000014065121
           Eed:250313    Ind ID:30000                Ind Name:Diamond Comics
           Nte*Vendor Payment\ Trn: 0714065121Tc

03/13      Orig CO Name:Square Inc             Orig ID:O800429876 Desc Date:250313                                 1,408.64
           CO Entry Descr:Zonecomicssec:CCD        Trace#:091000014395730
           Eed:250313    Ind ID:T30Knvt121A8Psh            Ind Name:Diamond Comic
           Distribu                                                        T2152299
           Trn: 0724395730Tc

03/13      Orig CO Name:Carolina Comics          Orig ID:444887153   Desc Date:Mar 12                                   238.66
           CO Entry Descr:Diamond 32Sec:PPD        Trace#:103107394065124
           Eed:250313    Ind ID:                   Ind Name:Diamond Trn:
           0714065124Tc

03/14      Chips Credit Via: Barclays Bank Plc/0257 B/O: Diamond Comic Distributors                            162,718.26
           Ndon/Gb Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley MD 21030-
           US/Ac-           6410 Org=/20573020508802 Ndon/G B Ogb=Barclays Bank
           Plc London Bbi=/Ocmt/USD162718,26/ Ssn: 00478587 Trn: 0117604073Fc
           YOUR REF: PET614104073

03/14      Book Transfer Credit B/O: Banco Santander, Sa Boadilla Del Monte Spain                                  9,533.64
           28660 Es Org:/Es5500491883352310375041 Gigamesh Fantasia Y Ciencia
           Ficcion Ogb: Banco Santander, Sa Ciudad Grupo Santander
           Ref:/Roc/1883696010397322/Uri/Gigamesh Feb25 Acc. 90289-90347 Publ
           Merch./Chgs/USD46,00/Ocmt/USD9579,64/ Trn: 2110503072Js
           YOUR REF: SWF OF 25/03/13

03/14      Book Transfer Credit B/O: Alior Bank Sa Warsaw Poland 02-23-2 Pl                                        3,902.25
           Org:/Pl94249010570000990162140036 Pmd Solutions S C Pawel Maslowski+
           Ogb: Alior Bank Sa Ul. Lopuszanska 38D
           Ref:/Roc/250311Osw008626/Uri/Account No
           91369/Chgs/USD10,00/Ocmt/USD3912,2
           5/Acc/Orderres/Pl/Benefres/US/Bnf/U S641000555 Diamond Comic Distributo
           Rs Master + Trn: 2044899071Js
           YOUR REF: SWF OF 25/03/12

03/14      Book Transfer Credit B/O: Union Bank of The Philippines Philippines                                     2,173.54
           Philippines Ph Org:/101590008955 Comic Odyssey No 65526A Ref: Payment
           To Supplier Trn: 8483516073Fs
           YOUR REF: SWF OF 25/03/14

03/14      Chips Credit Via: UBS Ag Stamford Branch/0799 B/O: Buchzentrum Ag (Bz)                                       646.52
           Ch 4614 Haegendorf Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley
           MD 21030- US/Ac-             6410 Org=/Ch170026126169219460R Ch 4614
           Haegendorf Ogb=UBS Switzer Land Ag Zurich Switzerland 8001 - C H
           Obi=/Uri/198107, 771154, 772639, 9207 Ssn: 00036866 Trn: 0006468073Fc
           YOUR REF: KZA01095326-564+

03/14      Real Time Transfer Recd From Aba/Contr Bnk          0021   From:                                             516.76
           Bnf-Gamma Rays Comics Via Wise Ref: 1258027504-08574358 Info: Text-
           Iid: 20250314021000021P1Brjpc02480194930 Recd: 18:58:56 Trn:
           1676122073GA
           YOUR REF: 1258027504-08574358

03/14      Lockbox No: 22023 For 69 Items At 16:00 5 Trn: 2502789073Lb                                           57,223.80

03/14      Orig CO Name:Forte                Orig ID:5330903620 Desc Date:250313 CO                            156,943.41
           Entry Descr:186002      Sec:CCD    Trace#:242071757570766 Eed:250314
           Ind ID:ACH-0313-961A8              Ind Name:Diamond Comic Distribu Trn:
           0737570766Tc

03/14      Orig CO Name:Vintage Stock          Orig ID:1431571679 Desc Date:250313                               34,208.00
           CO Entry Descr:Paymentjnlsec:CCD       Trace#:101006693183791 Eed:250314
           Ind ID:V000088               Ind Name:Diamond Comic Dist., Trn:
           0723183791Tc




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Ledger     Description                                                                                             Amount
Date

03/14      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:031325                            32,005.93
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071753183793
           Eed:250314    Ind ID:V40931 - 000002            Ind Name:Diamond Comics
           Trn: 0723183793Tc

03/14      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250313                          31,008.88
           CO Entry Descr:Settlementsec:CCD        Trace#:091000013183795 Eed:250314
           Ind ID:1199200593               Ind Name:Diamond Comi1199200593
           Payment Date 25073 Trn: 0723183795Tc

03/14      Orig CO Name:Gamestop Texas,            Orig ID:1255811000 Desc Date:250314                            7,112.16
           CO Entry Descr:Payments Sec:CCD          Trace#:021000023183783
           Eed:250314    Ind ID:2000198919               Ind Name:Diamond Comic
           Distribu   Nte*Zzz*Rmrei0020002114\ Trn: 0723183783Tc

03/14      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250314                              6,577.79
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000027570768 Eed:250314
           Ind ID:6406596                Ind Name:Diamond Comic Distribu Trn:
           0737570768Tc

03/14      Orig CO Name:Coliseum of Comi          Orig ID:Bizedp   Desc Date:031325                               3,260.86
           CO Entry Descr:Deposit      Sec:CCD    Trace#:091000013183788 Eed:250314
           Ind ID:Dpaaadgamd                Ind Name:Diamond Comic Distribu
           Coliseum of Comics 503260                                        Wfb
           Directpay Trn: 0723183788Tc

03/14      Orig CO Name:Archonia             Orig ID:1204895317 Desc Date:        CO                              2,227.90
           Entry Descr:Bill.Com Sec:CCD      Trace#:021000023183799 Eed:250314          Ind
           ID:015Iobmbwxdi3L5             Ind Name:Diamond Comic Distribu
           Archonia Bill.Com 015Iobmbw Xdi3L5 Acct 91655 - Inv 250228-0954 1207
           Trn: 0723183799Tc

03/14      Orig CO Name:Crunchyroll, LLC          Orig ID:9309882002 Desc Date:250314                                  773.67
           CO Entry Descr:Payment      Sec:CCD      Trace#:021000023183786
           Eed:250314    Ind ID:304                   Ind Name:Diamond Comic Distribu
           Trn: 0723183786Tc

03/14      Orig CO Name:Intercomic 36 Ag          Orig ID:3133440076 Desc Date:      CO                                378.65
           Entry Descr:Payment    Sec:CCD     Trace#:091000017570754 Eed:250314
           Ind ID:Zntr3102941/2            Ind Name:Diamond Comic Distribu
           Mg1337\ Trn: 0737570754Tc

03/14      Orig CO Name:Amazon.CA5299336             Orig ID:1912089241 Desc Date:                                     212.63
           CO Entry Descr:EDI Pymntssec:CCD         Trace#:091000013183797
           Eed:250314    Ind ID:Fcs002752098302             Ind Name:Diamond Comic
           Distribu                                                       EDI Trn:
           0723183797Tc

03/17      Chips Credit Via: Wells Fargo Bank, N.A./0509 B/O: Minotaur (Entertainment)                            4,090.10
           Pty Ltd Ataustralia Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley
           MD 21030- US/Ac-              6410 Org=/083125629889767 76849 0462
           Australia Ogb=National Austral IA Bank Ltd. Melbourne Vic 3000 Aus Tralia
           Obi=/Uri/Minotaur Enterta Ssn: 00164708 Trn: 0039771076Fc
           YOUR REF: 3039TT3025498116

03/17      Book Transfer Credit B/O: Aus Merchant Services, Inc Sunnyvale CA                                      3,997.59
           94085-3542 US Org:/2121120044800812 Joseph Italiano And Peter M
           Hughes Trn: 3998100076Jo
           YOUR REF: CAP OF 25/03/17

03/17      Chips Credit Via: Citibank N.A./0008 B/O: 671118 Mekanik B.V.B.A. Be Ref:                              2,303.46
           Nbnf=Diamond Comic Distributors, Inc. Hunt Valley MD 21030- US/
                6410 Org=/36396246 Be Ogb=Citib Ank N.A. New York NY US
           Obi=/Uri/IN S/Eburgb2L20250217 Bbi=/Chgs/USD0,0 0/Ocmt/USD2303,46/
           Ssn: 00505240 Trn: 0120785076Fc
           YOUR REF: NOTPROVIDED




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Ledger     Description                                                                                              Amount
Date

03/17      Book Transfer Credit B/O: Abn Amro Bank N V Head Office Amsterdam                                       1,667.43
           Netherlands 1000 -Ea Nl Org:/Nl29Abna0503019534 1/C.J.T. Kuijpers Ogb:
           Abn Amro Bank N V Head Office Foppingadree F 22 P O B 283
           Ref:/Roc/Ec5076O6Xzhxd700/Uri/Account: 91278/Ocmt/USD1667,43/ Trn:
           2084921076Js
           YOUR REF: SWF OF 25/03/17

03/17      Chips Credit Via: Bank of America, N.A./0959 B/O: Best Eastern Brunei                                        800.13
           Darussalam Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley MD
           21030- US/Ac-            6410 Org=/0200110294268 Brunei Darussalam
           Ogb=/006550389510 Baidbn Bbxxx Obi=/Uri/Rfb/Merchandise Impo Rts
           Bbi=/Chgs/USD20,00/Ocmt/USD820, 13/ Ssn: 00228662 Trn: 0057230076Fc
           YOUR REF: MERCHANDISE IMPO

03/17      Book Transfer Credit B/O: Commonwealth Bank of Australia Sydney Nsw                                          536.57
           Australia 2000 - Au Org:/06317211235948 Mark Catania Ref: Supplier Invoice
           Dcd Acc92567 Big City Comics Invoice 25022210152333/O Cmt/USD536,57/
           Trn: 4324732076Fs
           YOUR REF: SWF OF 25/03/17

03/17      Lockbox No: 22023 For 66 Items At 16:00 5 Trn: 2501592076Lb                                           75,879.03

03/17      Orig CO Name:Amazon.Com Servi            Orig ID:9000012712 Desc                                 1,066,319.72
           Date:250315 CO Entry Descr:Payments       Sec:CCD
           Trace#:021000020705082 Eed:250317         Ind ID:Fcs002753749302
           Ind Name:Diamond Comic Distribu Trn: 0730705082Tc

03/17      Orig CO Name:Cryptozoic Enter         Orig ID:2822557284 Desc Date:250317                             88,885.25
           CO Entry Descr:Mercuryachsec:CCD         Trace#:091311220752431
           Eed:250317    Ind ID:Mrcr-1Vu1Zx5C47             Ind Name:Diamond Comic
           Distribu   10019 From Cryptozoic Entertainment    LLC Via Mercury.Com
           Mercuryach Trn: 0760752431Tc

03/17      Orig CO Name:Forte              Orig ID:5330903620 Desc Date:250314 CO                                65,427.90
           Entry Descr:186002    Sec:CCD     Trace#:242071750705080 Eed:250317
           Ind ID:ACH-0314-99A29             Ind Name:Diamond Comic Distribu Trn:
           0730705080Tc

03/17      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:031425                             34,879.91
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071750705088
           Eed:250317    Ind ID:V40931 - 000001            Ind Name:Diamond Comic
           Dist.Sta Trn: 0730705088Tc

03/17      Orig CO Name:Cryptozoic Enter         Orig ID:2822557284 Desc Date:250317                             29,961.14
           CO Entry Descr:Mercuryachsec:CCD         Trace#:091311220752433
           Eed:250317    Ind ID:Mrcr-Mqotb01Zto            Ind Name:Diamond Comic
           Distribu   000125 From Cryptozoic Entertainmen T LLC Via Mercury.Com
           Mercuryach Trn: 0760752433Tc

03/17      Orig CO Name:Cryptozoic Enter         Orig ID:2822557284 Desc Date:250317                             20,146.11
           CO Entry Descr:Mercuryachsec:CCD         Trace#:091311220752429
           Eed:250317    Ind ID:Mrcr-Enjrc99Hh8           Ind Name:Diamond Comic
           Distribu   000105 From Cryptozoic Entertainmen T LLC
           Mercuryach Trn: 0760752429Tc

03/17      Orig CO Name:Cryptozoic Enter         Orig ID:2822557284 Desc Date:250317                             14,976.16
           CO Entry Descr:Mercuryachsec:CCD         Trace#:091311220752435
           Eed:250317    Ind ID:Mrcr-Puisitoq9C           Ind Name:Diamond Comic
           Distribu   000141 From Cryptozoic Entertainmen T LLC Via Mercury.Com
           Mercuryach Trn: 0760752435Tc

03/17      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250317                             12,899.38
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000029009793 Eed:250317
           Ind ID:6406596                Ind Name:Diamond Comic Distribu Trn:
           0769009793Tc




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Ledger     Description                                                                                             Amount
Date

03/17      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250315                           10,675.29
           CO Entry Descr:Settlementsec:CCD       Trace#:091000019009781 Eed:250317
           Ind ID:1199200593               Ind Name:Diamond Comi1199200593
           Payment Date 25076 Trn: 0769009781Tc

03/17      Orig CO Name:Currency Cloud           Orig ID:0810070098 Desc Date:250317                              8,890.39
           CO Entry Descr:92406 I Ansec:CCD        Trace#:026073155285437 Eed:250317
           Ind ID:                  Ind Name:Diamond Comic Distribu
           250317-08Cxxv660 Trn: 0765285437Tc

03/17      Orig CO Name:Amazon.CA5301748            Orig ID:1912089241 Desc Date:                                 8,724.19
           CO Entry Descr:EDI Pymntssec:CCD        Trace#:091000019009779
           Eed:250317    Ind ID:Fcs002753841362            Ind Name:Diamond Comic
           Distribu                                                        EDI Trn:
           0769009779Tc

03/17      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250314                             5,796.50
           CO Entry Descr:Settlementsec:CCD       Trace#:091000019009777 Eed:250317
           Ind ID:1199200593               Ind Name:Diamond Comi1199200593
           Payment Date 25074 Trn: 0769009777Tc

03/17      Orig CO Name:Nbcuniversal Med          Orig ID:1031375454 Desc Date:250314                             3,270.00
           CO Entry Descr:Vendor Pmtsec:CTX        Trace#:028000089009783
           Eed:250317    Ind ID:2004892041A550             Ind Name:0006Diamond
           Comic Di                                                          A550 Trn:
           0769009783Tc

03/17      Orig CO Name:The Toy Industry         Orig ID:3135591570 Desc Date:        CO                          1,000.00
           Entry Descr:Tf25 Refunsec:CCD     Trace#:091000010705090 Eed:250317
           Ind ID:Tfny25 Refund            Ind Name:Diamond Comic Distribu
           Rmr*IV*Tf25 Ref*1000****\ Trn: 0730705090Tc

03/17      Orig CO Name:Carolina Comics          Orig ID:444887153   Desc Date:Mar 17                                  992.78
           CO Entry Descr:Diamond 32Sec:PPD         Trace#:103107393757954
           Eed:250317    Ind ID:                   Ind Name:Diamond Trn:
           0763757954Tc

03/17      Orig CO Name:Heroes And Villa         Orig ID:9215986202 Desc Date:031225                                   732.62
           CO Entry Descr:Bill_Pay Sec:CCD       Trace#:021000020705084 Eed:250317
           Ind ID:Heroes And Vill         Ind Name:JPMorgan Chase Bank, N Trn:
           0730705084Tc

03/17      Orig CO Name:Heroes And Villa         Orig ID:9215986202 Desc Date:031225                                   719.62
           CO Entry Descr:Bill_Pay Sec:CCD       Trace#:021000020705086 Eed:250317
           Ind ID:Heroes And Vill         Ind Name:JPMorgan Chase Bank, N Trn:
           0730705086Tc

03/17      Orig CO Name:Amazon.Com Servi           Orig ID:9000012712 Desc                                             212.64
           Date:250315 CO Entry Descr:Payments       Sec:CCD
           Trace#:021000028906460 Eed:250317        Ind ID:Fcs002756897702
           Ind Name:Diamond Comic Distribu Trn: 0768906460Tc

03/17      Orig CO Name:Amazon.Com Servi           Orig ID:9000012712 Desc                                             145.97
           Date:250315 CO Entry Descr:Payments       Sec:CCD
           Trace#:021000025285439 Eed:250317        Ind ID:Fcs002756558222
           Ind Name:Diamond Comic Distribu Trn: 0765285439Tc

03/17      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250317                                   106.63
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000029009791 Eed:250317
           Ind ID:6406596                Ind Name:Diamond Comic Distribu Trn:
           0769009791Tc

03/18      Fedwire Credit Via: Mountain America Fcu/324079555 B/O: Gamelyn Games                                40,646.83
           Ll Queen Creek AZ 85142 USA Ref: Chase Nyc/Ctr/Bnf=Diamond Comic
           Distributors, Inc. Hunt Valley MD 2103 0- US/Ac-          6410 Rfb=O/B Mtn
           A M CU Sl Obi=Prps:Shipping Otb:Gamel Yn Games Inv #000177 February
           2025 Imad: 0318Qmgft013001284 Trn: 1034291077Ff
           YOUR REF: O/B MTN AM CU SL




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Date

03/18      Book Transfer Credit B/O: Australia And New Zealand Banking Richmond Vic                           12,781.43
           Australia 3121 - Au Org:/Cust/Au/Anzb/Mdz237578 1/Kings Corporation Pty
           Ltd T/As Ref: Payment For Invoices Dated 14th-19th February, 2025.
           Accounts 90124, 9 2124 And 90124A./Chgs/Aud0,/Chgs/US
           D10,00/Ocmt/USD12791,43/ Trn: 1548676077Fs
           YOUR REF: SWF OF 25/03/18

03/18      Book Transfer Credit B/O: Mbank Sa Warsaw Poland 00-85-0 Pl                                          9,654.30
           Org:/Pl14114020040000341202625606 Multiversum Rafal Palacz Ogb:
           Mbank S.A. (Formerly Bre Bank S.A.)Skrytka Pocztowa 2108 Ref: 90994 Attn
           Garry Levan/Ocmt/USD9654,30/ Trn: 3406042073Fs
           YOUR REF: SWF OF 25/03/14

03/18      Book Transfer Credit B/O: Svenska Handelsbanken Ab Publ Stockholm                                    4,127.12
           Sweden S-106- 70 Se Org:/Se7760000000000290653932 Comics Heaven Ab
           Ogb: Svenska Handelsbanken Ab Publ Central Int L Div Ref: Paym. Acc No
           90811 Ref. Sam Stevensinv. Up To And Incl 250228-09541207 Comics
           Heaven Ab Stockholm, Sweden/Chgs/USD0,/Chgs/USD11,00/Ocmt/USD41
           Trn: 3942248073Fs
           YOUR REF: SWF OF 25/03/14

03/18      Book Transfer Credit B/O: Aus Merchant Services, Inc Sunnyvale CA                                    3,120.77
           94085-3542 US Org:/2121120029239167 All Star Comics Melbourne Pty Ltd 5
           Ref: 2130722007C Trn: 0590600077Jo
           YOUR REF: CAP OF 25/03/18

03/18      Book Transfer Credit B/O: Convera Uk Limited London United Kingdom Ec2A                              2,666.48
           -1Ah Gb Org:/Ch-2572154 Comics R US Pty Ltd T/A Comics R US Ogb:
           Convera Uk Limited Alphabeta Building Ref: Tradetrade Related Account
           90109/Ocmt/USD2666,48/ Trn: 1454696077Fs
           YOUR REF: SWF OF 25/03/18

03/18      Chips Credit Via: Bank of America, N.A./0959 B/O: Fantask A/S Dk-1453                                1,830.24
           Kobenhavn K Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley MD
           21030- US/Ac-           6410 Org=/Dk3730004180095012 Dk -1453
           Kobenhavn K Ogb=/006550253668 Dabadkkkxxx Obi=/Uri/Fantask A/S,
           Denmark, Acc 9008 6Invoice No. 2502 28-09541207, Ssn: 00051949 Trn:
           0012185077Fc
           YOUR REF: 2025031400258699

03/18      Book Transfer Credit B/O: Commonwealth Bank of Australia Sydney Nsw                                  1,625.47
           Australia 2000 - Au Org:/06500410411604 Dynamic Duo Comics Pty Ltd Ref:
           Supplier Invoice Invoice 503190/Ocmt/USD1625,47/ Trn: 7029754076Fs
           YOUR REF: SWF OF 25/03/17

03/18      Book Transfer Credit B/O: Hang Seng Bank Ltd Hong Kong Hong Kong Hk                                  1,284.56
           Org:/364097352001 Metro Comics Ogb: Hang Seng Bank Ltd Institutional
           Banking Dept Ref: Inv. No. 250313-09233436, 250306-08574358 And
           250228-09541207 (90408), 250228-09541207 (93408)/Ocmt/USD128 4,56/
           Trn: 2040140077Js
           YOUR REF: SWF OF 25/03/18

03/18      Book Transfer Credit B/O: Nordea Bank Abp, Filial I Sverige Stockholm                                     243.11
           Sweden Se-105 71 Se Org:/Se4595000099602601072438 Seriezonen Ab
           Ref: Invoice 250215 07560956/Chgs/USD0,/Ocmt/USD243,11/ Trn:
           5605849076Fs
           YOUR REF: SWF OF 25/03/17

03/18      Lockbox No: 22023 For 39 Items At 16:00 5 Trn: 2500781077Lb                                        24,715.09

03/18      Orig CO Name:Forte              Orig ID:5330903620 Desc Date:250317 CO                           174,225.42
           Entry Descr:186002   Sec:CCD     Trace#:242071756613850 Eed:250318
           Ind ID:ACH-0317-68F02            Ind Name:Diamond Comic Distribu Trn:
           0776613850Tc

03/18      Orig CO Name:Bigbadtoystore I      Orig ID:9860975329 Desc Date:        CO                       165,837.68
           Entry Descr:ACH Paymensec:CCD       Trace#:091400173162594 Eed:250318
           Ind ID:6574464              Ind Name:Diamond Comics Distrib      242622
           264648 Trn: 0763162594Tc


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Ledger     Description                                                                                                 Amount
Date

03/18      Orig CO Name:Nbcuniversal Med          Orig ID:1031375454 Desc Date:250317                               31,642.50
           CO Entry Descr:Vendor Pmtsec:CTX         Trace#:028000086613854
           Eed:250318    Ind ID:2004893839A550               Ind Name:0007Diamond
           Comic Di                                                              A550 Trn:
           0776613854Tc

03/18      Orig CO Name:Dux Somnium, LLC            Orig ID:Bizedp      Desc Date:031725                              8,120.98
           CO Entry Descr:Deposit      Sec:CCD    Trace#:091000013162597 Eed:250318
           Ind ID:Dpaaadj0Ud               Ind Name:Diamond Comic Distribu          Inv
           000175                                                    Wfb Directpay Trn:
           0763162597Tc

03/18      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250318                                  3,690.28
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000026613852 Eed:250318
           Ind ID:6406596                Ind Name:Diamond Comic Distribu Trn:
           0776613852Tc

03/18      Orig CO Name:Amazon.Com Servi           Orig ID:9000012712 Desc                                            1,397.75
           Date:250318 CO Entry Descr:Payments       Sec:CCD
           Trace#:021000023162600 Eed:250318         Ind ID:Fcs002756999942
           Ind Name:Diamond Comic Distribu Trn: 0763162600Tc

03/18      Orig CO Name:Toho Internation         Orig ID:1204895317 Desc Date:            CO                          1,084.30
           Entry Descr:Bill.Com Sec:CCD      Trace#:021000023162604 Eed:250318             Ind
           ID:015Urlkodmdn7Aj            Ind Name:Diamond Comic Distribu          Toho
           International Inc. Bill.Com 01 5Urlkodmdn7Aj Inv 250220-20393364 Trn:
           0763162604Tc

03/18      Orig CO Name:M Comics LLC              Orig ID:1661042025 Desc Date:250318                                      853.88
           CO Entry Descr:Invoice   Sec:CCD       Trace#:221571473162591 Eed:250318
           Ind ID:Diamond Comics            Ind Name:Jp Morgan Chase Bank
           Invoice Payment                                                8892001107 Trn:
           0763162591Tc

03/18      Orig CO Name:Amazon.Com Servi           Orig ID:9000012712 Desc                                                 162.64
           Date:250318 CO Entry Descr:Payments       Sec:CCD
           Trace#:021000023162607 Eed:250318         Ind ID:Fcs002757210882
           Ind Name:Diamond Comic Distribu Trn: 0763162607Tc

03/18      Orig CO Name:Target Plus Part         Orig ID:1800948598 Desc Date:            CO                                 8.50
           Entry Descr:Target Plusec:CCD     Trace#:091000013162602 Eed:250318
           Ind ID:St-F8X5N7U4Y2T1             Ind Name:Diamond Comic Distribu Trn:
           0763162602Tc

03/19      Chips Credit Via: Hsbc Bank USA, N.A./0108 B/O: Diamond Comic                                          129,985.00
           Distributors Inc. Hunt Valley,MD,21030 US Ref: Nbnf=Diamond Comic
           Distributors, Inc. Hunt Valley MD 21030- US/Ac-               6410
           Org=/07524600859 Hunt Vall Ey,MD,21030 US Ogb=Bank of Montreal
           Montreal H2Y1L6 Canada CA Obi=/Uri/Roc/Ww25031967095405 Bbi= Ssn:
           00572426 Trn: 0137544078Fc
           YOUR REF: WW25031967095405

03/19      Chips Credit Via: The Bank of New York Mellon/0001 B/O: 57 Pty Ltd Ta                                    13,744.61
           Quality Comics Australia Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt
           Valley MD 21030- US/Ac-               6410 Org=/127597417 Australia O
           Gb=Ozforex Limited Sydney Australia Au Obi=/Uri/92374 Bbi=/Ocmt/USD137
           44,61/ Ssn: 00395557 Trn: 0094683078Fc
           YOUR REF: 25A69A5B-9D53-41

03/19      Book Transfer Credit B/O: Dnb Norway Norway No Org:/No4315067980430                                        7,267.85
           Outland As Ogb: Dnb Dnb Nor Bank Asa Ref:
           Cinv/250228-Outland-90121/Ocmt/USD7267,85/ Trn: 2044821078Js
           YOUR REF: SWF OF 25/03/19




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Date

03/19      Book Transfer Credit B/O: Firstrand Bank Ltd Head Office Incljohannesburg                                 2,780.20
           South Africa 2000 Za Org:/62091470345 1/Smallville Comics Cc Ogb:
           Firstrand Bank Ltd Head Office Inclfloor 2,4 First Place Bankcity
           Ref:/Roc/SD3Gr5Rw35Wd48M1/Uri/Smallville
           Comics/Chgs/USD20,00/Ocmt/USD2800 ,2/Acc/Benefres/US Trn:
           2059273078Js
           YOUR REF: SWF OF 25/03/19

03/19      Book Transfer Credit B/O: United Overseas Bank Ltd Singapore Singapore                                    2,356.48
           04862-4 Sg Org:/1473019634 Absolute Comics Pte Ltd Ref: 12 And 19 Feb
           Invoices/Fullpay/ Trn: 9071194078Fs
           YOUR REF: SWF OF 25/03/19

03/19      Book Transfer Credit B/O: Kbc Bank NV Brussels Belgium B-108-0 Be                                         2,354.44
           Org:/Be13734009276239 1/Pinceel Bv Ogb: Kbc Bank NV Havenlaan 2 Ref:
           90775/Ocmt/USD2354,44/ Trn: 2037835076Js
           YOUR REF: SWF OF 25/03/17

03/19      Chips Credit Via: Wells Fargo Bank, N.A./0509 B/O: 1/Modern Graphics                                      1,648.70
           Buchhandel Berlin3/DE/10999 Berlin Ref: Nbnf=Diamond Comic Distributors,
           Inc. Hunt Valley MD 21030- US/Ac-             6410
           Org=/DE9710050000067002095 8 3/DE/10999 Berlin Ogb=Landesbank Berlin
           Ag 10178 Berlin, Germany Obi =/Uri/250215-07560956.... Ssn: 00025165 Trn:
           0003012078Fc
           YOUR REF: 250317093A000269

03/19      Book Transfer Credit B/O: United Overseas Bank Ltd Singapore Singapore                                    1,381.21
           04862-4 Sg Org:/3873008944 G And B Comic Online Supermart Ref:
           Payment For G And B Comic Online Supermart For A/C: 92029/Fullpay/Acc/4,
           New York Plaza, New York, NY 100 04 USA Trn: 2353157078Fs
           YOUR REF: SWF OF 25/03/19

03/19      Book Transfer Credit B/O: Commerzbank Aktiengesellschaft Frankfurt Am                                          978.78
           Main Germany 60311- DE Org:/DE33200400000222316200 1/Norbert Marek
           Templin Ogb: Commerzbank Ag Ness 7-9 Ref: 91355 Comic Room
           Hamburg/Chgs/USD25,00/ Trn: 2029425077Js
           YOUR REF: SWF OF 25/03/18

03/19      Book Transfer Credit B/O: Tasman Foreign Exchange Pty Ltd Sydney                                               565.08
           Australia 2000 - Au Org:/183893 Impact Retail Pty Ltd Ref: Impact Retail Pty
           Ltd 92645 250228-09541207 Trn: 0062600078Jo
           YOUR REF: 660534

03/19      Book Transfer Credit B/O: Commonwealth Bank of Australia Sydney Nsw                                            286.34
           Australia 2000 - Au Org:/06317211235948 Mark Catania Ref: Supplier Invoice
           Dcd Acc92567 Big City Comics Invoice 25022809541207/O Cmt/USD286,34/
           Trn: 9376614078Fs
           YOUR REF: SWF OF 25/03/19

03/19      Book Transfer Credit B/O: Commonwealth Bank of Australia Sydney Nsw                                            244.16
           Australia 2000 - Au Org:/06317211235948 Mark Catania Ref: Supplier Invoice
           Dcd Acc92567 Big City Comics Invoice 25030608574358/O Cmt/USD244,16/
           Trn: 3429076078Fs
           YOUR REF: SWF OF 25/03/19

03/19      Lockbox No: 22023 For 37 Items At 16:00 5 Trn: 2502644078Lb                                             50,266.91

03/19      Orig CO Name:Forte               Orig ID:5330903620 Desc Date:250318 CO                                 61,521.24
           Entry Descr:186002    Sec:CCD      Trace#:242071752894816 Eed:250319
           Ind ID:ACH-0318-70E58             Ind Name:Diamond Comic Distribu Trn:
           0782894816Tc

03/19      Orig CO Name:Discount Comic B         Orig ID:9200502235 Desc Date:250319                               26,134.90
           CO Entry Descr:ACH Pmt      Sec:CCD     Trace#:021000022705583
           Eed:250319    Ind ID:11165734820               Ind Name:Diamond Comic
           Distribu   Document 49730 Trn: 0772705583Tc




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Ledger     Description                                                                                              Amount
Date

03/19      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250319                            11,737.88
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000022894818 Eed:250319
           Ind ID:6406596                 Ind Name:Diamond Comic Distribu Trn:
           0782894818Tc

03/19      Orig CO Name:Archonia              Orig ID:1204895317 Desc Date:       CO                               2,859.07
           Entry Descr:Bill.Com Sec:CCD       Trace#:021000022705575 Eed:250319        Ind
           ID:015Hfslplgdoq4I            Ind Name:Diamond Comic Distribu
           Archonia Bill.Com 015Hfslpl Gdoq4I Acct 91655 - Inv 250305-0909 0186 Trn:
           0772705575Tc

03/19      Orig CO Name:Continental Exc           Orig ID:AXXXXXXXX Desc Date:250319                              1,205.99
           CO Entry Descr:P2P       Sec:Web       Trace#:081000033814563 Eed:250319
           Ind ID:92154                  Ind Name:Diamond Comic Distribu Trn:
           0783814563Tc

03/19      Orig CO Name:Heroes And Villa          Orig ID:9215986202 Desc Date:031425                                   768.30
           CO Entry Descr:Bill_Pay Sec:CCD         Trace#:021000022705578 Eed:250319
           Ind ID:Heroes And Vill          Ind Name:JPMorgan Chase Bank, N Trn:
           0772705578Tc

03/19      Orig CO Name:Toho Internation          Orig ID:1204895317 Desc Date:      CO                                 518.40
           Entry Descr:Bill.Com Sec:CCD       Trace#:021000022705572 Eed:250319        Ind
           ID:015Gvacyfzdp8Mc              Ind Name:Diamond Comic Distribu      Toho
           International Inc. Bill.Com 01 5Gvacyfzdp8Mc Inv 250218-22595921 Trn:
           0772705572Tc

03/19      Orig CO Name:3Rd Universe Con           Orig ID:9200502235 Desc Date:250319                                   36.35
           CO Entry Descr:ACH Pmt        Sec:CCD     Trace#:021000022705580
           Eed:250319     Ind ID:11164259531              Ind Name:Diamond Comic
           Distribu   503190 Trn: 0772705580Tc

03/20      Chips Credit Via: Wells Fargo Bank, N.A./0509 B/O: Electronics Boutique                             148,479.50
           Canada Inc. CA Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley MD
           21030- US/Ac-            6410 Org=/000020247715 CA Ogb=C Anadian
           Imperial Bank of Commerce T Oronto On Canada M5E 1-G4 CA Obi=/U
           RI/Roc/6026943 Bbi=/Chgs/USD0,00/Oc MT/US Ssn: 00565044 Trn:
           0137744079Fc
           YOUR REF: 6026943

03/20      Book Transfer Credit B/O: Royal Bank of Canada Payment Centertoronto On                               36,232.26
           Canada M5V2Y-1 CA Org:/030514002978 9472-3970 Quebec Inc
           Ref:/Chgs/USD0,/Chgs/USD20,00/Ocmt/USD36252,26/ Trn: 0965173079Fs
           YOUR REF: SWF OF 25/03/20

03/20      Chips Credit Via: Bank of America, N.A./0959 B/O: Visual Media Services Ltd                           12,308.93
           Te Aro Wellington 6011, Nz Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt
           Valley MD 21030- US/Ac-                6410 Org=/06-0582-0019966-000 T E Aro
           Wellington 6011, Nz Ogb=/0062 90494555 Anzbnz22Xxx Obi=/Uri/Trade
           Payment/Purchase of Good Ssn: 00128046 Trn: 0030980079Fc
           YOUR REF: 2025032000126549

03/20      Book Transfer Credit B/O: Emirates NBD Bank Pjsc Dubai U.A.E. 0000 - Ae                               10,000.00
           Org:/Ae280260001015228590501 Comic Stop General Trading
           Ref:/Roc/Ephcob079062Mpjm/Uri/Ref/Import of
           Goods/Ocmt/Aed36870,/Exch/3,68 7/Acc/Fw021000021/Orderres/Ae/Gdi/
           Trn: 2058079079Js
           YOUR REF: SWF OF 25/03/20

03/20      Book Transfer Credit B/O: Australia And New Zealand Banking Richmond Vic                                1,906.58
           Australia 3121 - Au Org:/Cust/Au/Anzb/Mdz471110 1/Christopher Joseph
           Topfer Tas Col Ref:/Chgs/Aud0,/Chgs/USD10,00/Ocmt/USD1916,58/ Trn:
           1051124079Fs
           YOUR REF: SWF OF 25/03/20




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Deposits and Credits     (continued)

Ledger     Description                                                                                              Amount
Date

03/20      Chips Credit Via: The Bank of New York Mellon/0001 B/O: 1/Bonner Comic                                  1,671.90
           Laden Gmbh 3/DE/53111 Bonn Ref: Nbnf=Diamond Comic Distributors, Inc.
           Hunt Valley MD 21030- US/Ac-0000 00006410
           Org=/DE7037050198001900320 1 3/DE/53111 Bonn Ogb=Sparkasse Koe
           Lnbonn 50667 Cologne, Germany Obi=/Uri/Acc.90813,,Gc F608250222,,1
           Ssn: 00090356 Trn: 0020829079Fc
           YOUR REF: 250318101A000089

03/20      Book Transfer Credit B/O: United Overseas Bank Ltd Singapore Singapore                                  1,373.09
           04862-4 Sg Org:/3723109351 Comics World Ref: Payment For Invoice
           250215-07560956And 250722 -10152333/Fullpay/ Trn: 0881154079Fs
           YOUR REF: SWF OF 25/03/20

03/20      Book Transfer Credit B/O: Raiffeisenlandesbank Vienna 1020 Austria At                                        993.45
           Org:/At063200000012845103 Martha Hutterer Ogb: Raiffeisenlandesbank
           Niederoesterreich Ref: 02/07/25, 02/15/25, 02/28/25,
           03/07/25/Ocmt/USD993,45/ Trn: 2021708077Js
           YOUR REF: SWF OF 25/03/18

03/20      Chips Credit Via: Hsbc Bank USA, N.A./0108 B/O: Sendpoints Distribution                                      821.35
           CO., Limite, Kowloon,Hong Kong ID:2639590 Ref: Nbnf=Diamond Comic
           Distributors, Inc. Hunt Valley MD 21030- US/Ac-            6410
           Org=/817381890838 , Kowloo N,Hong Kong ID:2639590 Ogb=Hongkong And
           Shanghai Banking Corpo Hong Ko Ng Hong Kong Hk Ssn: 00073341 Trn:
           0017172079Fc
           YOUR REF: NOTPROVIDED

03/20      Lockbox No: 22023 For 13 Items At 16:00 5 Trn: 2500389079Lb                                           12,832.76

03/20      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250320                           299,819.84
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000028941120 Eed:250320
           Ind ID:6406596                 Ind Name:Diamond Comic Distribu Trn:
           0798941120Tc

03/20      Orig CO Name:Forte               Orig ID:5330903620 Desc Date:250319 CO                               31,049.64
           Entry Descr:186002    Sec:CCD      Trace#:242071757080887 Eed:250320
           Ind ID:ACH-0319-Ba04B              Ind Name:Diamond Comic Distribu Trn:
           0787080887Tc

03/20      Orig CO Name:Things From Anot          Orig ID:9865782001 Desc Date:250320                            15,376.35
           CO Entry Descr:Corp Pay Sec:CCD         Trace#:021000027080884 Eed:250320
           Ind ID:                  Ind Name:Diamond Comic Distribu        60001, 60395,
           60400, 65286 - 1-17 T O 1-22 Invoices Trn: 0787080884Tc

03/20      Orig CO Name:Newbury Comics            Orig ID:1042744540 Desc Date:                                    2,984.74
           CO Entry Descr:Payments Sec:CCD         Trace#:051000017080892
           Eed:250320    Ind ID:30000                 Ind Name:Diamond Comics
           Nte*Vendor Payment\ Trn: 0787080892Tc

03/20      Orig CO Name:American Express          Orig ID:1134992250 Desc Date:250319                              1,932.10
           CO Entry Descr:Settlementsec:CCD        Trace#:091000017080895 Eed:250320
           Ind ID:1199200593               Ind Name:Diamond Comi1199200593
           Payment Date 25079 Trn: 0787080895Tc

03/20      Orig CO Name:Revend, LLC              Orig ID:9215986202 Desc Date:031725                               1,603.08
           CO Entry Descr:Bill_Pay Sec:CCD        Trace#:021000027080897 Eed:250320
           Ind ID:Revend, LLC              Ind Name:Diamond Comic Distribu Trn:
           0787080897Tc

03/20      Orig CO Name:Amrahlynn's Coll         Orig ID:Bizedp    Desc Date:031925 CO                                  100.00
           Entry Descr:Deposit   Sec:CCD     Trace#:091000017080889 Eed:250320          Ind
           ID:Dpaaadludd                Ind Name:Diamond Comic Distribu      Amrahlynns
           Collectibles #85518                                    Wfb Directpay Trn:
           0787080889Tc




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Date

03/21      Foreign Remittance Credit B/O: Fx USD Outgoingfedchipsdda Newark DE                                    159,929.02
           19713- US Org:/3171008026179 Diamond Comic Distributors Inc Ogb: Fx
           USD Incomingfedchipsdda JPMorgan Chase Bank NA
           Ref:/Ocmt/USD159929,02/Product/Fx Trn: 7005567080Fx
           YOUR REF: SWF OF 25/03/21

03/21      Chips Credit Via: The Bank of New York Mellon/0001 B/O: Heroes For Sale                                    2,064.65
           Ltd New Zealand Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley MD
           21030- US/Ac-               6410 Org=/129455580 New Zealand Ogb=Ozforex
           Limited Sydney Austral IA Au Obi=/Uri/Heroes For Sale A C 90286
           Bbi=/Ocmt/USD2064,65/ Ssn: 00374174 Trn: 0095223080Fc
           YOUR REF: 1B303205-2625-4A

03/21      Real Time Transfer Recd From Aba/Contr Bnk-            0021   From:                                        1,102.77
           Bnf-Gamma Rays Comics Via Wise Ref: 1265998086-09233436 Info: Text-
           Iid: 20250321021000021P1Brjpc05840216088 Recd: 19:20:36 Trn:
           1452302080Ge
           YOUR REF: 1265998086-09233436

03/21      Book Transfer Credit B/O: Commonwealth Bank of Australia Sydney Nsw                                             841.51
           Australia 2000 - Au Org:/06700010871181 Schwartz Family Holdings Pty Ltd
           Ref: 91493/Ocmt/USD841,51/ Trn: 3016214080Fs
           YOUR REF: SWF OF 25/03/21

03/21      Book Transfer Credit B/O: Ceskoslovenska Obchodni Banka A S 150 57                                               27.00
           Prague 5 Czech Republic Cz Org:/Cz6203000000000275892677
           1/Megabooks Cz, Spol. S R.O. Ogb: Ceskoslovenska Obchodni Banka A S
           Radlicka 333/150 Ref:/Roc/95467/Uri/A/N 95467 - Inv Due
           2024/03/Ocmt/USD27,/Acc/Benefres/US Trn: 2066963079Js
           YOUR REF: SWF OF 25/03/20

03/21      Lockbox No: 22023 For 54 Items At 16:00 5 Trn: 2503065080Lb                                              56,770.55

03/21      Orig CO Name:Forte                 Orig ID:5330903620 Desc Date:250320 CO                              175,048.58
           Entry Descr:186002     Sec:CCD      Trace#:242071752815236 Eed:250321
           Ind ID:ACH-0320-67904               Ind Name:Diamond Comic Distribu Trn:
           0792815236Tc

03/21      Orig CO Name:Hot Topic              Orig ID:3770198182 Desc Date:         CO                             36,405.10
           Entry Descr:Ap Paymentsec:PPD           Trace#:091000012815238 Eed:250321
           Ind ID:1   -   10088            Ind Name:Diamond Comics Distrib Trn:
           0792815238Tc

03/21      Orig CO Name:American Express             Orig ID:1134992250 Desc Date:250320                            30,387.56
           CO Entry Descr:Settlementsec:CCD          Trace#:091000012815243 Eed:250321
           Ind ID:1199200593                 Ind Name:Diamond Comi1199200593
           Payment Date 25080 Trn: 0792815243Tc

03/21      Orig CO Name:Paymentech                 Orig ID:1020401225 Desc Date:250321                              28,812.65
           CO Entry Descr:Deposit        Sec:CCD    Trace#:021000027023078 Eed:250321
           Ind ID:6406596                  Ind Name:Diamond Comic Distribu Trn:
           0807023078Tc

03/21      Orig CO Name:Crunchyroll, LLC           Orig ID:9309882002 Desc Date:250321                                4,969.05
           CO Entry Descr:Payment        Sec:CCD     Trace#:021000022815231
           Eed:250321     Ind ID:304                   Ind Name:Diamond Comic Distribu
           Trn: 0792815231Tc

03/21      Orig CO Name:M Comics LLC                Orig ID:1661042025 Desc Date:250321                               1,111.32
           CO Entry Descr:Invoice      Sec:CCD      Trace#:221571472815233 Eed:250321
           Ind ID:Diamond Comics              Ind Name:Jp Morgan Chase Bank
           Invoice Payment                                                8892001107 Trn:
           0792815233Tc

03/21      Orig CO Name:Expeditors Intl          Orig ID:3911069248 Desc Date:        CO                                   366.60
           Entry Descr:Invoice    Sec:CCD     Trace#:091000012815240 Eed:250321           Ind
           ID:Pmt2358864                  Ind Name:Diamond Comic Distribu
           Pmt2358864                                                    \B000011690 Trn:
           0792815240Tc



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Ledger     Description                                                                                              Amount
Date

03/24      Chips Credit Via: Bank of America, N.A./0959 B/O: Penguin Random House                                42,006.81
           India Pvt 26,Gurugram,Haryana 122002 IN Ref: Nbnf=Diamond Comic
           Distributors, Inc. Hunt Valley MD 21030- US/Ac-            6410
           Org=/62162475001 26,Gurugr Am,Haryana 122002 IN Ogb=/006550091 760
           Bofain4Xdel Obi=/Uri/Import Pym T/Indocs/Idstp-00 Ssn: 00383308 Trn:
           0104023083Fc
           YOUR REF: S0102

03/24      Chips Credit Via: Wells Fargo Bank, N.A./0509 B/O: Pep Comics Bv Nl Ref:                              20,264.11
           Nbnf=Diamond Comic Distributors, Inc. Hunt Valley MD 21030- US/Ac-0000
           00006410 Org=/Nl35Ingb0000517952 Nl Ogb=ING Bank N V Amsterdam
           Netherl Ands Bv100-0 Nl Obi=/Uri/Pep Comics Bv Invoices From 02 .26.2025
           To 03 .13.25 USD 20284.11 Bbi=/C Ssn: 00613830 Trn: 0155031083Fc
           YOUR REF: XX25032453785722

03/24      Book Transfer Credit B/O: Australia And New Zealand Banking Richmond Vic                                7,824.12
           Australia 3121 - Au Org:/Cust/Au/Anzb/Mdz237578 1/Kings Corporation Pty
           Ltd T/As Ref: Payment For Invoices Dated 22ND-25th February 2025.
           Accounts 90124, 92 124 And 90124A./Chgs/Aud0,/Chgs/USD
           10,00/Ocmt/USD7834,12/ Trn: 7033287083Fs
           YOUR REF: SWF OF 25/03/24

03/24      Real Time Transfer Recd From Aba/Contr Bnk-         0021    From: Bnf-Worlds                            4,651.91
           End Comics Via Wise Ref: 1267243781-91060 Info: Text-      Iid:
           20250323021000021P1Brjpc01680044601 Recd: 12:08:28 Trn:
           1163252082Ge
           YOUR REF: 1267243781-91060

03/24      Chips Credit Via: Citibank N.A./0008 B/O: Minotaur (Entertainment) Pty Ltd                              4,649.81
           Ataustralia Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley MD
           21030- US/Ac-            6410 Org=/083125629889767768490 462 Australia
           Ogb=National Australi A Bank Limited Melbourne Australia Au
           Obi=/Uri/Minotaur Entertainment 90115 B Ssn: 00509016 Trn: 0132609083Fc
           YOUR REF: NOTPROVIDED

03/24      Chips Credit Via: Deutsche Bank Ag/0378 B/O: 1/Armin Stroemmer                                          4,355.22
           3/DE/Hamburg 20146 Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt
           Valley MD 21030- US/Ac-            6410 Org=/DE7020010020096653120 8
           3/DE/Hamburg 20146 Ogb=Deutsche B Ank Ag-Postbank Branch (F Bonn
           Germ Any 60325- DE Obi=/Uri/Invoice 2025 0307, 2025 Ssn: 00375525 Trn:
           0102169083Fc
           YOUR REF: CEFUEP78797ROXRI

03/24      Chips Credit Via: Bank of America, N.A./0959 B/O: Ciel Book Distribution                                3,670.66
           United Arab Emirates Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley
           MD 21030- US/Ac-             6410 Org=/Ae4300300126706519200 02 United
           Arab Emirates Ogb=/006550 786000 Adcbaeaaxxx Obi=/Uri/Trsf Fr Om Cbd
           Bbi=/Chgs/USD0,00/Chgs/USD3 Ssn: 00255427 Trn: 0074486083Fc
           YOUR REF: 2025032400220832

03/24      Book Transfer Credit B/O: Alior Bank Sa Warsaw Poland 02-23-2 Pl                                        2,530.87
           Org:/Pl94249010570000990162140036 Pmd Solutions S C Pawel Maslowski+
           Ogb: Alior Bank Sa Ul. Lopuszanska 38D
           Ref:/Roc/250319Osw007454/Uri/Account No
           91369/Chgs/USD10,00/Ocmt/USD2540,8
           7/Acc/Orderres/Pl/Benefres/US/Bnf/U S641000555 Diamond Comic Distributo
           Rs Master + Trn: 2028633079Js
           YOUR REF: SWF OF 25/03/20

03/24      Book Transfer Credit B/O: Abn Amro Bank N V Head Office Amsterdam                                       1,113.59
           Netherlands 1000 -Ea Nl Org:/Nl29Abna0503019534 1/C.J.T. Kuijpers Ogb:
           Abn Amro Bank N V Head Office Foppingadree F 22 P O B 283
           Ref:/Roc/Ec5083N6O86Wvs00/Uri/Account: 91278/Ocmt/USD1113,59/ Trn:
           2077071083Js
           YOUR REF: SWF OF 25/03/24




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Ledger     Description                                                                                              Amount
Date

03/24      Real Time Transfer Recd From Aba/Contr Bnk-021000021       From:                                             750.22
           Bnf-Greenlight Comics Pty Ltd Via Wise Ref: 1268857077-92526 Info: Text-
           Iid: 20250324021000021P1Brjpc00400183453 Recd: 19:18:31 Trn:
           1299492083Gb
           YOUR REF: 1268857077-92526

03/24      Book Transfer Credit B/O: Tasman Foreign Exchange Pty Ltd Sydney                                             581.41
           Australia 2000 - Au Org:/183893 Impact Retail Pty Ltd Ref: Impact Retail Pty
           Ltd 92645 250307-08314267 Trn: 0884000083Jo
           YOUR REF: 660958

03/24      Book Transfer Credit B/O: Dbs Bank Ltd Singapore Singapore 01898-2 Sg                                        386.00
           Org:/1701858219 Hendy Santoso Ogb: Pt Bank Dbs Indonesia Gd Dbs Bank
           Tower Ciputra World Ref:/Roc/0603Ot0028570/Uri/2018 Gongzai Store
           92361/Ocmt/USD386,/ Trn: 2096716082Js
           YOUR REF: SWF OF 25/03/23

03/24      Book Transfer Credit B/O: Nordea Bank Abp, Filial I Sverige Stockholm                                        243.43
           Sweden Se-105 71 Se Org:/Se4595000099602601072438 Seriezonen Ab
           Ref: Invoice 250222 10152333/Chgs/USD0,/Ocmt/USD243,43/ Trn:
           3066244080Fs
           YOUR REF: SWF OF 25/03/21

03/24      Lockbox No: 22023 For 92 Items At 16:00 5 Trn: 2503987083Lb                                         113,907.76

03/24      Orig CO Name:Forte               Orig ID:5330903620 Desc Date:250321 CO                               58,518.66
           Entry Descr:186002     Sec:CCD    Trace#:242071754412699 Eed:250324
           Ind ID:ACH-0321-8E4Ce             Ind Name:Diamond Comic Distribu Trn:
           0804412699Tc

03/24      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:031825                             56,077.59
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071754412701
           Eed:250324    Ind ID:V40931 - 000002            Ind Name:Diamond Comics
           Trn: 0804412701Tc

03/24      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:031725                             41,486.93
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071754412695
           Eed:250324    Ind ID:V40931 - 000002            Ind Name:Diamond Comics
           Trn: 0804412695Tc

03/24      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250324                             21,883.45
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000022687632 Eed:250324
           Ind ID:6406596                Ind Name:Diamond Comic Distribu Trn:
           0832687632Tc

03/24      Orig CO Name:Baker & Taylor           Orig ID:1561761729 Desc Date:250321                               8,268.07
           CO Entry Descr:B&T-ACH       Sec:CTX     Trace#:111000012687619
           Eed:250324    Ind ID:01243000                Ind Name:0000Diamond Comic
           Di Trn: 0832687619Tc

03/24      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250324                               6,165.33
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000022687630 Eed:250324
           Ind ID:6406596                Ind Name:Diamond Comic Distribu Trn:
           0832687630Tc

03/24      Orig CO Name:Vintage Stock            Orig ID:1431571679 Desc Date:250321                               5,315.22
           CO Entry Descr:Paymentjnlsec:CCD         Trace#:101006694412697 Eed:250324
           Ind ID:V000088                Ind Name:Diamond Comic Dist., Trn:
           0804412697Tc

03/24      Orig CO Name:Nbcuniversal Med           Orig ID:1031375454 Desc Date:250321                             1,270.00
           CO Entry Descr:Vendor Pmtsec:CTX         Trace#:028000082687621
           Eed:250324    Ind ID:2004898513A550              Ind Name:0007Diamond
           Comic Di                                                           A550 Trn:
           0832687621Tc




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Ledger     Description                                                                                               Amount
Date

03/24      Orig CO Name:Square Inc           Orig ID:O800429876 Desc Date:250322                                    1,179.81
           CO Entry Descr:Zonecomicssec:CCD        Trace#:091000012687615
           Eed:250324    Ind ID:T3Pqqcp0C73Wkgy               Ind Name:Diamond Comic
           Distribu                                                          T2153445
           Trn: 0832687615Tc

03/24      Orig CO Name:Carolina Comics         Orig ID:444887153    Desc Date:Mar 24                                    709.93
           CO Entry Descr:Diamond 32Sec:PPD        Trace#:103107390758634
           Eed:250324    Ind ID:                  Ind Name:Diamond Trn:
           0830758634Tc

03/24      Orig CO Name:Amazon.CA5318805            Orig ID:1912089241 Desc Date:                                        336.91
           CO Entry Descr:EDI Pymntssec:CCD        Trace#:091000014412703
           Eed:250324    Ind ID:Fcs002779265412           Ind Name:Diamond Comic
           Distribu                                                          EDI Trn:
           0804412703Tc

03/24      Orig CO Name:American Express         Orig ID:1134992250 Desc Date:250321                                     211.63
           CO Entry Descr:Settlementsec:CCD       Trace#:091000014412705 Eed:250324
           Ind ID:1199200593              Ind Name:Diamond Comi1199200593
           Payment Date 25081 Trn: 0804412705Tc

03/24      Orig CO Name:American Express         Orig ID:1134992250 Desc Date:250322                                     126.77
           CO Entry Descr:Settlementsec:CCD       Trace#:091000012687617 Eed:250324
           Ind ID:1199200593              Ind Name:Diamond Comi1199200593
           Payment Date 25083 Trn: 0832687617Tc

03/25      Chips Credit Via: Bank of America, N.A./0959 B/O: Fantasiapelit Tudeer Oy Fi                           16,360.02
           9845005Db590F3B0C865 Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt
           Valley MD 21030- US/Ac-              6410 Org=/Fi5957880020077480 Fi
           9845005Db590F3B0C865 Ogb=Op Corpor Ate Bank Plc Helsinki Finland
           00510 - Fi Obi=/Uri/Customer 90146 Fa Ssn: 00339979 Trn: 0087984084Fc
           YOUR REF: 2025032500305845

03/25      Real Time Transfer Recd From Aba/Contr Bnk-021000021        From:                                      11,092.31
           Bnf-Principia Discordia Di Piermaria MA Ref: 1270241683-90682 Info: Text-
           Iid: 20250325021000021P1Brjpc01680169880 Recd: 19:45:36 Trn:
           1270552084Gb
           YOUR REF: 1270241683-90682

03/25      Fedwire Credit Via: Bmo Bank N.A./071000288 B/O: Booktopia Direct Pty Ltd                                7,487.96
           th Nsw 2136 Australia Ref: Chase Nyc/Ctr/Bnf=Diamond Comic Distributors,
           Inc. Hunt Valley MD 2103 0- US/Ac-           6410 Rfb=O/B Bmo B Ank NA
           Bbi=/Chgs/USD0,/Ocmt/USD7487 ,96/ Imad: 0325G1Qg750C000119 Trn:
           0051281084Ff
           YOUR REF: O/B BMO BANK NA

03/25      Book Transfer Credit B/O: Aus Merchant Services, Inc Sunnyvale CA                                        6,397.33
           94085-3542 US Org:/2121120029239167 All Star Comics Melbourne Pty Ltd 5
           Ref: 2130722007C Trn: 0003600084Jo
           YOUR REF: CAP OF 25/03/25

03/25      Fedwire Credit Via: Bank of America, N.A./         9593 B/O: 1/Enno Fred                                 5,967.03
           Haede 3/DE/49090 Osnabruck Ref: Chase Nyc/Ctr/Bnf=Diamond Comic
           Distributors, Inc. Hunt Valley MD 2103 0- US/Ac-           6410
           Rfb=Azna50800 5870900 Obi=/Uri/Invoice 27Dec,28Ja N,7Feb,10Feb
           ,21Feb,26Feb Imad: 0325B6B7Hu3R001908 Trn: 0044511084Ff
           YOUR REF: AZNA508005870900

03/25      Book Transfer Credit B/O: Aus Merchant Services, Inc Sunnyvale CA                                        2,072.44
           94085-3542 US Org:/2121120044800812 Joseph Italiano And Peter M
           Hughes Trn: 3407800084Jo
           YOUR REF: CAP OF 25/03/25




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Deposits and Credits       (continued)

Ledger     Description                                                                                               Amount
Date

03/25      Chips Credit Via: The Bank of New York Mellon/0001 B/O: Kirsty Leeann                                    1,081.30
           Litkowski Vic Australia 3808 Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt
           Valley MD 21030- US/Ac-                 6410 Org=/167234384 Vic Austral IA
           3808 Ogb=/008873 Notprovided Obi =/Uri/92579Shq, 09541207, 08574358, 0
           9233436 Plus 25 Trans Fee B Ssn: 00101182 Trn: 0024563084Fc
           YOUR REF: EB809310 -01

03/25      Book Transfer Credit B/O: Bank of East Asia Limited Hong Kong Hong Kong                                       736.49
           Hk Org:/015-523-68015787 Heitang Limited Ref:
           93281/Chgs/USD0,/Chgs/USD23,00/Ocmt/USD759,49/ Trn: 0005317084Fs
           YOUR REF: SWF OF 25/03/25

03/25      Book Transfer Credit B/O: Convera Uk Limited London United Kingdom Ec2A                                       564.91
           -1Ah Gb Org:/14006-Hk Periplus Holdings Ltd Ogb: Convera Uk Limited
           Alphabeta Building Ref:/Ocmt/USD564,91/ Trn: 5247469084Fs
           YOUR REF: SWF OF 25/03/25

03/25      Lockbox No: 22023 For 30 Items At 16:00 5 Trn: 2501677084Lb                                            44,414.69

03/25      Orig CO Name:Forte                 Orig ID:5330903620 Desc Date:250324 CO                            197,354.80
           Entry Descr:186002     Sec:CCD      Trace#:242071750880706 Eed:250325
           Ind ID:ACH-0324-677B0               Ind Name:Diamond Comic Distribu Trn:
           0830880706Tc

03/25      Orig CO Name:Bigbadtoystore I           Orig ID:9860975329 Desc Date:        CO                      172,035.84
           Entry Descr:ACH Paymensec:CCD            Trace#:091400170880701 Eed:250325
           Ind ID:6586483                  Ind Name:Diamond Comics Distrib      272749
           Trn: 0830880701Tc

03/25      Orig CO Name:UPS-Capital                Orig ID:2362407381 Desc Date:032125                            44,506.74
           CO Entry Descr:Cod Pymts Sec:CCD           Trace#:242071752323079
           Eed:250325    Ind ID:V40931 - 000002              Ind Name:Diamond Comics
           Trn: 0842323079Tc

03/25      Orig CO Name:UPS-Capital                Orig ID:2362407381 Desc Date:032025                            37,319.58
           CO Entry Descr:Cod Pymts Sec:CCD           Trace#:242071750880710
           Eed:250325    Ind ID:V40931 - 000002              Ind Name:Diamond Comics
           Trn: 0830880710Tc

03/25      Orig CO Name:UPS-Capital                Orig ID:2362407381 Desc Date:031925                            19,744.61
           CO Entry Descr:Cod Pymts Sec:CCD           Trace#:242071750880699
           Eed:250325    Ind ID:V40931 - 000002              Ind Name:Diamond Comics
           Trn: 0830880699Tc

03/25      Orig CO Name:Paymentech                 Orig ID:1020401225 Desc Date:250325                              9,125.93
           CO Entry Descr:Deposit        Sec:CCD    Trace#:021000022323083 Eed:250325
           Ind ID:6406596                  Ind Name:Diamond Comic Distribu Trn:
           0842323083Tc

03/25      Orig CO Name:Amazon.CA5324420               Orig ID:1912089241 Desc Date:                                     243.93
           CO Entry Descr:EDI Pymntssec:CCD           Trace#:091000010880708
           Eed:250325    Ind ID:Fcs002782123692               Ind Name:Diamond Comic
           Distribu                                                          EDI Trn:
           0830880708Tc

03/25      Orig CO Name:Gibson's Booksto            Orig ID:2020476683 Desc Date:       CO                               243.31
           Entry Descr:Diamond     Sec:CCD      Trace#:211470220880704 Eed:250325
           Ind ID:486224                   Ind Name:Diamond Comic Distribu Trn:
           0830880704Tc

03/25      Orig CO Name:Target Plus Part           Orig ID:1800948598 Desc Date:        CO                               232.71
           Entry Descr:Target Plusec:CCD       Trace#:091000012323081 Eed:250325
           Ind ID:St-V5U6I9T3R0C3              Ind Name:Diamond Comic Distribu Trn:
           0842323081Tc

03/25      Orig CO Name:3Rd Universe Con             Orig ID:9200502235 Desc Date:250325                                  17.68
           CO Entry Descr:ACH Pmt         Sec:CCD     Trace#:021000020880712
           Eed:250325    Ind ID:11165295115                 Ind Name:Diamond Comic
           Distribu   70192 Acc. 20250312 Trn: 0830880712Tc




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Date

03/26      Book Transfer Credit B/O: Australia And New Zealand Banking Richmond Vic                             10,206.92
           Australia 3121 - Au Org:/Cust/Au/Anzb/Mdz237578 1/Kings Corporation Pty
           Ltd T/As Ref: Payment For Invoices Dated 28th February To 4th March 2025.
           Accounts 9 0124, 92124 And
           90124A./Chgs/Aud0,/Chgs/USD10,00/Ocmt/USD10216,92/ Trn:
           7255253085Fs
           YOUR REF: SWF OF 25/03/26

03/26      Book Transfer Credit B/O: Skandinaviska Enskilda Banken Ab Stockholm                                   4,783.85
           Sweden Se106- 40 Se Org:/59368230102 Sf-Bokhandeln Ab (Publ) Ref:
           95583/Chgs/USD0,00/Chgs/USD25,00/Ocmt/USD4808,85/ Trn:
           9845337084Fs
           YOUR REF: SWF OF 25/03/25

03/26      Book Transfer Credit B/O: Aus Merchant Services, Inc Sunnyvale CA                                      4,675.51
           94085-3542 US Org:/2121120029312200 Trading Cards Australia Pty. Ltd. 1
           Ref: Invoice 03/13/25 03/21/25 Trn: 8614500084Jo
           YOUR REF: CAP OF 25/03/25

03/26      Book Transfer Credit B/O: Dnb Norway Norway No Org:/No4315067980430                                    2,484.25
           Outland As Ogb: Dnb Dnb Nor Bank Asa Ref:
           Cinv/250307-Outland-90121/Ocmt/USD2484,25/ Trn: 2040879085Js
           YOUR REF: SWF OF 25/03/26

03/26      Book Transfer Credit B/O: Intesa Sanpaolo Spa Milano Italy It                                          1,381.58
           Org:/It74T0306909686100000001033 C23 S R L Ogb: Intesa Sanpaolo Spa
           Piazza Della Scala 6 Ref: Account 90063 Payment Invoice 01.27.25,
           01.09.25/Ocmt/USD1381,58/ Trn: 8327867083Fs
           YOUR REF: SWF OF 25/03/24

03/26      Book Transfer Credit B/O: Kbc Bank NV Brussels Belgium B-108-0 Be                                      1,309.74
           Org:/Be13734009276239 1/Pinceel Bv Ogb: Kbc Bank NV Havenlaan 2 Ref:
           90775/Ocmt/USD1309,74/ Trn: 2069242083Js
           YOUR REF: SWF OF 25/03/24

03/26      Chips Credit Via: The Bank of New York Mellon/0001 B/O: 1/Bonner Comic                                      932.55
           Laden Gmbh 3/DE/53111 Bonn Ref: Nbnf=Diamond Comic Distributors, Inc.
           Hunt Valley MD 21030- US/Ac-               6410
           Org=/DE7037050198001900320 1 3/DE/53111 Bonn Ogb=Sparkasse Koe
           Lnbonn 50667 Cologne, Germany Obi=/Uri/Acc.90813,,Gc F608250228,,0
           Ssn: 00095043 Trn: 0022922085Fc
           YOUR REF: 250324101A000192

03/26      Lockbox No: 22023 For 35 Items At 16:00 5 Trn: 2500144085Lb                                          77,101.75

03/26      Orig CO Name:Forte              Orig ID:5330903620 Desc Date:250325 CO                               89,714.34
           Entry Descr:186002    Sec:CCD     Trace#:242071757138467 Eed:250326
           Ind ID:ACH-0325-Ecece            Ind Name:Diamond Comic Distribu Trn:
           0847138467Tc

03/26      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:032425                            60,112.32
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071756945827
           Eed:250326    Ind ID:V40931 - 000002              Ind Name:Diamond Comics
           Trn: 0856945827Tc

03/26      Orig CO Name:Hour Loop Inc            Orig ID:9186939000 Desc Date:     CO                             4,427.19
           Entry Descr:39226    Sec:CCD     Trace#:074920904532775 Eed:250326          Ind
           ID:                  Ind Name:Diamond Comic Distribu        Hour Loop Inc
           Paying Bill 39226 Via Ramp Trn: 0854532775Tc

03/26      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250326                              3,535.50
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000026945829 Eed:250326
           Ind ID:6406596                Ind Name:Diamond Comic Distribu Trn:
           0856945829Tc




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03/26      Orig CO Name:Wal-Mart Stores           Orig ID:4216028   Desc Date:250325                                      935.74
           CO Entry Descr:816786745 Sec:CCD          Trace#:061120087138469
           Eed:250326    Ind ID:366184929498020             Ind Name:Diamond Comic
           Distribu   Wal-Mart Stores, Inc Payment
           4366184929498020 Trn: 0847138469Tc

03/26      Orig CO Name:Milenium Trade L          Orig ID:1472954249 Desc Date:         CO                                787.87
           Entry Descr:Payments Sec:CCD          Trace#:051000017138464 Eed:250326
           Ind ID:                    Ind Name:Diamond Comic Distribu      Nte*\ Trn:
           0847138464Tc

03/26      Orig CO Name:Heroes And Villa         Orig ID:9215986202 Desc Date:032125                                      402.84
           CO Entry Descr:Bill_Pay Sec:CCD        Trace#:021000027138472 Eed:250326
           Ind ID:Heroes And Vill          Ind Name:JPMorgan Chase Bank, N Trn:
           0847138472Tc

03/26      Orig CO Name:Barr Credit            Orig ID:4860906481 Desc Date:250325 CO                                     334.34
           Entry Descr:Trustremitsec:CCD       Trace#:091000017138462 Eed:250326
           Ind ID:2025-05(1)              Ind Name:Diamond Comic Distribu
           Trust Main Remit Trn: 0847138462Tc

03/27      Chips Credit Via: Mufg Bank Ltd./0963 B/O: Tsutaya Books Malaysia Sdn.                                    5,831.07
           Bhd. An Ismail 50250 Kl My Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt
           Valley MD 21030- US/Ac-0000 00006410 Org=/511-0000-759384 An Is Mail
           50250 Kl My Ogb=Mufg Bank (Mal Aysia) Berhad Kuala Lumpur Malaysia
           50450 My Obi=/Uri/Jan 25 Invoi Ssn: 00187506 Trn: 0049423086Fc
           YOUR REF: 644TTS50909400

03/27      Book Transfer Credit B/O: Firstrand Bank Ltd Head Office Incljohannesburg                                 1,123.49
           South Africa 2000 Za Org:/62091470345 1/Smallville Comics Cc Ogb:
           Firstrand Bank Ltd Head Office Inclfloor 2,4 First Place Bankcity
           Ref:/Roc/SD3Gr8Hgr5W52W41/Uri/Smallville
           Comics/Chgs/USD20,00/Ocmt/USD1143 ,49/Acc/Benefres/US Trn:
           2006626086Js
           YOUR REF: SWF OF 25/03/27

03/27      Book Transfer Credit B/O: Mizuho Bank Ltd Tokyo Tokyo Japan 10081-76 Jp                                        990.00
           Org:/01820012279267/0502556765 1/Saber Direct Inc, Ref:/Chgs/USD10,00/
           Trn: 8162538086Fs
           YOUR REF: SWF OF 25/03/27

03/27      Chips Credit Via: UBS Ag Stamford Branch/0799 B/O: Buchzentrum Ag (Bz)                                         674.13
           Ch 4614 Haegendorf Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley
           MD 21030- US/                 6410 Org=/Ch170026126169219460R Ch 4614
           Haegendorf Ogb=UBS Switzer Land Ag Zurich Switzerland 8001 - C H
           Obi=/Uri/659193, 558588, 559327, 6565 Ssn: 00033688 Trn: 0005575086Fc
           YOUR REF: KZA01097916-564+

03/27      Lockbox No: 22023 For 15 Items At 16:00 5 Trn: 2501207086Lb                                             18,024.94

03/27      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250327                             319,854.44
           CO Entry Descr:Deposit      Sec:CCD    Trace#:021000029923688 Eed:250327
           Ind ID:6406596                Ind Name:Diamond Comic Distribu Trn:
           0869923688Tc

03/27      Orig CO Name:Forte                 Orig ID:5330903620 Desc Date:250326 CO                               50,517.89
           Entry Descr:186002       Sec:CCD    Trace#:242071759923682 Eed:250327
           Ind ID:ACH-0326-E01C2               Ind Name:Diamond Comic Distribu Trn:
           0869923682Tc

03/27      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:032525                               43,918.19
           CO Entry Descr:Cod Pymts Sec:CCD         Trace#:242071750545151
           Eed:250327    Ind ID:V40931 - 000002            Ind Name:Diamond Comics
           Trn: 0850545151Tc

03/27      Orig CO Name:Things From Anot           Orig ID:9865782001 Desc Date:250327                             30,119.83
           CO Entry Descr:Corp Pay Sec:CCD         Trace#:021000020545148 Eed:250327
           Ind ID:                    Ind Name:Diamond Comic Distribu      60001, 60395,
           60400, 65286 - 1-23 T O 1-30 Invoices Trn: 0850545148Tc



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Date

03/27      Orig CO Name:UPS-Capital          Orig ID:2362407381 Desc Date:032625                                 19,907.88
           CO Entry Descr:Cod Pymts Sec:CCD        Trace#:242071759923684
           Eed:250327    Ind ID:V40931 - 000002          Ind Name:Diamond Comics
           Trn: 0869923684Tc

03/27      Orig CO Name:Newbury Comics            Orig ID:1042744540 Desc Date:                                    7,910.33
           CO Entry Descr:Payments Sec:CCD         Trace#:051000019817175
           Eed:250327    Ind ID:30000                Ind Name:Diamond Comics
           Nte*Vendor Payment\ Trn: 0869817175Tc

03/27      Orig CO Name:Amazon.CA5329621            Orig ID:1912089241 Desc Date:                                  2,143.76
           CO Entry Descr:EDI Pymntssec:CCD        Trace#:091000019923686
           Eed:250327    Ind ID:Fcs002786709332              Ind Name:Diamond Comic
           Distribu                                                         EDI Trn:
           0869923686Tc

03/27      Orig CO Name:Archonia            Orig ID:1204895317 Desc Date:         CO                               2,003.11
           Entry Descr:Bill.Com Sec:CCD     Trace#:021000020545153 Eed:250327           Ind
           ID:015Ljlrhape23Oz           Ind Name:Diamond Comic Distribu
           Archonia Bill.Com 015Ljlrha Pe23Oz Acct 91655 - Inv 250313-0923 3436 Trn:
           0850545153Tc

03/27      Orig CO Name:Amazon.Com Servi           Orig ID:9000012712 Desc                                              9.60
           Date:250325 CO Entry Descr:Payments      Sec:CCD
           Trace#:021000026479391 Eed:250327        Ind ID:Fcs002787785592
           Ind Name:Diamond Comic Distribu Trn: 0866479391Tc

03/28      Chips Credit Via: Citibank N.A./0008 B/O: 1/Fantastico Comic S DE Rl DE Cv                            11,781.80
           3/Mx/Benito Juarez Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley
           MD 21030- US/Ac-             6410 Org=/00002180700801086467
           3/Mx/Benito Juarez Ogb=Banco Nacion AL DE Mexico S.A. Mexico Mexico
           Mx Bbi=/Acc             00641000555 1/Dia    Ssn: 00618528 Trn:
           0153269087Fc
           YOUR REF: NOTPROVIDED

03/28      Chips Credit Via: Bank of America, N.A./0959 B/O: Arkus Studios Limited                               10,873.30
           Porirua Nz Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley MD
           21030- US/Ac-           6410 Org=/123141016027100 Porir Ua Nz
           Ogb=/006550995452 Asbbnz2Axxx Obi=/Uri/Invoice 10023 Arkus Studi Os Lt
           D(Arkus Games) Bbi=/Chgs/USD0 ,00/Chgs/U Ssn: 00114561 Trn:
           0027799087Fc
           YOUR REF: 2025032800128546

03/28      Chips Credit Via: Bank of America, N.A./0959 B/O: Penguin Random House                                  5,217.23
           India Pvt 26,Gurugram,Haryana 122002 IN Ref: Nbnf=Diamond Comic
           Distributors, Inc. Hunt Valley MD 21030- US/Ac-           6410
           Org=/62162475001 26,Gurugr Am,Haryana 122002 IN Ogb=/006550091 760
           Bofain4Xdel Obi=/Uri/Import Pym T/Indocs/Idstp-00 Ssn: 00293471 Trn:
           0074113087Fc
           YOUR REF: S0102

03/28      Book Transfer Credit B/O: Mizuho Bank Ltd. Bangkok Branch Bangkok                                       2,825.95
           Thailand 10500- th Org:/H10764011697 1/Kinokuniya Book Stores (Thailand
           Ref: Payment For Goods/Bnf/Addr Con.United States of America Trn:
           3658285087Fs
           YOUR REF: SWF OF 25/03/28

03/28      Book Transfer Credit B/O: Alior Bank Sa Warsaw Poland 02-23-2 Pl                                        2,453.14
           Org:/Pl94249010570000990162140036 Pmd Solutions S C Pawel Maslowski+
           Ogb: Alior Bank Sa Ul. Lopuszanska 38D
           Ref:/Roc/250326Osw003565/Uri/Account No
           91369/Chgs/USD10,00/Ocmt/USD2463,1
           4/Acc/Orderres/Pl/Benefres/US/Bnf/U S641000555 Diamond Comic Distributo
           Rs Master + Trn: 2064860085Js
           YOUR REF: SWF OF 25/03/26




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03/28      Chips Credit Via: Wells Fargo Bank, N.A./0509 B/O: Pandayan Superstores                                  2,113.10
           Inc Philippines Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley MD
           21030- US/Ac-            6410 Org=/038190000122 Philippi Nes Ogb=Asia
           United Bank Pasig City , Philippines Obi=/Uri/Inv/Supplier S Payment Invoice
           No 25022809541207 Qty: Ssn: 00313854 Trn: 0079289087Fc
           YOUR REF: 8925032803832289

03/28      Book Transfer Credit B/O: Australia And New Zealand Banking Richmond Vic                                 1,767.21
           Australia 3121 - Au Org:/Cust/Au/Anzb/Mdz471110 1/Christopher Joseph
           Topfer Tas Col Ref:/Chgs/Aud0,/Chgs/USD10,00/Ocmt/USD1777,21/ Trn:
           4664287087Fs
           YOUR REF: SWF OF 25/03/28

03/28      Book Transfer Credit B/O: Convera Uk Limited London United Kingdom Ec2A                                  1,492.85
           -1Ah Gb Org:/Ch-5186332 2139766 Ontario Inc Dba Heroes Ogb: Convera
           Uk Limited Alphabeta Building Ref: 250313-09254867/Ocmt/USD1492,85/
           Trn: 7334826087Fs
           YOUR REF: SWF OF 25/03/28

03/28      Chips Credit Via: Citibank N.A./0008 B/O: China National Publications Import                             1,297.66
           9th Rd Futian Dist Shenzhen China Ref: Nbnf=Diamond Comic Distributors,
           Inc. Hunt Valley MD 21030- US/Ac-            6410 Org=/755904953432201
           9th R D Futian Dist Shenzhen China Ogb=Ch Ina Merchants Bank Shenzhen
           China 5 18001 Cn Bbi=/Chg Ssn: 00234279 Trn: 0059987087Fc
           YOUR REF: NOTPROVIDED

03/28      Book Transfer Credit B/O: Finansbank A S Istanbul Turkiye 34394- Tr                                      1,232.00
           Org:/Tr800011100000000069090519 Gungezgini Yayincilik Ve Ticaret Ogb:
           Qnb Bank Anonim Sirketi Kristal Kule Binasi Ref: Inv. Date And No
           28/03/2025,250328 Trn: 2022244087Fs
           YOUR REF: SWF OF 25/03/28

03/28      Book Transfer Credit B/O: Commerzbank Aktiengesellschaft Frankfurt Am                                         975.00
           Main Germany 60311- DE Org:/DE33200400000222316200 1/Norbert Marek
           Templin Ogb: Commerzbank Ag Ness 7-9 Ref: 91355 Comic Room
           Hamburg/Chgs/USD25,00/ Trn: 2001980085Js
           YOUR REF: SWF OF 25/03/26

03/28      Book Transfer Credit B/O: Convera Uk Limited London United Kingdom Ec2A                                       862.58
           -1Ah Gb Org:/Ch-5186332 2139766 Ontario Inc Dba Heroes Ogb: Convera
           Uk Limited Alphabeta Building Ref: 250321-07313826/Ocmt/USD862,58/ Trn:
           1602698087Fs
           YOUR REF: SWF OF 25/03/28

03/28      Book Transfer Credit B/O: Convera Uk Limited London United Kingdom Ec2A                                       858.20
           -1Ah Gb Org:/Ch-5186332 2139766 Ontario Inc Dba Heroes Ogb: Convera
           Uk Limited Alphabeta Building Ref:/Ocmt/USD858,20/ Trn: 4927905087Fs
           YOUR REF: SWF OF 25/03/28

03/28      Chips Credit Via: Citibank N.A./0008 B/O: 671118 Mekanik B.V.B.A. Be Ref:                                     720.47
           Nbnf=Diamond Comic Distributors, Inc. Hunt Valley MD 21030- US/Ac-
               6410 Org=/36396246 Be Ogb=Citib Ank N.A. New York NY US
           Obi=/Uri/IN S/Eburgb2L20250227 Bbi=/Chgs/USD0,0 0/Ocmt/USD720,47/
           Ssn: 00190520 Trn: 0049853087Fc
           YOUR REF: NOTPROVIDED

03/28      Book Transfer Credit B/O: Nordea Bank Abp, Filial I Sverige Stockholm                                         340.34
           Sweden Se-105 71 Se Org:/Se4595000099602601072438 Seriezonen Ab
           Ref: Invoice 250228 09541207/Chgs/USD0,/Ocmt/USD340,34/ Trn:
           1647605086Fs
           YOUR REF: SWF OF 25/03/27

03/28      Book Transfer Credit B/O: Commonwealth Bank of Australia Sydney Nsw                                           316.50
           Australia 2000 - Au Org:/06317211235948 Mark Catania Ref: Supplier Invoice
           Dcd Acc92567 Big City Comics Invoice 25031309233436/O Cmt/USD316,5/
           Trn: 0429718087Fs
           YOUR REF: SWF OF 25/03/28




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03/28      Book Transfer Credit B/O: Convera Uk Limited London United Kingdom Ec2A                                           83.46
           -1Ah Gb Org:/Ch-5186332 2139766 Ontario Inc Dba Heroes Ogb: Convera
           Uk Limited Alphabeta Building Ref: 250324-10123141/Ocmt/USD83,46/ Trn:
           3092714087Fs
           YOUR REF: SWF OF 25/03/28

03/28      Book Transfer Credit B/O: Convera Uk Limited London United Kingdom Ec2A                                           66.09
           -1Ah Gb Org:/Ch-5186332 2139766 Ontario Inc Dba Heroes Ogb: Convera
           Uk Limited Alphabeta Building Ref: 250306-08501032/Ocmt/USD66,09/ Trn:
           4927965087Fs
           YOUR REF: SWF OF 25/03/28

03/28      Book Transfer Credit B/O: Convera Uk Limited London United Kingdom Ec2A                                           62.89
           -1Ah Gb Org:/Ch-5186332 2139766 Ontario Inc Dba Heroes Ogb: Convera
           Uk Limited Alphabeta Building Ref:/Ocmt/USD62,89/ Trn: 7334766087Fs
           YOUR REF: SWF OF 25/03/28

03/28      Lockbox No: 22023 For 67 Items At 16:00 5 Trn: 2502658087Lb                                               78,188.91

03/28      Orig CO Name:Forte                   Orig ID:5330903620 Desc Date:250327 CO                             163,823.12
           Entry Descr:186002       Sec:CCD      Trace#:242071756409316 Eed:250328
           Ind ID:ACH-0327-99479                 Ind Name:Diamond Comic Distribu Trn:
           0876409316Tc

03/28      Orig CO Name:American Express               Orig ID:1134992250 Desc Date:250327                           45,682.04
           CO Entry Descr:Settlementsec:CCD            Trace#:091000013997323 Eed:250328
           Ind ID:1199200593                   Ind Name:Diamond Comi1199200593
           Payment Date 25087 Trn: 0863997323Tc

03/28      Orig CO Name:UPS-Capital                  Orig ID:2362407381 Desc Date:032725                             30,360.62
           CO Entry Descr:Cod Pymts Sec:CCD             Trace#:242071753997325
           Eed:250328       Ind ID:V40931 - 000002             Ind Name:Diamond Comics
           Trn: 0863997325Tc

03/28      Orig CO Name:Discount Comic B               Orig ID:9200502235 Desc Date:250328                           16,275.85
           CO Entry Descr:ACH Pmt           Sec:CCD     Trace#:021000023997327
           Eed:250328       Ind ID:11166804414                Ind Name:Diamond Comic
           Distribu       Document 88162 Trn: 0863997327Tc

03/28      Orig CO Name:Hot Topic                Orig ID:3770198182 Desc Date:        CO                               9,120.00
           Entry Descr:Ap Paymentsec:PPD             Trace#:091000013997321 Eed:250328
           Ind ID:1   -     10088            Ind Name:Diamond Comics Distrib Trn:
           0863997321Tc

03/28      Orig CO Name:Rarewaves-USA IN                Orig ID:1820233691 Desc                                        4,335.99
           Date:250328 CO Entry Descr:Payment            Sec:CCD
           Trace#:022000023997319 Eed:250328             Ind ID:Diamond               Ind
           Name:Diamond Comic Dist Ch
           Hdd297374A015Ot Trn: 0863997319Tc

03/28      Orig CO Name:Paymentech                   Orig ID:1020401225 Desc Date:250328                               2,682.16
           CO Entry Descr:Deposit          Sec:CCD    Trace#:021000026409318 Eed:250328
           Ind ID:6406596                    Ind Name:Diamond Comic Distribu Trn:
           0876409318Tc

03/28      Orig CO Name:Edubooks Inc                 Orig ID:S941687665 Desc Date:250328                                    925.00
           CO Entry Descr:Vendor Pmtsec:CTX             Trace#:113000026409312
           Eed:250328       Ind ID:780448546                 Ind Name:0000Diamond Book
           Dis                                                             Onlne
           Trnsfr88871071 Trn: 0876409312Tc

03/28      Orig CO Name:Work IN Progress               Orig ID:S941687665 Desc Date:250328                                  326.75
           CO Entry Descr:Sender           Sec:CTX    Trace#:113000026409314 Eed:250328
           Ind ID:780976654                   Ind Name:0000Diamond Comic Di
           Onlne Trnsfr88871070 Trn: 0876409314Tc

03/28      Orig CO Name:Ag Adjustments                Orig ID:2132707646 Desc Date:250328                                   133.33
           CO Entry Descr:03/28/2025Sec:CCD             Trace#:021406660191938
           Eed:250328       Ind ID:Diamond Comic               Ind Name:Diamond Comic
           Distribu Trn: 0870191938Tc



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                                                                               Account Number:                    0555




Deposits and Credits      (continued)

Ledger     Description                                                                                                Amount
Date

03/31      Real Time Transfer Recd From Aba/Contr Bnk-021000021       From: Bnf-Worlds                             12,002.69
           End Comics Via Wise Ref: 1275979347-91060 Info: Text-     Iid:
           20250330021000021P1Brjpc01920035948 Recd: 16:29:34 Trn:
           0394792089Ge
           YOUR REF: 1275979347-91060

03/31      Real Time Transfer Recd From Aba/Contr Bnk-021000021       From: Bnf-Toynk                                4,093.15
           Toys LLC Via Wise Ref: 1277847475-347264266 Info: Text-      Iid:
           20250331021000021P1Brjpc02720177399 Recd: 19:22:58 Trn:
           1542092090Ge
           YOUR REF: 1277847475-347264266

03/31      Chips Credit Via: Bnp Paribas Sa New York Branch/0768 B/O: 1/Momie St                                     3,578.73
           Germain 3/Fr/75005 Paris Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt
           Valley MD 21030- US/Ac-             6410 Org=/Fr7630004034060001000
           294347 3/Fr/75005 Paris Ogb=Bnp Par Ibas Paris France 75009 Fr
           Obi=/Uri/90508Statement/Bbi=/Ocmt/USD3578, Ssn: 00000535 Trn:
           0001350090Fc
           YOUR REF: 90508STATEMENT

03/31      Real Time Transfer Recd From Aba/Contr Bnk-021000021       From:                                          2,674.43
           Bnf-Creative Games Studio LLC Via Wise Ref: 1276930460-000170 Info:
           Text-   Iid: 20250331021000021P1Brjpc02720084135 Recd: 07:38:04 Trn:
           1745322089Gd
           YOUR REF: 1276930460-000170

03/31      Book Transfer Credit B/O: Islandsbanki Hf. Reykjavik Iceland 155 - Is                                     2,605.18
           Org:/Is350537260061056105012650 Nexus Aftreying Ehf Ogb: Islandsbanki
           Hf. Kirkjusandi Ref: 7-3 424,11 14-3 1331,19 21-3 785,2127-3
           84,67/Chgs/USD20,00/Ocmt/USD26 25,18/ Trn: 2082238086Js
           YOUR REF: SWF OF 25/03/27

03/31      Chips Credit Via: Citibank N.A./0008 B/O: Minotaur (Entertainment) Pty Ltd                                2,299.37
           Ataustralia Ref: Nbnf=Diamond Comic Distributors, Inc. Hunt Valley MD
           21030- US/Ac-            6410 Org=/083125629889767768490 462 Australia
           Ogb=National Australi A Bank Limited Melbourne Australia Au
           Obi=/Uri/Minotaur Entertainment 90115 B Ssn: 00445420 Trn: 0105421090Fc
           YOUR REF: NOTPROVIDED

03/31      Book Transfer Credit B/O: Mizuho Bank Ltd Tokyo Tokyo Japan 10081-76 Jp                                   1,782.63
           Org:/01070012558541/0474014778 1/Engine.Inc.Ltd. Ref:/Chgs/USD10,00/
           Trn: 4119474090Fs
           YOUR REF: SWF OF 25/03/31

03/31      Book Transfer Credit B/O: Abn Amro Bank N V Head Office Amsterdam                                         1,748.02
           Netherlands 1000 -Ea Nl Org:/Nl29Abna0503019534 1/C.J.T. Kuijpers Ogb:
           Abn Amro Bank N V Head Office Foppingadree F 22 P O B 283
           Ref:/Roc/Ec5090O6Wb8Rit00/Uri/Account: 91278/Ocmt/USD1748,02/ Trn:
           2071860090Js
           YOUR REF: SWF OF 25/03/31

03/31      Book Transfer Credit B/O: Commonwealth Bank of Australia Sydney Nsw                                       1,524.45
           Australia 2000 - Au Org:/06500410411604 Dynamic Duo Comics Pty Ltd Ref:
           Supplier Invoice Invoice 503260/Ocmt/USD1524,45/ Trn: 2235188090Fs
           YOUR REF: SWF OF 25/03/31

03/31      Book Transfer Credit B/O: Tasman Foreign Exchange Pty Ltd Sydney                                               822.96
           Australia 2000 - Au Org:/183893 Impact Retail Pty Ltd Ref: Impact Retail Pty
           Ltd 92645 250313-09233436 Trn: 0797900090Jo
           YOUR REF: 661745

03/31      Real Time Transfer Recd From Aba/Contr Bnk-021000021       From:                                               668.26
           Bnf-Greenlight Comics Pty Ltd Via Wise Ref: 1277827069-92526 Info: Text-
           Iid: 20250331021000021P1Brjpc02720178157 Recd: 18:52:40 Trn:
           1104872090Gd
           YOUR REF: 1277827069-92526

03/31      Lockbox No: 22023 For 86 Items At 16:00 5 Trn: 2504997090Lb                                           100,306.98




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                                                                             Account Number:                     0555




Deposits and Credits      (continued)

Ledger     Description                                                                                               Amount
Date

03/31      Orig CO Name:Amazon.Com Servi            Orig ID:9000012712 Desc                                     873,843.99
           Date:250331 CO Entry Descr:Payments        Sec:CCD
           Trace#:021000025319603 Eed:250331          Ind ID:Fcs002791110032
           Ind Name:Diamond Comic Distribu Trn: 0875319603Tc

03/31      Orig CO Name:Forte                 Orig ID:5330903620 Desc Date:250328 CO                              82,070.36
           Entry Descr:186002       Sec:CCD     Trace#:242071755319609 Eed:250331
           Ind ID:ACH-0328-A81Fb                Ind Name:Diamond Comic Distribu Trn:
           0875319609Tc

03/31      Orig CO Name:UPS-Capital              Orig ID:2362407381 Desc Date:032825                              35,004.59
           CO Entry Descr:Cod Pymts Sec:CCD          Trace#:242071755319607
           Eed:250331     Ind ID:V40931 - 000002           Ind Name:Diamond Comics
           Trn: 0875319607Tc

03/31      Abr Special - A Increase                                                                               31,397.39

03/31      Orig CO Name:Vintage Stock            Orig ID:1431571679 Desc Date:250328                              17,048.87
           CO Entry Descr:Paymentjnlsec:CCD         Trace#:101006695319605 Eed:250331
           Ind ID:V000088                Ind Name:Diamond Comic Dist., Trn:
           0875319605Tc

03/31      Orig CO Name:Alliance Enterta         Orig ID:5550917836 Desc Date:       CO                           10,590.70
           Entry Descr:Corp Pmt Sec:CCD         Trace#:051000015319611 Eed:250331
           Ind ID:14043970Jbd                 Ind Name:Diamond Comic Distribu Trn:
           0875319611Tc

03/31      Orig CO Name:Amazon.CA5335207              Orig ID:1912089241 Desc Date:                                 4,625.03
           CO Entry Descr:EDI Pymntssec:CCD          Trace#:091000012526581
           Eed:250331     Ind ID:Fcs002791509012             Ind Name:Diamond Comic
           Distribu                                                          EDI Trn:
           0902526581Tc

03/31      Orig CO Name:Follett Content          Orig ID:6872968865 Desc Date:       CO                             3,289.03
           Entry Descr:00000985/1Sec:CCD         Trace#:111000027051176 Eed:250331
           Ind ID:1727429                Ind Name:Diamond Book Distribut
           Rmr*Ik*ACH\ Trn: 0907051176Tc

03/31      Orig CO Name:Square Inc              Orig ID:O800429876 Desc Date:250331                                 1,327.29
           CO Entry Descr:Zonecomicssec:CCD          Trace#:091000012526579
           Eed:250331     Ind ID:T34Bxs415Eaft5W             Ind Name:Diamond Comic
           Distribu                                                          T2154473
           Trn: 0902526579Tc

03/31      Orig CO Name:Carolina Comics           Orig ID:444887153   Desc Date:Mar 31                                   960.56
           CO Entry Descr:Diamond 32Sec:PPD          Trace#:103107397051174
           Eed:250331     Ind ID:                    Ind Name:Diamond Trn:
           0907051174Tc

03/31      Orig CO Name:Square Inc              Orig ID:O800429876 Desc Date:250331                                      733.45
           CO Entry Descr:Zonecomicssec:CCD          Trace#:091000012526578
           Eed:250331     Ind ID:T3Ns8Saj93J5200            Ind Name:Diamond Comic
           Distribu                                                          T2154473
           Trn: 0902526578Tc

03/31      Orig CO Name:Continental Exc           Orig ID:AXXXXXXXX Desc Date:250331                                    396.48
           CO Entry Descr:P2P         Sec:Web     Trace#:081000032526583 Eed:250331
           Ind ID:92154                 Ind Name:Diamond Comic Distribu Trn:
           0902526583Tc

03/31      Orig CO Name:Amazon.Com Servi            Orig ID:9000012712 Desc                                               28.79
           Date:250331 CO Entry Descr:Payments        Sec:CCD
           Trace#:021000025319601 Eed:250331          Ind ID:Fcs002791645622
           Ind Name:Diamond Comic Distribu Trn: 0875319601Tc

Total                                                                                                     $11,291,308.47




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                                                                        Account Number:                    0555




Withdrawals and Debits

Ledger     Description                                                                                         Amount
Date

03/03      Orig CO Name:Paymentech             Orig ID:1020401225 Desc Date:250303                        $31,457.98
           CO Entry Descr:Deposit    Sec:CCD    Trace#:021000024432098 Eed:250303
           Ind ID:6406596              Ind Name:Diamond Comic Distribu Trn:
           0624432098Tc

03/03      Loan Principal Payment                                                                         415,555.21

03/03      Loan Principal Payment                                                                           54,240.64

03/03      Loan Principal Payment                                                                           17,454.72

03/03      Loan Principal Payment                                                                             1,440.00

03/03      Loan Principal Payment                                                                             1,143.10

03/03      Loan Principal Payment                                                                                   27.49

03/04      Loan Principal Payment                                                                         492,274.17

03/04      Loan Principal Payment                                                                           74,217.00

03/04      Loan Principal Payment                                                                           22,236.22

03/04      Loan Principal Payment                                                                             8,811.66

03/04      Loan Principal Payment                                                                             8,640.43

03/04      Loan Principal Payment                                                                             5,793.47

03/04      Loan Principal Payment                                                                                  290.90

03/05      Loan Principal Payment                                                                         211,429.75

03/05      Loan Principal Payment                                                                           28,866.99

03/05      Loan Principal Payment                                                                           25,240.38

03/05      Loan Principal Payment                                                                             2,196.91

03/06      Loan Principal Payment                                                                         505,977.66

03/06      Loan Principal Payment                                                                           20,258.75

03/06      Loan Principal Payment                                                                             8,292.19

03/06      Loan Principal Payment                                                                             5,281.74

03/06      Loan Principal Payment                                                                                  270.84

03/07      Loan Principal Payment                                                                         305,531.54

03/07      Loan Principal Payment                                                                           44,990.00

03/07      Loan Principal Payment                                                                           35,814.76

03/07      Loan Principal Payment                                                                             9,807.33

03/07      Loan Principal Payment                                                                             4,682.50

03/07      Loan Principal Payment                                                                             1,594.26

03/10      Loan Principal Payment                                                                         228,985.55

03/10      Loan Principal Payment                                                                         121,082.30

03/10      Loan Principal Payment                                                                         111,215.31

03/10      Loan Principal Payment                                                                           38,652.01

03/10      Loan Principal Payment                                                                           29,622.94

03/11      Loan Principal Payment                                                                         359,320.86

03/11      Loan Principal Payment                                                                             6,682.64

03/11      Loan Principal Payment                                                                             5,111.96

03/11      Loan Principal Payment                                                                             3,913.06

03/12      Deposited Item Returned               000107850                         #                          6,800.00
           of Items00001

03/12      Loan Principal Payment                                                                         149,857.51

03/12      Loan Principal Payment                                                                           86,616.29

03/13      Loan Principal Payment                                                                         540,914.60

03/13      Loan Principal Payment                                                                           18,565.73

03/13      Loan Principal Payment                                                                           16,037.10

03/13      Loan Principal Payment                                                                           15,239.23

03/13      Loan Principal Payment                                                                             2,680.79

03/13      Loan Principal Payment                                                                             1,180.11

03/13      Loan Principal Payment                                                                                  752.98

03/14      Loan Principal Payment                                                                         453,684.09



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                                                                Account Number:                    0555




Withdrawals and Debits      (continued)

Ledger     Description                                                                                 Amount
Date

03/14      Loan Principal Payment                                                                   48,317.76

03/14      Loan Principal Payment                                                                     7,005.15

03/14      Loan Principal Payment                                                                     1,900.89

03/17      Loan Principal Payment                                                               1,223,947.04

03/17      Loan Principal Payment                                                                   64,173.02

03/17      Loan Principal Payment                                                                     9,843.90

03/17      Loan Principal Payment                                                                     9,036.36

03/17      Loan Principal Payment                                                                     1,807.12

03/17      Loan Principal Payment                                                                          516.76

03/17      Loan Principal Payment                                                                          212.64

03/18      Loan Principal Payment                                                                 424,357.41

03/18      Loan Principal Payment                                                                 155,016.43

03/18      Loan Principal Payment                                                                   16,249.19

03/18      Loan Principal Payment                                                                     6,989.12

03/19      Loan Principal Payment                                                                 137,183.99

03/19      Loan Principal Payment                                                                 129,985.00

03/19      Loan Principal Payment                                                                   43,105.18

03/19      Loan Principal Payment                                                                   42,123.61

03/19      Loan Principal Payment                                                                     6,376.89

03/19      Loan Principal Payment                                                                          616.68

03/20      Loan Principal Payment                                                                 418,173.31

03/20      Loan Principal Payment                                                                 148,479.50

03/20      Loan Principal Payment                                                                   12,606.65

03/20      Loan Principal Payment                                                                     1,374.15

03/21      Loan Principal Payment                                                                 280,034.02

03/21      Loan Principal Payment                                                                 159,929.02

03/21      Loan Principal Payment                                                                   40,863.13

03/21      Loan Principal Payment                                                                     9,401.52

03/21      Loan Principal Payment                                                                     6,312.46

03/21      Loan Principal Payment                                                                          226.11

03/24      Loan Principal Payment                                                                 293,118.31

03/24      Loan Principal Payment                                                                   85,077.52

03/24      Loan Principal Payment                                                                   25,210.67

03/24      Loan Principal Payment                                                                     1,854.13

03/24      Loan Principal Payment                                                                     1,296.21

03/25      Loan Principal Payment                                                                 521,492.61

03/25      Loan Principal Payment                                                                   43,318.38

03/25      Loan Principal Payment                                                                     3,225.59

03/25      Loan Principal Payment                                                                     1,096.31

03/26      Loan Principal Payment                                                                 181,597.35

03/26      Loan Principal Payment                                                                   75,684.11

03/26      Loan Principal Payment                                                                   11,092.31

03/26      Loan Principal Payment                                                                     4,427.19

03/26      Loan Principal Payment                                                                          891.94

03/27      Loan Principal Payment                                                                 477,083.79

03/27      Loan Principal Payment                                                                   18,024.94

03/27      Loan Principal Payment                                                                          525.70

03/27      Loan Principal Payment                                                                            9.60

03/28      Loan Principal Payment                                                                 303,663.43

03/28      Loan Principal Payment                                                                   52,577.72

03/28      Loan Principal Payment                                                                   22,617.21

03/28      Loan Principal Payment                                                                   11,781.80

03/28      Loan Principal Payment                                                                     7,910.33

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                                                                           Account Number:                     0555




Withdrawals and Debits       (continued)

Ledger     Description                                                                                             Amount
Date

03/28      Loan Principal Payment                                                                                 3,426.07

03/28      Loan Principal Payment                                                                                 2,993.98

03/31      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250331                            31,368.66
           CO Entry Descr:Deposit    Sec:CCD      Trace#:021000024848043 Eed:250331
           Ind ID:6406596                  Ind Name:Diamond Comic Distribu Trn:
           0904848043Tc

03/31      Orig CO Name:Paymentech               Orig ID:1020401225 Desc Date:250331                                    28.73
           CO Entry Descr:Deposit    Sec:CCD      Trace#:021000024848041 Eed:250331
           Ind ID:6406596                  Ind Name:Diamond Comic Distribu Trn:
           0904848041Tc

03/31      Loan Principal Payment                                                                           1,054,708.01

03/31      Loan Principal Payment                                                                               87,107.69

03/31      Loan Principal Payment                                                                               12,257.24

03/31      Loan Principal Payment                                                                                      133.33

Total                                                                                                   $11,282,498.52




Daily Balance


                                               Ledger                                                                  Ledger
Date                                          Balance       Date                                                   Balance

03/03                                       $5,793.47       03/18                                             $42,123.61
03/04                                           $0.00       03/19                                               $1,374.15
03/05                                       $8,292.19       03/20                                                  $226.11
03/06                                       $1,594.26       03/21                                               $1,296.21
03/07                                      $38,652.01       03/24                                               $3,225.59
03/10                                       $3,913.06       03/25                                             $11,092.31
03/11                                           $0.00       03/26                                                  $525.70
03/12                                         $752.98       03/27                                               $7,910.33
03/13                                           $0.00       03/28                                                  $133.33
03/14                                         $516.76       03/31                                               $9,953.05
03/17                                   $155,016.43




          Your service charges, fees and earnings credit have been calculated through account analysis.




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                                                                                         March 01, 2025 through March 31, 2025
        JPMorgan Chase Bank, N.A.
                                                                                       Account Number:                     5979
        P O Box 182051
        Columbus, OH 43218 - 2051
                                                                                         Customer Service Information

                                                                                    If you have any questions about your
                                                                                    statement, please contact your
                                                                                    Customer Service Professional.
       00097761 WBS 802 211 09125 NNNNNNNNNNN   1 000000000 C1 0000


       DIAMOND COMIC DISTRIBUTORS, INC.
       OPERATING ACCOUNT
       --
       10150 YORK RD
       HUNT VALLEY MD 21030-3340




Commercial Checking

Summary
                                                                      Number                 Market Value/Amount                      Shares


Opening Ledger Balance                                                                             $303,834.92


Deposits and Credits                                                     59                   $10,360,109.00


Withdrawals and Debits                                                 164                    $10,574,442.98


Checks Paid                                                               0                               $0.00


Ending Ledger Balance                                                                               $89,500.94


Deposits and Credits

Ledger              Description                                                                                                    Amount
Date

03/03              Remote Online Deposit            5979                                                                     $38,099.81

03/03              Abr Special - A Increase                                                                                  510,000.00

03/03              Abr Special - A Increase                                                                                  160,000.00

03/03              Abr Special - A Increase                                                                                       10,000.00

03/03              Orig CO Name:ADP Wage Garn                Orig ID:9333006057 Desc                                                191.66
                   Date:250303 CO Entry Descr:Wage Garn Sec:CCD
                   Trace#:021000025080157 Eed:250303            Ind ID:180078034748Svf              Ind
                   Name:Diamond Comic Distribu
                           036 Trn: 0625080157Tc

03/04              Orig CO Name:Diamond Comic D              Orig ID:9775979001 Desc Date:                                          906.74
                   CO Entry Descr:Rtn Offsetsec:CCD          Trace#:021000028117838 Eed:250304
                   Ind ID:9775979001                 Ind Name:Diamond Comic D                EFT
                   Return Items Offset For File Da Te       03/04/25 Origin# 9090209001      Blk#063
                   Trn: 0638117838Tc

03/05              Remote Online Deposit            5979                                                                            935.45

03/05              Abr Special - A Increase                                                                                  650,000.00

03/06              Book Transfer Credit B/O: Diamond Comic Distributors, Inc Hunt Valley MD                                       40,000.00
                          -3340 US Trn: 8499100065Jo
                   YOUR REF: ATS OF 25/03/06

* Annual Percentage Yield Earned - the percentage rate earned if balances remain on deposit for a full year with compounding, no

change in the interest rate and all interest rate and all interest is left in the account.



Please examine this statement of account at once. By continuing to use the account, you agree that: (1) the account is subject to

the Bank's deposit account agreement, and (2) the Bank has no responsibility for any error in or improper charge to the account

(including any unauthorized or altered check) unless you notify us in writing of this error or charge within sixty days of the mailing or

availability of the first statement on which the error or charge appears.
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                                                                          Account Number:                     5979




Deposits and Credits     (continued)

Ledger     Description                                                                                               Amount
Date

03/06      Remote Online Deposit         5979                                                                        940.00

03/06      Abr Special - A Increase                                                                       1,200,000.00

03/07      Remote Online Deposit         5979                                                                    4,175.06

03/07      Abr Special - A Increase                                                                          675,000.00

03/10      Remote Online Deposit         5979                                                                  26,731.43

03/10      Abr Special - A Increase                                                                          480,000.00

03/10      Abr Special - A Increase                                                                          125,000.00

03/10      JPMorgan Access Transfer From Account                  8539                                         11,170.41
           YOUR REF: 1001790069SB

03/11      Remote Online Deposit         5979                                                                    2,559.92

03/11      Abr Special - A Increase                                                                          175,000.00

03/11      Orig CO Name:Hnb - Echo              Orig ID:1341858386 Desc Date:250311                                   93.00
           CO Entry Descr:ACH Xfr      Sec:CCD    Trace#:044000021360603 Eed:250311
           Ind ID:341679762/00000           Ind Name:6668949
           341679762/0000068385 Trn: 0701360603Tc

03/11      Orig CO Name:Hnb - Echo              Orig ID:1341858386 Desc Date:250311                                   77.00
           CO Entry Descr:ACH Xfr      Sec:CCD    Trace#:044000021360601 Eed:250311
           Ind ID:341718412/00000           Ind Name:6669092
           341718412/0000068349 Trn: 0701360601Tc

03/11      Orig CO Name:Bancorpsv               Orig ID:1050006509 Desc Date:250311                                   40.00
           CO Entry Descr:Bancorpsv Sec:CCD        Trace#:031101119320145
           Eed:250311    Ind ID:99995                 Ind Name:Luminare Health Benefi
           Wh-Luminare Health Benefits Inc-999 95-Settle Credit                       W0
           Trn: 0699320145Tc

03/12      Remote Online Deposit         5979                                                                    7,326.17

03/12      Abr Special - A Increase                                                                          350,000.00

03/13      Abr Special - A Increase                                                                          550,000.00

03/14      Remote Online Deposit         5979                                                                    5,244.98

03/14      Deposit    1156253726                                                                                     920.00

03/14      Abr Special - A Increase                                                                          390,000.00

03/17      Book Transfer Credit B/O: Diamond Comic Distributors, Inc Hunt Valley MD                            50,000.00
                 3340 US Trn: 6888500076Jo
           YOUR REF: ATS OF 25/03/17

03/17      Remote Online Deposit         5979                                                                  25,684.81

03/18      Orig CO Name:Diamond Comic D            Orig ID:9775979001 Desc Date:                                     670.75
           CO Entry Descr:Rtn Offsetsec:CCD       Trace#:021000026149697 Eed:250318
           Ind ID:9775979001              Ind Name:Diamond Comic D              EFT
           Return Items Offset For File Da Te     03/18/25 Origin# 9090209001   Blk#077
           Trn: 0776149697Tc

03/18      Orig CO Name:Hnb - Echo              Orig ID:1341858386 Desc Date:250318                                  195.00
           CO Entry Descr:ACH Xfr      Sec:CCD    Trace#:044000026149692 Eed:250318
           Ind ID:342418651/00000           Ind Name:6704473
           342418651/0000068428 Trn: 0776149692Tc

03/18      Orig CO Name:Hnb - Echo              Orig ID:1341858386 Desc Date:250318                                  182.90
           CO Entry Descr:ACH Xfr      Sec:CCD    Trace#:044000026149694 Eed:250318
           Ind ID:342407782/00000           Ind Name:6704431
           342407782/0000068427 Trn: 0776149694Tc

03/18      Orig CO Name:Bancorpsv               Orig ID:1050006509 Desc Date:250318                                   35.18
           CO Entry Descr:Bancorpsv Sec:CCD        Trace#:031101112935424
           Eed:250318    Ind ID:99995                 Ind Name:Luminare Health Benefi
           Wh-Luminare Health Benefits Inc-999 95-Settle Credit                       W0
           Trn: 0762935424Tc

03/19      Remote Online Deposit         5979                                                                    3,046.37

03/19      Abr Special - A Increase                                                                          520,000.00

03/20      Remote Online Deposit         5979                                                                    1,067.67



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Deposits and Credits     (continued)

Ledger     Description                                                                                                  Amount
Date

03/20      Abr Special - A Increase                                                                          1,250,000.00

03/20      Abr Special - A Increase                                                                               90,000.00

03/20      JPMorgan Access Transfer From Account                   8638                                           23,711.37
           YOUR REF: 1000988079SB

03/21      Remote Online Deposit          5979                                                                      1,439.72

03/21      Abr Special - A Increase                                                                             650,000.00

03/24      Remote Online Deposit          5979                                                                    42,744.61

03/24      Abr Special - A Increase                                                                             275,000.00

03/25      Remote Online Deposit          5979                                                                    21,043.47

03/25      Abr Special - A Increase                                                                               70,000.00

03/25      Orig CO Name:Bancorpsv               Orig ID:1050006509 Desc Date:250325                                      181.37
           CO Entry Descr:Bancorpsv Sec:CCD         Trace#:031101110671502
           Eed:250325    Ind ID:99995                  Ind Name:Luminare Health Benefi
           Wh-Luminare Health Benefits Inc-999 95-Settle Credit                       W0
           Trn: 0830671502Tc

03/26      Remote Online Deposit          5979                                                                      2,649.39

03/26      Abr Special - A Increase                                                                             200,000.00

03/26      JPMorgan Access Transfer From Account                   8398                                           15,000.00
           YOUR REF: 1005268085SB

03/27      Remote Online Deposit          5979                                                                    65,050.27

03/27      Abr Special - A Increase                                                                             525,000.00

03/27      Orig CO Name:Luminare Health           Orig ID:Q351846036 Desc Date:250326                             56,239.50
           CO Entry Descr:Payment       Sec:CCD     Trace#:111000020345706
           Eed:250327    Ind ID:S-003857                Ind Name:Diamond Comic
           Distribu   2025-03-21\
                               1843 Trn: 0850345706Tc

03/28      Remote Online Deposit          5979                                                                      3,928.89

03/28      Abr Special - A Increase                                                                             450,000.00

03/28      Orig CO Name:Renegade Games L             Orig ID:S941687665 Desc                                      90,141.68
           Date:250328 CO Entry Descr:Sender        Sec:CTX    Trace#:113000025882354
           Eed:250328    Ind ID:780975688                Ind Name:0000Diamond Comic
           Di                                                          Onlne
           Trnsfr88871070 Trn: 0875882354Tc

03/31      03/27/2025 Book Transfer Credit B/O: Lloyds Bank Plc London United                                     12,203.25
           Kingdom Ec2V -7Hn Gb Org: DDA/822839411 Lloyds Bank Plc Ref:/Bnf/Our
           Ref Jpm250326-008450 Rtn Dtd03/21/2025 Trn8049400080Jofor A M
           T12212.55 As Acct Closed Less Fe Es Trn: 1609500086Hh
           YOUR REF: NONREF

03/31      Remote Online Deposit          5979                                                                           481.17

03/31      Abr Special - A Increase                                                                             500,000.00

Total                                                                                                     $10,360,109.00



Withdrawals and Debits

Ledger     Description                                                                                                  Amount
Date

03/03      Orig CO Name:Paysimple Billin         Orig ID:5330903620 Desc Date:250301                                    $105.95
           CO Entry Descr:ACH         Sec:CCD     Trace#:091000013745362 Eed:250303
           Ind ID:800-466-0992               Ind Name:Diamond Comic Distri Trn:
           0623745362Tc

03/03      Fedwire Debit Via: Pncbank Pitt         0096 A/C: Aireit 2024 P2 LLC US Ref:                         196,021.97
           Inv Mar2025Rent Imad: 0303Mmqfmp2K043112 Trn: 9873100062Jo
           YOUR REF: NONREF




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Withdrawals and Debits          (continued)

Ledger     Description                                                                                                 Amount
Date

03/03      Fedwire Debit Via: Wells Fargo NA/         0248 A/C: Ara, Inc Minneapolis MN                        160,000.00
           55485-5917 US Ref:/Time/16:53 Imad: 0303Mmqfmp2L044096 Trn:
           9874700062Jo
           YOUR REF: NONREF

03/03      Book Transfer Debit A/C: UPS Supply Chain Solutions Inc Coppell TX                                  124,750.69
                 -3019 US Ref: Inv 0000072WY8065A 2000E6065A 8V8Y24065A
           982019065A E407W1065A V4092A6 5A V40931065A V4A168065A Trn:
           9873000062Jo
           YOUR REF: NONREF

03/03      Fedwire Debit Via: Bk Amer Nyc          9593 A/C: Luminare Health US Ref:                             64,618.98
           Inv March2025 Imad: 0303Mmqfmp2L044099 Trn: 9872900062Jo
           YOUR REF: NONREF

03/03      Book Transfer Debit A/C: Oversea Chinese Banking Corp Ltd Singapore                                   36,360.00
           Singapore 52968-0 Sg Ref: Inv Gt25020014 Trn: 9872700062Jo
           YOUR REF: NONREF

03/03      Fedwire Debit Via: Citizens Bank, NA          120 A/C: Titan Publishing Group                         26,657.63
           Ltd US Ref: Inv 022525 Imad: 0303Mmqfmp2K043114 Trn: 9872500062Jo
           YOUR REF: NONREF

03/03      Fedwire Debit Via: Citibank Nyc/        0089 A/C: Hachette Book Group US                              80,534.00
           Ref: Inv 76755206/Time/16:53 Imad: 0303Mmqfmp2L044104 Trn:
           9872600062Jo
           YOUR REF: NONREF

03/03      Book Transfer Debit A/C: Canadian Imperial Bank of Commerce Toronto On                                66,489.24
           Canada M5E 1-G4 CA Ref:/Bnf/Dyn Assn# 138 Trn: 9874800062Jo
           YOUR REF: NONREF

03/03      Fedwire Debit Via: Bk of Nyc         0018 A/C: Raymond James & Associates                             50,000.00
           Inc US Ref: Deal Code 59T964 Inv 185608418380/Bnf/Deal Code 59T964
           Imad: 0303Mmqfmp2M043029 Trn: 9873200062Jo
           YOUR REF: NONREF

03/03      Fedwire Debit Via: Key Bk Wash Tac/          0574 A/C: Paizo Inc US Ref: Inv                          26,791.91
           012625 Imad: 0303Mmqfmp2L044102 Trn: 9872400062Jo
           YOUR REF: NONREF

03/03      Fedwire Debit Via:          0358/121000358 A/C: Pai Technology Inc US Ref:                            23,772.00
           Inv 2024103743131/Time/16:53 Imad: 0303Mmqfmp2K043119 Trn:
           9872300062Jo
           YOUR REF: NONREF

03/03      Fedwire Debit Via: Old Evansville IN/       0012 A/C: Epost Global LLC US                               4,500.00
           Imad: 0303Mmqfmp2K043122 Trn: 9873400062Jo
           YOUR REF: NONREF

03/03      Fedwire Debit Via: TD Bank, NA          1360 A/C: Udon Entertainment Inc US                           28,142.18
           Ref: Inv 021625 Imad: 0303Mmqfmp2L044105 Trn: 9872800062Jo
           YOUR REF: NONREF

03/03      Fedwire Debit Via: Pncbank NJ           7607 A/C: Dynamic Forces Inc US                               37,843.76
           Imad: 0303Mmqfmp2K044466 Trn: 0218000062Vb
           YOUR REF: NONREF

03/03      JPMorgan Access Transfer To Account                  8307                                             10,000.00
           YOUR REF: 1005949062SB

03/04      Orig CO Name:Bancorpsv              Orig ID:1050006509 Desc Date:250304                                 3,764.41
           CO Entry Descr:Bancorpsv Sec:CCD         Trace#:031101110674186
           Eed:250304    Ind ID:99994                  Ind Name:Luminare Health Benefi
           Wh-Luminare Health Benefits Inc-999 94-Settle Purchase
           W0 Trn: 0620674186Tc

03/04      Foreign Exchange Debit A/C: Foreign Cur Bus Acct Bk 1 Columbus Newark                                   5,855.47
           DE 197132107 US Org: 00000000381775979 Diamond Comic Distributors,
           Inc. Ben:/Gb85Nwbk60000136379867 Penquin Books Ltd Ref: Inv 92037465
           92043850/Ocmt/Gbp4486,26/Exch/1.3052/Cntr/47080140/ Trn:
           3791800063Re
           YOUR REF: 9377452


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Ledger     Description                                                                                                  Amount
Date

03/04      Orig CO Name:Diamond Comic D             Orig ID:9775979001 Desc Date:Prfund                           13,574.72
           CO Entry Descr:Corp Pay Sec:CCD          Trace#:021000022758973 Eed:250304
           Ind ID:9775979001                Ind Name:EFT File Name: Rp06330        ACH
           Origin#:9090209001 CO Eff: 25/ 03/04                               250304
           Rp063302 Trn: 0632758973Tc

03/05      Orig CO Name:Healthequity Inc         Orig ID:1522383166 Desc Date:04 Mar                                1,500.00
           CO Entry Descr:Healthequisec:PPD         Trace#:091000016087272 Eed:250305
           Ind ID:5897408                  Ind Name:Diamond Comic Distribu Trn:
           0636087272Tc

03/05      JPMorgan Access Transfer To Account                   8307                                             50,000.00
           YOUR REF: 1005789064SB

03/05      Book Transfer Debit A/C: ADP Client Trust Wilmington DE 19801- US Ref: Rbi                           372,557.71
           - ADP55Svf/Bnf/Rbi - ADP55Svf Trn: 8152500064Jo
           YOUR REF: NONREF

03/05      Book Transfer Debit A/C: ADP Client Trust Wilmington DE 19801- US Ref:                                 42,845.42
           Rbi-ADP55Sz5-A/Bnf/Rbi - ADP55Sz5-A Trn: 8149700064Jo
           YOUR REF: NONREF

03/05      Fedwire Debit Via: Old Evansville IN/        0012 A/C: Epost Global LLC US                               5,600.00
           Imad: 0305Mmqfmp2K033695 Trn: 8152400064Jo
           YOUR REF: NONREF

03/05      Book Transfer Debit A/C: ADP Client Trust Wilmington DE 19801- US Ref: Rbi                             48,041.64
           - ADP55CA9-A/Bnf/Rbi - ADP55CA9-A Trn: 8149600064Jo
           YOUR REF: NONREF

03/05      Orig CO Name:Diamond Comic D             Orig ID:9775979001 Desc Date:Prfund                         167,037.42
           CO Entry Descr:Corp Pay Sec:CCD          Trace#:021000025781062 Eed:250305
           Ind ID:9775979001                Ind Name:EFT File Name: Rp06462        ACH
           Origin#:9090209001 CO Eff: 25/ 03/05                               250305
           Rp06462P Trn: 0645781062Tc

03/06      Orig CO Name:Hnb-Luminare               Orig ID:1341858404 Desc Date:250306                            96,752.39
           CO Entry Descr:ACH Xfr    Sec:CCD        Trace#:044000028289502 Eed:250306
           Ind ID:Ecm5122                  Ind Name:6655779 Trn: 0658289502Tc

03/06      Orig CO Name:Hnb-Luminare               Orig ID:1341858404 Desc Date:250306                            12,637.34
           CO Entry Descr:ACH Xfr    Sec:CCD        Trace#:044000028289503 Eed:250306
           Ind ID:Ecm5122-R                  Ind Name:6655779 Trn: 0658289503Tc

03/06      Orig CO Name:ADP Wage Garn               Orig ID:9333006057 Desc                                         2,315.09
           Date:250306 CO Entry Descr:Wage Garn Sec:CCD
           Trace#:021000028894091 Eed:250306          Ind ID:661066533966Svf              Ind
           Name:Diamond Comic Distribu
           323298036 Trn: 0658894091Tc

03/06      JPMorgan Access Transfer To Account                   8398                                             52,690.20
           YOUR REF: 1004727065SB

03/06      Fedwire Debit Via: Citibank Nyc          0089 A/C: Hachette Book Group US                              53,819.56
           Ref: Inv 76779239/Time/15:33 Imad: 0306Mmqfmp2L030714 Trn:
           7818700065Jo
           YOUR REF: NONREF

03/06      Fedwire Debit Via: Citizens Bank, NA          0120 A/C: Titan Publishing Group                         43,728.63
           Ltd US Ref: Inv 022825 Imad: 0306Mmqfmp2N030677 Trn: 7818900065Jo
           YOUR REF: NONREF

03/06      Fedwire Debit Via: Mellon Bank Pitts         0261 A/C: Penguin Random House                          539,619.18
           LLC US Ref:/Bnf/Order#16072332,16023852 Imad: 0306Mmqfmp2L030716
           Trn: 7819000065Jo
           YOUR REF: NONREF

03/06      Fedwire Debit Via: Bk Comrce SD            5821 A/C: Ucc Distributing Inc US                           66,589.00
           Ref: Inv 169227, 168527 Imad: 0306Mmqfmp2N030676 Trn: 7818800065Jo
           YOUR REF: NONREF




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Ledger     Description                                                                                              Amount
Date

03/06      Book Transfer Debit A/C: Mizuho Bank Ltd Tokyo Tokyo Japan       81-76 Jp                          72,171.58
           Ref: Inv 300000000227/Acc/Swf/Mhbkjpjt Mizuho Bank Akasaka Branch Jp
           Trn: 7819400065Jo
           YOUR REF: NONREF

03/06      Book Transfer Debit A/C: ADP Client Trust Wilmington DE 19801- US Ref: Rbi                         17,487.21
           - ADP55CA9-A/Bnf/Rbi - ADP55CA9-A Trn: 7819100065Jo
           YOUR REF: NONREF

03/06      Book Transfer Debit A/C: ADP Client Trust San Dimas CA 91773- US Ref: Rbi                        138,287.83
           - ADP55Svf/Bnf/Rbi - ADP55Svf Trn: 7819700065Jo
           YOUR REF: NONREF

03/06      Book Transfer Debit A/C: ADP Client Trust Wilmington DE 19801- US Ref: Rbi                         22,882.47
           - ADP55Sz5-A/Bnf/Rbi - ADP55Sz5-A Trn: 7819800065Jo
           YOUR REF: NONREF

03/06      Book Transfer Debit A/C: Canadian Imperial Bank of Commerce Toronto On                             13,884.46
           Canada M5E 1-G4 CA Ref: Dyn Assgn #137 Trn: 8704100065Jo
           YOUR REF: NONREF

03/06      Orig CO Name:Diamond Comic D          Orig ID:9775979001 Desc Date:Prfund                        104,884.58
           CO Entry Descr:Corp Pay Sec:CCD         Trace#:021000028675373 Eed:250306
           Ind ID:9775979001              Ind Name:EFT File Name: Rp06553      ACH
           Origin#:9090209001 CO Eff: 25/ 03/06                            250306
           Rp065533 Trn: 0658675373Tc

03/06      Orig CO Name:Diamond Comic D          Orig ID:9775979001 Desc Date:Prfund                            3,766.00
           CO Entry Descr:Corp Pay Sec:CCD         Trace#:021000020750886 Eed:250306
           Ind ID:9775979001              Ind Name:EFT File Name: Rp0652Z       ACH
           Origin#:9090209001 CO Eff: 25/ 03/06                            250306
           Rp0652Z1 Trn: 0650750886Tc

03/07      Fedwire Debit Via: Pncbank Phil       0053 A/C: Saul Ewing IOLTA Escrow                          325,000.00
           US Ref: Inv 030625 Imad: 0307Mmqfmp2N030339 Trn: 6688400066Jo
           YOUR REF: NONREF

03/07      Fedwire Debit Via: TD Bank, NA        1360 A/C: Udon Entertainment Inc US                          50,099.85
           Ref: Inv 022325 Imad: 0307Mmqfmp2L030253 Trn: 6688300066Jo
           YOUR REF: NONREF

03/07      Fedwire Debit Via: Evolve B & T/0     6768 A/C: Dstlry Media, Inc US Ref:                          38,305.06
           Inv 022325 Imad: 0307Mmqfmp2K029444 Trn: 6688200066Jo
           YOUR REF: NONREF

03/07      Book Transfer Debit A/C: Canadian Imperial Bank of Commerce Toronto On                             44,661.24
           Canada M5E 1-G4 CA Ref: Inv 030625 12-194072A Trn: 6689500066Jo
           YOUR REF: NONREF

03/07      Fedwire Debit Via: Bk of Washngton MO/081902198 A/C: Oni-Lf Publishing                             39,088.62
           Group US Ref: Inv 022325 021625 Imad: 0307Mmqfmp2L030258 Trn:
           6689000066Jo
           YOUR REF: NONREF

03/07      Fedwire Debit Via: Southstate Bank/       4030 A/C: Kingstone Media Group                            2,060.56
           Inc. Leesburg FL 34748 US Ref: Inv 9854 Imad: 0307Mmqfmp2N030236 Trn:
           6689100066Jo
           YOUR REF: NONREF

03/07      Fedwire Debit Via: Key Gr Lakes Cleve        1039 A/C: Rcm& D Inc US Ref:                                207.00
           Inv 134171 Imad: 0307Mmqfmp2N030238 Trn: 6689300066Jo
           YOUR REF: NONREF

03/07      Book Transfer Debit A/C: Lloyds Bank Plc London United Kingdom Ec2V -7Hn                                 139.11
           Gb Ben:/Gb36Barc20956160836184 Opus Comics Ltd Ref: Inv 011925
           012625 020225 Trn: 6689200066Jo
           YOUR REF: NONREF

03/07      Fedwire Debit Via: Bmo Bank NA/         0288 A/C: Viz Media LLC US Ref: Inv                      140,926.59
           2202025/Time/15:26 Imad: 0307Mmqfmp2M029226 Trn: 6688900066Jo
           YOUR REF: NONREF




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Date

03/07      Book Transfer Debit A/C: JPMorgan Chase Bank NA Elgin IL            7836 US                         30,000.00
           Ref: Ref 5563757900047849/Bnf/Ref: 5563 7579 0004 7849 Trn:
           6689800066Jo
           YOUR REF: NONREF

03/07      Chips Debit Via: Hsbc Bank USA, N.A./0108 A/C: Hongkong And Shanghai                                15,360.00
           Banking Corpohong Kong Hong Kong Hk Ben: Threezero (Hong Kong) Ltd Hk
           Ref: Inv Pidia00009967 Ssn: 00571512 Trn: 6689400066Jo
           YOUR REF: NONREF

03/07      Chips Debit Via: The Bank of New York Mellon/0001 A/C: Federation Des                                     473.74
           Caisses Desjardins Dlevis Canada H5B 1B3 CA Ben: Drawn & Quarterly
           Books Inc Montreal, Qc, H2S 2S4 CA Ref: Inv 021625 011925B Ssn:
           00571526 Trn: 6688100066Jo
           YOUR REF: NONREF

03/07      Orig CO Name:Diamond Comic D           Orig ID:9775979001 Desc Date:Prfund                          11,550.50
           CO Entry Descr:Corp Pay Sec:CCD        Trace#:021000023427334 Eed:250307
           Ind ID:9775979001                Ind Name:EFT File Name: Rp06648     ACH
           Origin#:9090209001 CO Eff: 25/ 03/07                            250307
           Rp06648O Trn: 0663427334Tc

03/10      Orig CO Name:J.P. Morgan            Orig ID:5841455663 Desc Date:      CO                           43,330.88
           Entry Descr:J.P.Morgansec:CTX       Trace#:042000011240714 Eed:250310
           Ind ID:697928287885               Ind Name:0005Non-Executive
           Payments-Psc Trn: 0691240714Tc

03/10      Orig CO Name:J.P. Morgan            Orig ID:5841455663 Desc Date:      CO                             5,067.14
           Entry Descr:J.P.Morgansec:CTX       Trace#:042000011240708 Eed:250310
           Ind ID:697928287884               Ind Name:0005Executive
           Payments-Psc Trn: 0691240708Tc

03/10      Orig CO Name:J.P. Morgan            Orig ID:5841455663 Desc Date:      CO                             2,294.10
           Entry Descr:J.P.Morgansec:CTX       Trace#:042000011240702 Eed:250310
           Ind ID:697928287883               Ind Name:0005Renegade Games L
           Payments-Psc Trn: 0691240702Tc

03/10      Orig CO Name:Verizon Wireless        Orig ID:6223344794 Desc Date:250310                              1,820.89
           CO Entry Descr:Payments Sec:CCD         Trace#:021000025239606
           Eed:250310    Ind ID:071857478900001           Ind
           Name:0000000071857478900001 Trn: 0695239606Tc

03/10      JPMorgan Access Transfer To Accoun                   8307                                           60,000.00
           YOUR REF: 1005091069SB

03/10      Fedwire Debit Via: Pncbank NJ         7607 A/C: Dynamic Forces Inc US Ref:                          66,557.18
           Inv 022325 Imad: 0310Mmqfmp2K036345 Trn: 7738300069Jo
           YOUR REF: NONREF

03/10      Book Transfer Debit A/C: Boom Entertainment Inc. Los Angeles CA                                   201,572.43
                 5658 US Ref: Inv 011925 Trn: 7738000069Jo
           YOUR REF: NONREF

03/10      Fedwire Debit Via: Bmo Bank NA/          782 A/C: Little Buddy LLC Garden                           64,768.00
           Grove CA 92841 US Imad: 0310Mmqfmp2M036340 Trn: 7738700069Jo
           YOUR REF: NONREF

03/10      Fedwire Debit Via: Truist Bank       3308 A/C: Pbw Communications LLC US                            46,032.29
           Ref: Inv 2256 Imad: 0310Mmqfmp2K036346 Trn: 7738600069Jo
           YOUR REF: NONREF

03/10      Book Transfer Debit A/C: Red Bird Receivables, LLC Memphis TN 38118- US                             10,124.10
           Ref: PO 579991-26 Trn: 7738800069Jo
           YOUR REF: NONREF

03/10      Book Transfer Debit A/C: UPS Supply Chain Solutions Inc Coppell TX                                111,101.29
                 -3019 US Ref: Inv 072WY8075 2000E6075 8V8Y2407982019 E407W1
           V4092A V40931 V4A168 Trn: 7738400069Jo
           YOUR REF: NONREF




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Ledger     Description                                                                                                 Amount
Date

03/10      Chips Debit Via: Bank of America, N.A./0959 A/C: Toronto-Dominion Bank,                                     370.48
           The Toronto Canada M5K 1A2 CA Ben: Booknet Canada Toronto On M5V
           1X3 CA Ref: Inv 63500 Ssn: 00629452 Trn: 7738200069Jo
           YOUR REF: NONREF

03/11      Orig CO Name:Bancorpsv              Orig ID:1050006509 Desc Date:250311                                 4,080.24
           CO Entry Descr:Bancorpsv Sec:CCD          Trace#:031101110626088
           Eed:250311    Ind ID:99994                  Ind Name:Luminare Health Benefi
           Wh-Luminare Health Benefits Inc-999 94-Settle Purchase
           W0 Trn: 0690626088Tc

03/11      Fedwire Debit Via: Wells Fargo NA/          0248 A/C: Ara, Inc Minneapolis MN                       160,000.00
           55485-5917 US Ref:/Time/17:35 Imad: 0311Mmqfmp2L032011 Trn:
           7329600070Jo
           YOUR REF: NONREF

03/12      Fedwire Debit Via: Bk Amer Nyc/          9593 A/C: Beast Kingdom North                                69,881.84
           America CO Ltd US Ref: Inv Bkna241220-Dcd Imad: 0312Mmqfmp2N028435
           Trn: 6717300071Jo
           YOUR REF: NONREF

03/12      Book Transfer Debit A/C: Red Bird Receivables, LLC Memphis TN 38118- US                               36,844.50
           Ref: Inv PO# 579994-26 Trn: 6716300071Jo
           YOUR REF: NONREF

03/12      Book Transfer Debit A/C: Canadian Imperial Bank of Commerce Toronto On                                94,551.34
           Canada M5E 1-G4 CA Ref:/Bnf/Assn# 139 Trn: 8594800071Jo
           YOUR REF: NONREF

03/12      Orig CO Name:Diamond Comic D             Orig ID:9775979001 Desc Date:Prfund                        112,532.48
           CO Entry Descr:Corp Pay Sec:CCD          Trace#:021000022801187 Eed:250312
           Ind ID:9775979001               Ind Name:EFT File Name: Rp0713Z        ACH
           Origin#:9090209001 CO Eff: 25/ 03/12                              250312
           Rp0713Zj Trn: 0712801187Tc

03/13      Orig CO Name:Hnb-Luminare               Orig ID:1341858404 Desc Date:250313                         137,862.12
           CO Entry Descr:ACH Xfr    Sec:CCD        Trace#:044000025416429 Eed:250313
           Ind ID:Ecm5122                  Ind Name:6680877 Trn: 0725416429Tc

03/13      Orig CO Name:Nys Dtf CT            Orig ID:G146013200 Desc Date:         CO                             3,000.00
           Entry Descr:Tax Paymntsec:CCD        Trace#:091000014814172 Eed:250313
           Ind ID:000000124973222             Ind Name:Cl2501966711 Trn:
           0714814172Tc

03/13      Orig CO Name:Hnb-Luminare               Orig ID:1341858404 Desc Date:250313                             1,201.91
           CO Entry Descr:ACH Xfr    Sec:CCD        Trace#:044000025416430 Eed:250313
           Ind ID:Ecm5122-R                Ind Name:6680877 Trn: 0725416430Tc

03/13      Fedwire Debit Via: Mellon Bank Pitts/043000261 A/C: Penguin Random House                            305,772.92
           LLC US Ref:/Bnf/Order 16226312,16161609 Imad: 0313Mmqfmp2L033375
           Trn: 8954100072Jo
           YOUR REF: NONREF

03/13      Fedwire Debit Via: Fifth Third Bk NA/        0314 A/C: ADP Client Trust US                              5,000.00
           Ref: 24251 Diamond Comic Distributors/Bnf/24251 Diamond Comic
           Distr/Time/16 :06 Imad: 0313Mmqfmp2M032516 Trn: 8954200072Jo
           YOUR REF: NONREF

03/13      Book Transfer Debit A/C: Mizuho Bank Ltd Tokyo Tokyo Japan 10081-76 Jp                                44,599.20
           Ref: Inv 300000000306/Acc/Swf/Mhbkjpjt Mizuho Bank Akasaka Branch Jp
           Trn: 8952700072Jo
           YOUR REF: NONREF

03/13      Orig CO Name:Diamond Comic D             Orig ID:9775979001 Desc Date:Prfund                          10,330.25
           CO Entry Descr:Corp Pay Sec:CCD          Trace#:021000024847183 Eed:250313
           Ind ID:9775979001               Ind Name:EFT File Name: Rp07268        ACH
           Origin#:9090209001 CO Eff: 25/ 03/13                              250313
           Rp07268Z Trn: 0724847183Tc




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Ledger     Description                                                                                                 Amount
Date

03/14      Orig CO Name:Franchise Tax Bo         Orig ID:1282532045 Desc Date:250314                                   800.00
           CO Entry Descr:Payments Sec:CCD          Trace#:042000014370206
           Eed:250314    Ind ID:115169432     Pm          Ind Name:Diamond Trn:
           0724370206Tc

03/14      Orig CO Name:Comm of Mass EFT            Orig ID:4602285821 Desc                                            456.00
           Date:250313 CO Entry Descr:MA Dor Paysec:CCD
           Trace#:051000014370208 Eed:250314         Ind ID:1030029248              Ind
           Name:Diamond Comic Distribu
           Dept. of Revenue Trn: 0724370208Tc

03/14      Orig CO Name:ADP Payroll Fees         Orig ID:9659605001 Desc Date:250314                                    53.32
           CO Entry Descr:ADP Fees Sec:CCD          Trace#:021000026725259
           Eed:250314    Ind ID:927437370608              Ind Name:684926549Diamond
           Comic                                                         550374703
           Trn: 0736725259Tc

03/14      Fedwire Debit Via: Pncbank Phil/        0053 A/C: Saul Ewing IOLTA Escrow                           325,000.00
           US Ref:/Bnf/Client: 391844.00001Diamond Escrow Prof Feesdebtor Imad:
           0314Mmqfmp2K033789 Trn: 9564000073Jo
           YOUR REF: NONREF

03/14      Fedwire Debit Via: Wells Fargo NA/         0248 A/C: Troutman Pepper Locke                          197,693.99
           Llp US Ref: Inv 131910653 No 602916/Time/16:29 Imad:
           0314Mmqfmp2L034792 Trn: 9563300073Jo
           YOUR REF: NONREF

03/17      Orig CO Name:Msdeptofrevenue            Orig ID:1646000832 Desc Date:      CO                           5,700.00
           Entry Descr:Taxpaymentsec:CCD        Trace#:062000011531611 Eed:250317
           Ind ID:M41468288                Ind Name:Diamond Comic Distribu Trn:
           0731531611Tc

03/17      Orig CO Name:NJ Web Pmt 02301            Orig ID:7216000928 Desc Date:                                      750.00
           CO Entry Descr:Njweb02301Sec:CCD          Trace#:031100200690939
           Eed:250317    Ind ID:091000011363838             Ind Name:True
           Txp*B521243450000*02301*241230*T*75 000*****Diam\ Trn: 0760690939Tc

03/17      Fedwire Debit Via: Fnb of PA/        8092 A/C: Hermes Press & Geer US                                   5,920.48
           Imad: 0317Mmqfmp2L033087 Trn: 7597300076Jo
           YOUR REF: NONREF

03/18      Deposited Item Returned                  000111174                             #                        5,615.86
           of Items00001

03/18      Deposited Item Returned                  000108943                             #                        4,347.72
           of Items00002

03/18      Orig CO Name:Bancorpsv              Orig ID:1050006509 Desc Date:250318                                 3,587.86
           CO Entry Descr:Bancorpsv Sec:CCD         Trace#:031101114125608
           Eed:250318    Ind ID:99994                 Ind Name:Luminare Health Benefi
           Wh-Luminare Health Benefits Inc-999 94-Settle Purchase
           W0 Trn: 0764125608Tc

03/19      JPMorgan Access Transfer To                          33396                                            75,000.00
           YOUR REF: 1005559078SB

03/19      Book Transfer Debit A/C: ADP Client Trust Wilmington DE 19801- US Ref: Rbi                          380,229.60
           - ADP55Svf/Bnf/Rbi - ADP55Svf Trn: 8022400078Jo
           YOUR REF: NONREF

03/19      Book Transfer Debit A/C: ADP Client Trust Wilmington DE 19801- US Ref: Rbi                            48,978.96
           - ADP55CA9-A/Bnf/Rbi - ADP55CA9-A Trn: 8022000078Jo
           YOUR REF: NONREF

03/19      Book Transfer Debit A/C: ADP Client Trust Wilmington DE 19801- US Ref: Rbi                            42,951.01
           - ADP55Sz5-A/Bnf/Rbi - ADP55Sz5-A Trn: 8022100078Jo
           YOUR REF: NONREF

03/20      Orig CO Name:Hnb-Luminare            Orig ID:1341858404 Desc Date:250320                              77,167.48
           CO Entry Descr:ACH Xfr    Sec:CCD       Trace#:044000020023445 Eed:250320
           Ind ID:Ecm5122                  Ind Name:6717188 Trn: 0790023445Tc




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Date

03/20      Orig CO Name:J.P. Morgan             Orig ID:5841455663 Desc Date:       CO                           39,568.03
           Entry Descr:J.P.Morgansec:CTX        Trace#:042000010023454 Eed:250320
           Ind ID:695598643412               Ind Name:0005Non-Executive
           Payments-Psc Trn: 0790023454Tc

03/20      Orig CO Name:J.P. Morgan             Orig ID:5841455663 Desc Date:       CO                             2,294.10
           Entry Descr:J.P.Morgansec:CTX        Trace#:042000010023448 Eed:250320
           Ind ID:695598643411               Ind Name:0005Renegade Games L
           Payments-Psc Trn: 0790023448Tc

03/20      Orig CO Name:Hnb-Luminare              Orig ID:1341858404 Desc Date:250320                              1,180.64
           CO Entry Descr:ACH Xfr    Sec:CCD       Trace#:044000020023446 Eed:250320
           Ind ID:Ecm5122-R                  Ind Name:6717188 Trn: 0790023446Tc

03/20      Orig CO Name:ADP Wage Garn              Orig ID:9333006057 Desc                                         2,381.62
           Date:250320 CO Entry Descr:Wage Garn Sec:CCD
           Trace#:021000029545470 Eed:250320         Ind ID:485074941892Svf            Ind
           Name:Diamond Comic Distribu
           323298036 Trn: 0799545470Tc

03/20      Fedwire Debit Via: Ew Bk Smrino/322070381 A/C: Jada Toys Inc City of                                100,923.59
           Industry CA 91748 US Imad: 0320Mmqfmp2M031988 Trn: 9049000079Jo
           YOUR REF: NONREF

03/20      Book Transfer Debit A/C: UPS Supply Chain Solutions Inc Coppell TX                                    83,074.86
           75019-3019 US Ref: Inv 072WY8 2000E6 7V7647 8V8Y24 982019 E407W1
           V4092A V40931 V4A1 Trn: 9048500079Jo
           YOUR REF: NONREF

03/20      Fedwire Debit Via: Wells Fargo NA/         0248 A/C: Ara, Inc Minneapolis MN                        168,000.00
           55485-5917 US Ref:/Time/16:46 Imad: 0320Mmqfmp2L033158 Trn:
           9049300079Jo
           YOUR REF: NONREF

03/20      Fedwire Debit Via: Old Evansville IN        0012 A/C: Epost Global LLC US                             36,140.53
           Imad: 0320Mmqfmp2L033150 Trn: 9049200079Jo
           YOUR REF: NONREF

03/20      Fedwire Debit Via: Citibank Nyc         0089 A/C: Hachette Book Group US                            152,326.89
           Ref: Inv 76795783 76792324 76792184 Inv 76792560/Time/16:46 Imad:
           0320Mmqfmp2M032008 Trn: 9047900079Jo
           YOUR REF: NONREF

03/20      Fedwire Debit Via: Citizens Bank, NA/        0120 A/C: Titan Publishing Group                         56,205.59
           Ltd US Ref: Inv 030725 Imad: 0320Mmqfmp2M032007 Trn: 9048100079Jo
           YOUR REF: NONREF

03/20      Fedwire Debit Via: Her Bk Comrce Sj/         2287 A/C: Super7 Retail Inc US                           41,070.00
           Ref: Inv 575731 573854 572151 575730 566968 575732 560524 560522
           Imad: 0320Mmqfmp2L033167 Trn: 9048000079Jo
           YOUR REF: NONREF

03/20      Fedwire Debit Via: TD Bank, NA/         1360 A/C: Udon Entertainment Inc US                           15,159.72
           Ref: 030225 Imad: 0320Mmqfmp2K032068 Trn: 9049100079Jo
           YOUR REF: NONREF

03/20      Fedwire Debit Via: Bmo Bank NA/          0288 A/C: Viz Media LLC US Ref: Inv                            2,978.74
           61479 61480 61481/Time/16:46 Imad: 0320Mmqfmp2N032933 Trn:
           9048300079Jo
           YOUR REF: NONREF

03/20      Fedwire Debit Via: Mellon Bank Pitts        0261 A/C: Penguin Random House                          271,325.21
           LLC US Ref:/Bnf/Order 16344171Reorder 16266793 Imad:
           0320Mmqfmp2M032014 Trn: 9053800079Jo
           YOUR REF: NONREF

03/20      Orig CO Name:Diamond Comic D            Orig ID:9775979001 Desc Date:Prfund                         137,601.75
           CO Entry Descr:Corp Pay Sec:CCD         Trace#:021000025997853 Eed:250320
           Ind ID:9775979001               Ind Name:EFT File Name: Rp0795S        ACH
           Origin#:9090209001 CO Eff: 25/ 03/20                              250320
           Rp0795Sv Trn: 0795997853Tc




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Ledger     Description                                                                                           Amount
Date

03/21      Foreign Exchange Debit A/C: Foreign Cur Bus Acct Bk 1 Columbus Newark                                     133.25
           DE 197132107 US Org: 00000000381775979 Diamond Comic Distributors,
           Inc. Ben:/Gb85Nwbk60000136379867 Penquin Books Ltd Ref: Inv
           92037465Bal/Ocmt/Gbp100,00/Exch/1.3325/Cntr/20750632/ Trn:
           4202500080Re
           YOUR REF: 9377452

03/21      Book Transfer Debit A/C: Mizuho Bank Ltd Tokyo Tokyo Japan 10081-76 Jp                               8,648.43
           Ref: Inv 0313 PO Deposit/Acc/Swf/Mhbkjpjt Mizuho Bank Akasaka Branch Jp
           Trn: 3344000080Jo
           YOUR REF: NONREF

03/21      Orig CO Name:ADP Payroll Fees         Orig ID:9659605001 Desc Date:250321                                 137.70
           CO Entry Descr:ADP Fees Sec:CCD        Trace#:021000023990035
           Eed:250321    Ind ID:925636375414             Ind Name:685784392Diamond
           Comic                                                       550374703
           Trn: 0803990035Tc

03/21      Fedwire Debit Via: Pncbank Phil        0053 A/C: Saul Ewing IOLTA Escrow                         325,000.00
           US Ref:/Bnf/Client: 391844.00001Diamond Escrow Prof Feesdebtor Imad:
           0321Mmqfmp2M033512 Trn: 8049300080Jo
           YOUR REF: NONREF

03/21      Fedwire Debit Via: Pncbank Pitt/      0096 A/C: Funko LLC US Imad:                               103,155.60
           0321Mmqfmp2N034160 Trn: 8049200080Jo
           YOUR REF: NONREF

03/21      Book Transfer Debit A/C: Canadian Imperial Bank of Commerce Toronto On                             35,833.81
           Canada M5E 1-G4 CA Ref:/Bnf/Apr2025/V35 #439 Trn: 8044100080Jo
           YOUR REF: NONREF

03/21      Book Transfer Debit A/C: Lloyds Bank Plc London United Kingdom Ec2V -7Hn                           12,212.55
           Gb Ben:/Gb42Bukb20917953036952 Fac71 Ltd Ref: 122425-012525 Trn:
           8049400080Jo
           YOUR REF: NONREF

03/21      Book Transfer Debit A/C: ADP Client Trust San Dimas CA 91773- US Ref: Rbi                        136,720.48
           - ADP55Svf/Bnf/Rbi - ADP55Svf Trn: 8329100080Jo
           YOUR REF: NONREF

03/21      Book Transfer Debit A/C: ADP Client Trust Wilmington DE 19801- US Ref: Rbi                         22,876.85
           - ADP55Sz5-A/Bnf/Rbi - ADP55Sz5-A Trn: 8330900080Jo
           YOUR REF: NONREF

03/21      Book Transfer Debit A/C: ADP Client Trust Wilmington DE 19801- US Ref: Rbi                         17,850.20
           - ADP55CA9-A/Bnf/Rbi - ADP55CA9-A Trn: 8329300080Jo
           YOUR REF: NONREF

03/21      Orig CO Name:Diamond Comic D           Orig ID:9775979001 Desc Date:Prfund                       137,865.97
           CO Entry Descr:Corp Pay Sec:CCD        Trace#:021000028641304 Eed:250321
           Ind ID:9775979001               Ind Name:EFT File Name: Rp0804R      ACH
           Origin#:9090209001 CO Eff: 25/ 03/21                           250321
           Rp0804Rw Trn: 0808641304Tc

03/21      Orig CO Name:Diamond Comic D           Orig ID:9775979001 Desc Date:Prfund                         34,204.23
           CO Entry Descr:Corp Pay Sec:CCD        Trace#:021000028641301 Eed:250321
           Ind ID:9775979001               Ind Name:EFT File Name: Rp0804R      ACH
           Origin#:9090209001 CO Eff: 25/ 03/21                           250321
           Rp0804Rx Trn: 0808641301Tc

03/24      Orig CO Name:US Cbp                Orig ID:7005009701 Desc Date:250321 CO                            1,861.74
           Entry Descr:Payment    Sec:CCD      Trace#:041036045166529 Eed:250324
           Ind ID:0000                Ind Name:Diamond Comic Distrib     042265
           2025064034                                           ACH Transaction Trn:
           0805166529Tc

03/24      Orig CO Name:US Cbp                Orig ID:7005009701 Desc Date:250321 CO                            1,581.78
           Entry Descr:Payment    Sec:CCD      Trace#:041036045166531 Eed:250324
           Ind ID:0000                Ind Name:Diamond Comic Distrib     042265
           202505703P                                           ACH Transaction Trn:
           0805166531Tc


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Ledger     Description                                                                                             Amount
Date

03/24      Orig CO Name:US Cbp               Orig ID:7005009701 Desc Date:250321 CO                               1,432.04
           Entry Descr:Payment    Sec:CCD     Trace#:041036045166545 Eed:250324
           Ind ID:0000                 Ind Name:Diamond Comic Distrib      042265
           202506502U                                             ACH Transaction Trn:
           0805166545Tc

03/24      Orig CO Name:US Cbp               Orig ID:7005009701 Desc Date:250321 CO                               1,076.04
           Entry Descr:Payment    Sec:CCD     Trace#:041036045166541 Eed:250324
           Ind ID:0000                 Ind Name:Diamond Comic Distrib      042265
           202506202B                                             ACH Transaction Trn:
           0805166541Tc

03/24      Orig CO Name:US Cbp               Orig ID:7005009701 Desc Date:250321 CO                                    779.60
           Entry Descr:Payment    Sec:CCD     Trace#:041036045166536 Eed:250324
           Ind ID:0000                 Ind Name:Diamond Comic Distrib      042265
           202504502F                                             ACH Transaction Trn:
           0805166536Tc

03/24      Orig CO Name:US Cbp               Orig ID:7005009701 Desc Date:250321 CO                                    605.98
           Entry Descr:Payment    Sec:CCD     Trace#:041036045166538 Eed:250324
           Ind ID:0000                 Ind Name:Diamond Comic Distrib      042265
           202505002X                                             ACH Transaction Trn:
           0805166538Tc

03/24      Orig CO Name:US Cbp               Orig ID:7005009701 Desc Date:250321 CO                                    539.21
           Entry Descr:Payment    Sec:CCD     Trace#:041036045166547 Eed:250324
           Ind ID:0000                 Ind Name:Diamond Comic Distrib      042265
           202506302P                                             ACH Transaction Trn:
           0805166547Tc

03/24      Orig CO Name:US Cbp               Orig ID:7005009701 Desc Date:250321 CO                                    248.33
           Entry Descr:Payment    Sec:CCD     Trace#:041036045166550 Eed:250324
           Ind ID:0000                 Ind Name:Diamond Comic Distrib      042265
           2025069025                                             ACH Transaction Trn:
           0805166550Tc

03/24      Orig CO Name:US Cbp               Orig ID:7005009701 Desc Date:250321 CO                                    147.42
           Entry Descr:Payment    Sec:CCD     Trace#:041036045166534 Eed:250324
           Ind ID:0000                 Ind Name:Diamond Comic Distrib      042265
           202504402R                                             ACH Transaction Trn:
           0805166534Tc

03/24      Orig CO Name:US Cbp               Orig ID:7005009701 Desc Date:250321 CO                                    117.08
           Entry Descr:Payment    Sec:CCD     Trace#:041036045166543 Eed:250324
           Ind ID:0000                 Ind Name:Diamond Comic Distrib      042265
           202505202L                                             ACH Transaction Trn:
           0805166543Tc

03/24      Orig CO Name:J.P. Morgan           Orig ID:5841455663 Desc Date:        CO                             5,067.14
           Entry Descr:J.P.Morgansec:CTX      Trace#:042000014131817 Eed:250324
           Ind ID:705625787165              Ind Name:0005Executive
           Payments-Psc Trn: 0834131817Tc

03/24      Fedwire Debit Via: Old Evansville IN        0012 A/C: Epost Global LLC US                            12,000.00
           Imad: 0324Mmqfmp2L030859 Trn: 7733200083Jo
           YOUR REF: NONREF

03/24      Fedwire Debit Via: Truist Bank          0104 A/C: Aba/055002707 Bethesda MD                            6,265.60
           20814-3570 US Ben: Crafted Packaging Inc US Ref: Inv 20747 Imad:
           0324Mmqfmp2N030980 Trn: 7732900083Jo
           YOUR REF: NONREF

03/24      Fedwire Debit Via: Fifth Third Bk NA/       0314 A/C: ADP Client Trust US                              5,000.00
           Ref: 24251 Diamond Comic Distributors/Bnf/24251 Diamond Comic
           Distr/Time/15 :29 Imad: 0324Mmqfmp2L030853 Trn: 7733100083Jo
           YOUR REF: NONREF




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Ledger     Description                                                                                               Amount
Date

03/24      Orig CO Name:Diamond Comic D             Orig ID:9775979001 Desc Date:Prfund                         238,542.01
           CO Entry Descr:Corp Pay Sec:CCD          Trace#:021000023573040 Eed:250324
           Ind ID:9775979001               Ind Name:EFT File Name: Rp08336         ACH
           Origin#:9090209001 CO Eff: 25/ 03/24                               250324
           Rp08336P Trn: 0833573040Tc

03/25      Orig CO Name:Paysimple Billin       Orig ID:5330903620 Desc Date:250324                                  3,556.17
           CO Entry Descr:ACH        Sec:CCD      Trace#:091000013525131 Eed:250325
           Ind ID:800-466-0992              Ind Name:Diamond Comic Distri Trn:
           0843525131Tc

03/25      Orig CO Name:Bancorpsv              Orig ID:1050006509 Desc Date:250325                                  2,744.32
           CO Entry Descr:Bancorpsv Sec:CCD         Trace#:031101111836323
           Eed:250325    Ind ID:99994                  Ind Name:Luminare Health Benefi
           Wh-Luminare Health Benefits Inc-999 94-Settle Purchase
           W0 Trn: 0831836323Tc

03/25      Fedwire Debit Via: Pncbank NJ           7607 A/C: Dynamic Forces Inc US Ref:                         100,761.70
           Inv 030225 11172754CR Imad: 0325Mmqfmp2L031715 Trn: 7679800084Jo
           YOUR REF: NONREF

03/25      Fedwire Debit Via: Bk Amer Nyc/          9593 A/C: Transfair North America Intl                        20,000.00
           Freighus Imad: 0325Mmqfmp2N031706 Trn: 7680000084Jo
           YOUR REF: NONREF

03/26      Deposited Item Returned                  000107629                            #                          2,391.16
           of Items00001

03/26      Orig CO Name:Jp Morgan Chase            Orig ID:XX-XXXXXXX Desc Date:032525                            13,709.00
           CO Entry Descr:Comm Card Sec:CCD           Trace#:021000024616897
           Eed:250326    Ind ID:556375790004784              Ind Name:Diamond Comic D
           Autopay Trn: 0854616897Tc

03/26      Fedwire Debit Via: Citizens Bank, NA/        0120 A/C: Titan Publishing Group                          30,578.40
           Ltd US Imad: 0326Mmqfmp2N031007 Trn: 7767700085Jo
           YOUR REF: NONREF

03/26      Book Transfer Debit A/C: Red Bird Receivables, LLC Memphis TN 38118- US                                12,300.75
           Ref: PO# 580070-26 PO# 580071-26 Trn: 7770500085Jo
           YOUR REF: NONREF

03/26      Orig CO Name:Diamond Comic D             Orig ID:9775979001 Desc Date:Prfund                         182,964.19
           CO Entry Descr:Corp Pay Sec:CCD          Trace#:021000021555018 Eed:250326
           Ind ID:9775979001               Ind Name:EFT File Name: Rp0854Y         ACH
           Origin#:9090209001 CO Eff: 25/ 03/26                               250326
           Rp0854Y2 Trn: 0851555018Tc

03/27      Orig CO Name:Hnb-Luminare              Orig ID:1341858404 Desc Date:250327                           111,285.53
           CO Entry Descr:ACH Xfr    Sec:CCD       Trace#:044000020927476 Eed:250327
           Ind ID:Ecm5122                  Ind Name:6753719 Trn: 0860927476Tc

03/27      Orig CO Name:Hnb-Luminare              Orig ID:1341858404 Desc Date:250327                             13,479.05
           CO Entry Descr:ACH Xfr    Sec:CCD       Trace#:044000020927477 Eed:250327
           Ind ID:Ecm5122-R                Ind Name:6753719 Trn: 0860927477Tc

03/27      Fedwire Debit Via: Mellon Bank Pitts         0261 A/C: Penguin Random House                          245,409.45
           LLC US Ref:/Bnf/Order# 16448114Order# 16411274Order# 16446166 Imad:
           0327Mmqfmp2K034919 Trn: 9335200086Jo
           YOUR REF: NONREF

03/27      Orig CO Name:Diamond Comic D             Orig ID:9775979001 Desc Date:Prfund                         136,768.23
           CO Entry Descr:Corp Pay Sec:CCD          Trace#:021000025080824 Eed:250327
           Ind ID:9775979001               Ind Name:EFT File Name: Rp08665         ACH
           Origin#:9090209001 CO Eff: 25/ 03/27                               250327
           Rp08665Q Trn: 0865080824Tc

03/28      Orig CO Name:ADP Payroll Fees           Orig ID:9659605001 Desc Date:250328                                   143.12
           CO Entry Descr:ADP Fees Sec:CCD          Trace#:021000029260983
           Eed:250328    Ind ID:420076566581               Ind Name:686370971Diamond
           Comic                                                           550374703
           Trn: 0879260983Tc




                                                                                                         Page 13 of 16
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                                                                               March 01, 2025 through March 31, 2025
                                                                             Account Number:                     5979




Withdrawals and Debits       (continued)

Ledger     Description                                                                                               Amount
Date

03/28      JPMorgan Access Transfer To Account                   8307                                             15,000.00
           YOUR REF: 1005489087SB

03/28      Fedwire Debit Via: Key Gr Lakes Cleve/         1039 A/C: Rcm& D Inc US Ref:                          179,064.03
           Inv 136041 Imad: 0328Mmqfmp2N038793 Trn: 9247600087Jo
           YOUR REF: NONREF

03/28      Fedwire Debit Via: Key Bk Wash Tac/          0574 A/C: Paizo Inc US Ref: Inv                           55,942.11
           022325 Imad: 0328Mmqfmp2L038997 Trn: 9247000087Jo
           YOUR REF: NONREF

03/28      Fedwire Debit Via: Bk Amer Nyc           9593 A/C: Transfair North America Intl                        20,000.00
           Freighus Imad: 0328Mmqfmp2M038089 Trn: 9247800087Jo
           YOUR REF: NONREF

03/28      Fedwire Debit Via: Old Evansville IN/       0012 A/C: Epost Global LLC US                                4,500.00
           Imad: 0328Mmqfmp2N038799 Trn: 9248200087Jo
           YOUR REF: NONREF

03/28      Fedwire Debit Via: Pncbank Phil/         0053 A/C: Saul Ewing IOLTA Escrow                           325,000.00
           US Ref:/Bnf/Client: 391844.00001Diamond Escrow Prof Fessdebtor Imad:
           0328Mmqfmp2K038056 Trn: 9248100087Jo
           YOUR REF: NONREF

03/28      Orig CO Name:Diamond Comic D             Orig ID:9775979001 Desc Date:Prfund                           62,947.86
           CO Entry Descr:Corp Pay Sec:CCD          Trace#:021000026323213 Eed:250328
           Ind ID:9775979001                 Ind Name:EFT File Name: Rp0875C       ACH
           Origin#:9090209001 CO Eff: 25/ 03/28                               250328
           Rp0875Cz Trn: 0876323213Tc

03/31      Book Transfer Debit A/C: UPS Supply Chain Solutions Inc Coppell TX                                     92,117.37
                  3019 US Ref: 072WY8 200E6 8V8Y24 982019 E407W1 V4092A
           V40931 V4A168 V6E477 Trn: 2301800090Vb
           YOUR REF: NONREF

03/31      Fedwire Debit Via: Wells Fargo NA/         0248 A/C: Ara, Inc Minneapolis MN                         192,263.90
           55485-5917 US Ref:/Time/17:23 Imad: 0331Mmqfmp2K098900 Trn:
           2302300090Vb
           YOUR REF: NONREF

03/31      Fedwire Debit Via: Truist Bank/         0104 A/C: Aba/055002707 Bethesda MD                            44,161.20
           20814-3570 US Ben: Crafted Packaging Inc US Ref: Inv 20762 Imad:
           0331Mmqfmp2M098865 Trn: 2301700090Vb
           YOUR REF: NONREF

03/31      Book Transfer Debit A/C: Red Bird Receivables, LLC Memphis TN 38118- US                                10,473.75
           Ref: Inv# 580080-26 Trn: 2302100090Vb
           YOUR REF: NONREF

03/31      Orig CO Name:Diamond Comic D             Orig ID:9775979001 Desc Date:Prfund                         101,098.86
           CO Entry Descr:Corp Pay Sec:CCD          Trace#:021000023716205 Eed:250331
           Ind ID:9775979001                 Ind Name:EFT File Name: Rp09047       ACH
           Origin#:9090209001 CO Eff: 25/ 03/31                               250331
           Rp09047E Trn: 0903716205Tc

03/31      Orig CO Name:Diamond Comic D             Orig ID:9775979001 Desc Date:Prfund                           15,947.77
           CO Entry Descr:Corp Pay Sec:CCD          Trace#:021000021946119 Eed:250331
           Ind ID:9775979001                 Ind Name:EFT File Name: Rp09004       ACH
           Origin#:9090209001 CO Eff: 25/ 03/31                               250331
           Rp09004N Trn: 0901946119Tc

Total                                                                                                     $10,574,442.98




                                                                                                         Page 14 of 16
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                                                                             March 01, 2025 through March 31, 2025
                                                                           Account Number:                     5979




Daily Balance


                                             Ledger                                                                    Ledger
Date                                        Balance        Date                                                    Balance

03/03                                    $85,538.08        03/18                                              $59,641.49
03/04                                    $63,250.22        03/19                                              $35,528.29
03/05                                    $26,603.48        03/20                                            $212,908.58
03/06                                    $26,027.96        03/21                                              $29,709.23
03/07                                     $7,330.75        03/24                                              $72,189.87
03/10                                    $37,193.81        03/25                                              $36,352.52
03/11                                    $50,883.49        03/26                                              $12,058.41
03/12                                    $94,399.50        03/27                                            $151,405.92
03/13                                   $136,633.10        03/28                                              $32,879.37
03/14                                     $8,794.77        03/31                                              $89,500.94
03/17                                    $72,109.10




          Your service charges, fees and earnings credit have been calculated through account analysis.




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                                                           Case 25-10308               Doc 439-7           Filed 05/10/25            Page 113 of 121

        JPMorgan Chase Bank N.A.

        Suite 4500Þ TD Bank Tower

        66 Wellington Street West

        TorontoÞ ON M5K 1E7




                                                                                                                        JPMorgan Chase BankÞ N.A - Toronto Branch

                                                                                                                        Suite 4500Þ TD Bank Tower

                                                                                                                        66 Wellington Street West

                                                                                                                        TorontoÞ Ontario
        04043 X01 931 001 020 09125

                                                                                                                        M5K 1E7
        DIAMOND COMIC DISTRIBUTORSÞ INC.
                                                                                                                        Canada
        10150 YORK RD
                                                                                                                        SWIFT BICÐ CHASCATTCTS
        HUNT VALLEY MD 210303340 USA


                                                                                                                        TelephoneÐ+1 â416á 981-9200

                                                                                                                        FaxÐ+1 â416á 981-2340




                                                                                                                        PAGE NUMBERÐ 1 of 6




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send us your complaint or question in writing within 10 business days. Should it be necessary to lodge a formal complaint you may do so in writing toÐ Complaints OfficerÞ at the address posted above. If you are not

 satisfied with our efforts to resolve your complaintÞ you may contact the Financial Consumer Agency of Canada â“The Agency”á at www.fcac-acfc.qc.ca or call the Agency at 1-866-461-3222. You may write to the

                            Agency at the following addressÐ Financial Consumer Agency of CanadaÞ 6th FloorÞ Enterprise BuildingÞ 427 Laurier Avenue WestÞ OttawaÞ Ontario K1R 1B9.
                                                       Case 25-10308         Doc 439-7           Filed 05/10/25         Page 114 of 121
                         Account Statement




 ACCOUNT NAMEÐ DIAMOND COMIC DISTRIBUTORS INC                                                     STATEMENT DATEÐ 31 MAR 2025

 ACCOUNT NUMBERÐ               9564                                                               CURRENCYÐ CAD

 IBANÐ                                                                                            STATEMENT PERIOD FROMÐ 1 MAR 2025 TO 31 MAR 2025

 BBANÐ 4011739564                                                                                 STATEMENT NUMBERÐ 000063

 ACCOUNT TYPEÐ DEMAND DEPOSIT ACCOUNT                                                             PAGE NUMBERÐ 2 of 6

                                                                                                  TAX IDÐ




               Reference                     Transaction   Transaction   Value Date                Debits                          Credits                            Balance

                                                Date          Type


Previous Balance                              28 FEB                                                                                                                            146Þ048.69


Outgoing Wire Payment                          3 MAR          TRF         3 MAR                             20Þ000.00                                                           126Þ048.69

  CUSTREFÐ 9377452Ï BANK REFÐ

  3190908   31600Ï

  BENEFICIARY CANPAR EXPRESS INC

Lockbox                                        3 MAR          LBX         3 MAR                                                                906.17                           126Þ954.86

  CUSTREFÐ 12109Ï BANK REFÐ

  CL2503037532457Ï

  ÛSYSREFÛCL2503037532457ÛLOCKBOÏ

  XNUMÛ12109 ÛFXRATEÛÛFXAMTÛÛNARÏ

  RATIVEÛ1 ITEMSÛCHECKTYPEÛLOCKBÏ

  OXÏ

Lockbox                                        4 MAR          LBX         4 MAR                                                              53Þ944.18                          180Þ899.04

  CUSTREFÐ 12109Ï BANK REFÐ

  CL2503047551112Ï

  ÛSYSREFÛCL2503047551112ÛLOCKBOÏ

  XNUMÛ12109 ÛFXRATEÛÛFXAMTÛÛNARÏ

  RATIVEÛ40 ITEMSÛCHECKTYPEÛLOCKÏ

  BOXÏ

Lockbox                                        5 MAR          LBX         5 MAR                                                                474.15                           181Þ373.19

  CUSTREFÐ 12109Ï BANK REFÐ

  CL2503057570616Ï

  ÛSYSREFÛCL2503057570616ÛLOCKBOÏ

  XNUMÛ12109 ÛFXRATEÛÛFXAMTÛÛNARÏ

  RATIVEÛ2 ITEMSÛCHECKTYPEÛLOCKBÏ

  OXÏ

ACH Credit Received                            6 MAR          TRF         6 MAR                                                               3Þ966.67                          185Þ339.86

  CUSTREFÐ 20250306RBY6Y6F2Ï BANK

  REFÐ 1250650180Ï BÛOÐ Hourglass

  Comics Inc+Hourglass Comic

  ACH IN CREDIT REFÐ1250650180 HÏ

  ourglass Comics IncÏ

                                                                                      Total Dr              20Þ000.00   Total Cr             59Þ291.17   Net MÛMent              39Þ291.17
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                                                      Case 25-10308         Doc 439-7           Filed 05/10/25          Page 116 of 121
                        Account Statement




 ACCOUNT NAMEÐ DIAMOND COMIC DISTRIBUTORS INC                                                    STATEMENT DATEÐ 31 MAR 2025

 ACCOUNT NUMBERÐ                9564                                                             CURRENCYÐ CAD

 IBANÐ                                                                                           STATEMENT PERIOD FROMÐ 1 MAR 2025 TO 31 MAR 2025

 BBANÐ 4011739564                                                                                STATEMENT NUMBERÐ 000063

 ACCOUNT TYPEÐ DEMAND DEPOSIT ACCOUNT                                                            PAGE NUMBERÐ 4 of 6

                                                                                                 TAX IDÐ




                Reference                   Transaction   Transaction   Value Date                Debits                           Credits                             Balance

                                               Date          Type

Lockbox                                      13 MAR          LBX         13 MAR                                                                 564.04                           141Þ281.96

  CUSTREFÐ 12109Ï BANK REFÐ

  CL2503137680519Ï

  ÛSYSREFÛCL2503137680519ÛLOCKBOÏ

  XNUMÛ12109 ÛFXRATEÛÛFXAMTÛÛNARÏ

  RATIVEÛ1 ITEMSÛCHECKTYPEÛLOCKBÏ

  OXÏ

Lockbox                                      14 MAR          LBX         11 MAR                              2Þ135.25                                                            139Þ146.71

  BANK REFÐ CL2503117641729Ï

  ÛTXNDTLÛInsufficient FundsÏ

Lockbox                                      14 MAR          LBX         14 MAR                                                                1Þ393.57                          140Þ540.28

  CUSTREFÐ 12109Ï BANK REFÐ

  CL2503147699262Ï

  ÛSYSREFÛCL2503147699262ÛLOCKBOÏ

  XNUMÛ12109 ÛFXRATEÛÛFXAMTÛÛNARÏ

  RATIVEÛ2 ITEMSÛCHECKTYPEÛLOCKBÏ

  OXÏ

Lockbox                                      18 MAR          LBX         18 MAR                                                                5Þ491.58                          146Þ031.86

  CUSTREFÐ 12109Ï BANK REFÐ

  CL2503187741062Ï

  ÛSYSREFÛCL2503187741062ÛLOCKBOÏ

  XNUMÛ12109 ÛFXRATEÛÛFXAMTÛÛNARÏ

  RATIVEÛ1 ITEMSÛCHECKTYPEÛLOCKBÏ

  OXÏ

Lockbox                                      19 MAR          LBX         19 MAR                                                               89Þ768.53                          235Þ800.39

  CUSTREFÐ 12109Ï BANK REFÐ

  CL2503197759151Ï

  ÛSYSREFÛCL2503197759151ÛLOCKBOÏ

  XNUMÛ12109 ÛFXRATEÛÛFXAMTÛÛNARÏ

  RATIVEÛ52 ITEMSÛCHECKTYPEÛLOCKÏ

  BOXÏ

Inward Clearing Debit                        19 MAR          CHK         19 MAR                              1Þ872.98                                                            233Þ927.41

  CUSTREFÐ 1762Ï

Monthly AC Analysis Charges                  20 MAR          CHG         20 MAR                              1Þ788.95                                                            232Þ138.46

                                                                                     Total Dr              186Þ317.96   Total Cr             272Þ407.73   Net MÛMent              86Þ089.77
                                                      Case 25-10308         Doc 439-7           Filed 05/10/25          Page 117 of 121
                        Account Statement




 ACCOUNT NAMEÐ DIAMOND COMIC DISTRIBUTORS INC                                                    STATEMENT DATEÐ 31 MAR 2025

 ACCOUNT NUMBERÐ              9564                                                               CURRENCYÐ CAD

 IBANÐ                                                                                           STATEMENT PERIOD FROMÐ 1 MAR 2025 TO 31 MAR 2025

 BBANÐ 4011739564                                                                                STATEMENT NUMBERÐ 000063

 ACCOUNT TYPEÐ DEMAND DEPOSIT ACCOUNT                                                            PAGE NUMBERÐ 5 of 6

                                                                                                 TAX IDÐ




                Reference                   Transaction   Transaction   Value Date                Debits                           Credits                             Balance

                                               Date          Type

Lockbox                                      20 MAR          LBX         20 MAR                                                                 290.79                           232Þ429.25

  CUSTREFÐ 12109Ï BANK REFÐ

  CL2503207775562Ï

  ÛSYSREFÛCL2503207775562ÛLOCKBOÏ

  XNUMÛ12109 ÛFXRATEÛÛFXAMTÛÛNARÏ

  RATIVEÛ1 ITEMSÛCHECKTYPEÛLOCKBÏ

  OXÏ

Inward Clearing Debit                        20 MAR          CHK         20 MAR                               634.72                                                             231Þ794.53

  CUSTREFÐ 1761Ï

Outgoing Wire Payment                        21 MAR          TRF         21 MAR                            230Þ000.00                                                              1Þ794.53

  CUSTREFÐ 42443196Ï BANK REFÐ

  8220078   31600Ï

  BENEFICIARY CHASUS33

Lockbox                                      21 MAR          LBX         21 MAR                                                                 496.84                             2Þ291.37

  CUSTREFÐ 12109Ï BANK REFÐ

  CL2503217794133Ï

  ÛSYSREFÛCL2503217794133ÛLOCKBOÏ

  XNUMÛ12109 ÛFXRATEÛÛFXAMTÛÛNARÏ

  RATIVEÛ1 ITEMSÛCHECKTYPEÛLOCKBÏ

  OXÏ

Lockbox                                      24 MAR          LBX         24 MAR                                                                 932.12                             3Þ223.49

  CUSTREFÐ 12109Ï BANK REFÐ

  CL2503247814284Ï

  ÛSYSREFÛCL2503247814284ÛLOCKBOÏ

  XNUMÛ12109 ÛFXRATEÛÛFXAMTÛÛNARÏ

  RATIVEÛ2 ITEMSÛCHECKTYPEÛLOCKBÏ

  OXÏ

Lockbox                                      27 MAR          LBX         27 MAR                                                               39Þ954.53                           43Þ178.02

  CUSTREFÐ 12109Ï BANK REFÐ

  CL2503277872828Ï

  ÛSYSREFÛCL2503277872828ÛLOCKBOÏ

  XNUMÛ12109 ÛFXRATEÛÛFXAMTÛÛNARÏ

  RATIVEÛ41 ITEMSÛCHECKTYPEÛLOCKÏ

  BOXÏ

                                                                                     Total Dr              416Þ952.68   Total Cr             314Þ082.01   Net MÛMent             -102Þ870.67
                                                      Case 25-10308          Doc 439-7          Filed 05/10/25          Page 118 of 121
                        Account Statement




 ACCOUNT NAMEÐ DIAMOND COMIC DISTRIBUTORS INC                                                    STATEMENT DATEÐ 31 MAR 2025

 ACCOUNT NUMBERÐ                 9564                                                            CURRENCYÐ CAD

 IBANÐ                                                                                           STATEMENT PERIOD FROMÐ 1 MAR 2025 TO 31 MAR 2025

 BBANÐ 4011739564                                                                                STATEMENT NUMBERÐ 000063

 ACCOUNT TYPEÐ DEMAND DEPOSIT ACCOUNT                                                            PAGE NUMBERÐ 6 of 6

                                                                                                 TAX IDÐ




                Reference                   Transaction   Transaction   Value Date                Debits                           Credits                             Balance

                                               Date          Type

Lockbox                                      28 MAR          LBX         28 MAR                                                               18Þ545.96                           61Þ723.98

  CUSTREFÐ 12109Ï BANK REFÐ

  CL2503287887529Ï

  ÛSYSREFÛCL2503287887529ÛLOCKBOÏ

  XNUMÛ12109 ÛFXRATEÛÛFXAMTÛÛNARÏ

  RATIVEÛ11 ITEMSÛCHECKTYPEÛLOCKÏ

  BOXÏ

Outgoing Wire Payment                        31 MAR          TRF         31 MAR                             29Þ741.42                                                             31Þ982.56

  CUSTREFÐ 9377452Ï BANK REFÐ

  1480518   31600Ï

  BENEFICIARY CANPAR EXPRESS INC

Lockbox                                      31 MAR          LBX         31 MAR                                                                1Þ093.05                           33Þ075.61

  CUSTREFÐ 12109Ï BANK REFÐ

  CL2503317904907Ï

  ÛSYSREFÛCL2503317904907ÛLOCKBOÏ

  XNUMÛ12109 ÛFXRATEÛÛFXAMTÛÛNARÏ

  RATIVEÛ1 ITEMSÛCHECKTYPEÛLOCKBÏ

  OXÏ

                                                                                     Total Dr              446Þ694.10   Total Cr             333Þ721.02   Net MÛMent             -112Þ973.08




Number of Debit TransactionsÐ                                           9

Number of Credit TransactionsÐ                                          18
                                                           Case 25-10308               Doc 439-7           Filed 05/10/25            Page 119 of 121

        JPMorgan Chase Bank N.A.

        Suite 4500Þ TD Bank Tower

        66 Wellington Street West

        TorontoÞ ON M5K 1E7




                                                                                                                        JPMorgan Chase BankÞ N.A - Toronto Branch

                                                                                                                        Suite 4500Þ TD Bank Tower

                                                                                                                        66 Wellington Street West

                                                                                                                        TorontoÞ Ontario
        02912 X01 931 001 020 09125

                                                                                                                        M5K 1E7
        DIAMOND COMIC DISTRIBUTORSÞ INC.
                                                                                                                        Canada
        10150 YORK RD
                                                                                                                        SWIFT BICÐ CHASCATTCTS
        HUNT VALLEY MD 210303340 USA


                                                                                                                        TelephoneÐ+1 â416á 981-9200

                                                                                                                        FaxÐ+1 â416á 981-2340




                                                                                                                        PAGE NUMBERÐ 1 of 3




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                            Agency at the following addressÐ Financial Consumer Agency of CanadaÞ 6th FloorÞ Enterprise BuildingÞ 427 Laurier Avenue WestÞ OttawaÞ Ontario K1R 1B9.
                                                    Case 25-10308         Doc 439-7           Filed 05/10/25       Page 120 of 121
                      Account Statement




 ACCOUNT NAMEÐ DIAMOND COMIC DISTRIBUTORS INC                                                  STATEMENT DATEÐ 31 MAR 2025

 ACCOUNT NUMBERÐ              9566                                                             CURRENCYÐ USD

 IBANÐ                                                                                         STATEMENT PERIOD FROMÐ 1 MAR 2025 TO 31 MAR 2025

 BBANÐ 4011739566                                                                              STATEMENT NUMBERÐ 000061

 ACCOUNT TYPEÐ DEMAND DEPOSIT ACCOUNT                                                          PAGE NUMBERÐ 2 of 3

                                                                                               TAX IDÐ




               Reference                  Transaction   Transaction   Value Date                Debits                        Credits                            Balance

                                             Date          Type


Previous Balance                           28 FEB                                                                                                                          14Þ250.74


Lockbox                                     3 MAR          LBX         4 MAR                                                             5Þ964.79                          20Þ215.53

  CUSTREFÐ 2012109Ï BANK REFÐ

  CL2503037532288Ï

  ÛSYSREFÛCL2503037532288ÛLOCKBOÏ

  XNUMÛ2012109 ÛFXRATEÛÛFXAMTÛÛNÏ

  ARRATIVEÛ1 ITEMSÛCHECKTYPEÛLOCÏ

  KBOXÏ

Lockbox                                     5 MAR          LBX         6 MAR                                                              394.40                           20Þ609.93

  CUSTREFÐ 2012109Ï BANK REFÐ

  CL2503057570381Ï

  ÛSYSREFÛCL2503057570381ÛLOCKBOÏ

  XNUMÛ2012109 ÛFXRATEÛÛFXAMTÛÛNÏ

  ARRATIVEÛ1 ITEMSÛCHECKTYPEÛLOCÏ

  KBOXÏ

Lockbox                                    10 MAR          LBX         11 MAR                                                            2Þ885.65                          23Þ495.58

  CUSTREFÐ 2012109Ï BANK REFÐ

  CL2503107621075Ï

  ÛSYSREFÛCL2503107621075ÛLOCKBOÏ

  XNUMÛ2012109 ÛFXRATEÛÛFXAMTÛÛNÏ

  ARRATIVEÛ1 ITEMSÛCHECKTYPEÛLOCÏ

  KBOXÏ

Monthly AC Analysis Charges                20 MAR          CHG         20 MAR                             491.40                                                           23Þ004.18

Lockbox                                    20 MAR          LBX         21 MAR                                                            3Þ498.83                          26Þ503.01

  CUSTREFÐ 2012109Ï BANK REFÐ

  CL2503207775756Ï

  ÛSYSREFÛCL2503207775756ÛLOCKBOÏ

  XNUMÛ2012109 ÛFXRATEÛÛFXAMTÛÛNÏ

  ARRATIVEÛ1 ITEMSÛCHECKTYPEÛLOCÏ

  KBOXÏ

                                                                                   Total Dr               491.40   Total Cr             12Þ743.67   Net MÛMent             12Þ252.27
                                                      Case 25-10308         Doc 439-7           Filed 05/10/25       Page 121 of 121
                        Account Statement




 ACCOUNT NAMEÐ DIAMOND COMIC DISTRIBUTORS INC                                                    STATEMENT DATEÐ 31 MAR 2025

 ACCOUNT NUMBERÐ                 9566                                                            CURRENCYÐ USD

 IBANÐ                                                                                           STATEMENT PERIOD FROMÐ 1 MAR 2025 TO 31 MAR 2025

 BBANÐ 4011739566                                                                                STATEMENT NUMBERÐ 000061

 ACCOUNT TYPEÐ DEMAND DEPOSIT ACCOUNT                                                            PAGE NUMBERÐ 3 of 3

                                                                                                 TAX IDÐ




                Reference                   Transaction   Transaction   Value Date                Debits                        Credits                            Balance

                                               Date          Type

Lockbox                                      24 MAR          LBX         25 MAR                                                            2Þ409.50                          28Þ912.51

  CUSTREFÐ 2012109Ï BANK REFÐ

  CL2503247814090Ï

  ÛSYSREFÛCL2503247814090ÛLOCKBOÏ

  XNUMÛ2012109 ÛFXRATEÛÛFXAMTÛÛNÏ

  ARRATIVEÛ1 ITEMSÛCHECKTYPEÛLOCÏ

  KBOXÏ

Lockbox                                      31 MAR          LBX          1 APR                                                            3Þ686.16                          32Þ598.67

  CUSTREFÐ 2012109Ï BANK REFÐ

  CL2503317905129Ï

  ÛSYSREFÛCL2503317905129ÛLOCKBOÏ

  XNUMÛ2012109 ÛFXRATEÛÛFXAMTÛÛNÏ

  ARRATIVEÛ1 ITEMSÛCHECKTYPEÛLOCÏ

  KBOXÏ

                                                                                     Total Dr               491.40   Total Cr             18Þ839.33   Net MÛMent             18Þ347.93




Number of Debit TransactionsÐ                                           1

Number of Credit TransactionsÐ                                          6
